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                      EXHIBIT 4
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                      UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA
                            WESTERN DIVISION


   MATTHEW TOWNSEND AND TED CROSS, on Behalf of Themselves and All Others
                         Similarly Situated,
                                  Plaintiffs,
                                     vs.
    MONSTER BEVERAGE CORPORATION and MONSTER ENERGY COMPANY,
                                 Defendants.


                        Case No. 5:12-cv-02188 VAP (KKx)


                             EXPERT REPORT OF
                             STEFAN BOEDEKER


                                 June 23, 2017
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     1 Introduction

                   1.1   Qualifications

1.       I am a Statistician and an Economist. I received a Bachelor of Science degree in Statistics and
         a Bachelors of Arts degree in Business Administration from the University of
         Dortmund/Germany in 1988. I received a Master of Science degree in Statistics from the
         University of Dortmund/Germany in 1988, and I received a Masters of Arts degree in
         Economics from the University of California, San Diego in 1992. I also completed Ph.D.
         requirements (except dissertation) in Economics at the University of California, San Diego.

2.       I am currently employed as a Managing Director at the Berkeley Research Group (“BRG”) in
         one of its Los Angeles area offices at 550 South Hope Street, Suite 2150, Los Angeles, CA,
         90071. Prior to joining BRG, I was a Partner at Resolution Economics. I also held Managing
         Director positions at Alvarez & Marsal, Navigant Consulting, and LECG. I also held partner-
         level positions at Deloitte & Touche LLP, PricewaterhouseCoopers LLP, and Arthur
         Andersen LLP. At the three latter firms, I was responsible for the Economic and Statistical
         Consulting group on the West Coast. Before moving to the United States to attend graduate
         school, I worked as a statistician for the German Government for three years, from 1986 to
         1989.

3.       For over 25 years, my work has focused on the application of economic, statistical, and
         financial models to a variety of areas, such as providing solutions to business problems,
         supporting complex litigation in a consulting and expert witness role, and conducting
         economic impact studies in a large variety of industries including, but not limited to,
         healthcare, retail, technology, entertainment, manufacturing, automotive, energy and utilities,
         hospitality, and federal, state, and local government agencies.

4.       I have extensive experience designing and conducting surveys and empirical studies as well
         as statistically analyzing results from surveys and empirical studies in both the litigation
         context as a consultant and/or designated expert and the non-litigation context as a statistical
         or economic consultant. I have issued numerous expert and rebuttal reports dealing with




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         surveys and statistical sampling related issues. I have been deposed on numerous occasions,
         and have also testified in court regarding survey and statistical sampling-related issues.

5.       I am not a nutritionist, or a dietician or a medical specialist. I do not have an opinion one way
         or the other about the allegations in this case. Instead, I have relied on my experience and
         expertise and have purely applied statistical methodologies based on the assumptions
         provided herein as to the alleged false statements at issue in this litigation outlined in the
         Second Amended Complaint and per the instructions of plaintiffs’ counsel.

6.       All of the facts and circumstances set forth in this report are known to me personally and I am
         prepared to testify to them if called upon to do so. My curriculum vitae which includes matters
         in which I have testified is attached to this report as Exhibit A. BRG is being compensated for
         its work on this matter based on an agreed upon hourly billing rate schedule. My hourly billing
         rate for professional services related to this case is $650 and the billing rates of BRG staff
         supporting me on this engagement range from $150 to $490. BRG’s payment in this matter is
         not contingent upon my opinions or the outcome of this litigation.

                   1.2    Case Background

7.       It is my understanding that the defendants Monster Beverage Corporation and Monster
         Beverage Company (“Monster”) are alleged to have “deceptively and misleadingly” labeled
         and marketed certain of their energy drink products at issue in this litigation, namely Monster
         Energy and Monster Rehab (together referred to as “Monster Drinks”). It is Plaintiffs’ position
         that they and the other members of the putative class relied on these representations in choosing
         to consume the Monster Drinks which they either would have not purchased at all or would
         have purchased at a different, lower price.

8.       In particular, it is my understanding, that the following alleged misstatements are of interest
         in these proceedings:

                   A1: HYDRATES LIKE A SPORTS DRINK - This is part of the statement “We
                   need a new drink. One that can do it all: triple threat that quenches thirst, hydrates
                   like a sports drink, and brings you back after a hard day’s night.”




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                    A2: RE-HYDRATE – Appearing on the front neck and the back of Monster Rehab
                    cans as follows “RE-FRESH, RE-HYDRATE, RE-VIVE.”

                    B1: IDEAL COMBO - “It’s the ideal combo of the right ingredients in the right
                    proportion to deliver the big bad buzz that only Monster can.”

                    B2: CONSUME RESPONSIBLY –Consume Responsibly - Max 1 can per four hours,
                    with limit 3 cans per day. Not recommended for children, people sensitive to caffeine,
                    pregnant women or women who are nursing.”

9.        It is my understanding that the alleged misstatements A1, A2 and B2 appear on the Monster
          Rehab brand labels, which includes the following 5 varieties: Monster Rehab® Tea +
          Lemonade + Energy (launched March 2011), Monster Rehab® Rojo Tea + Energy (4Q2011),
          Monster Rehab® Green Tea + Energy (4Q2011), Monster Rehab® Protean + Energy
          (4Q2011) and Monster Rehab® Tea + Orangeade + Energy (introduced in March 2012).
          Specifically, all 5 varieties of the Monster Rehab cans included the “hydrates like a sports
          drink” alleged false and misleading statement on the back of the can (claim A1). Plaintiffs
          allege that the Monster Rehab cans also displayed on the front neck and back of the can
          additional deceptive language designed to reinforce the false notion of significant hydrating
          properties of the Monster Rehab, including “RE-FRESH, RE-HYDRATE, RE-VIVE” (claim
          A2). Misstatement B2 also appeared on Monster Rehab cans until sometime in 2013.

10.       It is further my understanding that Plaintiffs’ position is that the elevated levels of caffeine in
          energy drinks have diuretic effects causing dehydration, thus making the representation that
          Monster Rehab “hydrates like a sports drink” (A1) and “RE-HYDRATE” (A2) patently false
          and misleading.

11.       Further, I understand from the Second Amended Complaint that after the filing of this lawsuit,
          sometime mid-late 2013, the allegedly false statement that Monster Rehab “hydrates like a
          sports drink and brings you back after a hard day’s night.” was removed and replaced by it
          “fires you up and is the perfect choice after a hard day’s night.” It is my understanding,
          however, that Plaintiffs allege that the Monster Rehab cans continue to have the word RE-
          HYDRATE in all upper case on the neck and the back of the cans to this day.



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12.       I also understand from Plaintiffs’ Counsel that after the filing of this lawsuit, Misstatement
          B2 was also revised so that Monster Rehab cans manufactured after 2013 did not show the
          text “Max 1 can per four hours, with limit 3 cans per day.” After 2013, all 6 varieties of Monster
          Drinks contained only the following warning: Consume Responsibly - Not recommended for
          children, people sensitive to caffeine, pregnant women or women who are nursing.”

13.       It is my understanding that the alleged Misstatements B1 and B2, i.e., the “IDEAL
          COMBO/CONSUME RESPONSIBLY” misstatements are displayed on Monster’s largest
          selling variety, the original Monster Energy® drink, which was introduced in April 2002.
          Monster Energy cans displayed the following statements:

              “It’s the ideal combo of the right ingredients in the right proportion to deliver the big
              bad buzz that only Monster can.”

              In addition, the cans contained the following caution:

              Consume responsibly - Max 1 can per four hours, with limit 3 cans per day. Not
              recommended for children, people sensitive to caffeine, pregnant women or women
              who are nursing.”

14.       Plaintiffs allege that the label on Monster Drinks recommends consumers limit their daily
          consumption to three cans, which suggests that consuming up to 3 cans daily would provide
          energy without exposing people to health risks. Plaintiffs further allege that Monster’s
          representations that Monster Energy has the “ideal combination” of the “right ingredients” in
          the “right proportion” to deliver an energy buzz are false and misleading because they omit
          material facts regarding the potential health risks associated with the frequent and/or regular
          consumption of Monster Drinks.

15.       According to the Second Amended Complaint, three 16-oz. Monster Drink cans contain more
          than 480 mg of caffeine, 1 significantly more than the 400 mg deemed safe by the Mayo Clinic
          for healthy adults to consume. 2 The safe level for adolescents according to the American
          Academy of Pediatrics is much lower—no more than 100 mg of caffeine per day from all
          sources. 3 Hence, according to the Second Amended Complaint, drinking three Monster Drinks


      1
            https://www.caffeineinformer.com/caffeine-content/monster.
      2     www.mayoclinic.org/healthy-lifestyle/nutrition-and-healthy.../caffeine/art-20045678.
      3     https://www.aap.org/en-us/Pages/Default.aspx.


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          per day — as stated on the label — is unsafe for adults and youth alike. Plaintiffs also allege
          that the recommendation “Consume Responsibly” further advances the misleading nature of
          the label by adding yet more materially misleading content.

                    1.3    The Energy Drink Market

16.       I gained insight into the energy drink market based on a study published by the market
          research firm Mintel (“Mintel Study”). 4 The Mintel Study differentiates between two types
          of products: Energy drinks and Energy shots. 5 While both products claim to have energy-
          boosting properties, energy shots are typically more concentrated and served in two or three
          ounce containers, while energy drinks are sold in sizes similar to soft drinks in 12 ounce cans
          or 16 ounce bottles.

17.       The Mintel Study provides a detailed profile of the average energy drink consumer including
          general demographic information as well as factors motivating purchase and consumption.
          From a panel of internet users aged 18+ who drink energy drinks and/or energy shots, 2,001
          respondents were sampled to provide their opinions 6. Over 82% of males between the ages
          of 18 and 34 indicated that they had consumed energy drinks and/or energy shots. The next
          largest demographic group of energy drink and/or energy shot consumers were females
          between the ages of 18 and 34 with 58.1% indicating consumption of those products. For
          comparison purposes, only 16.7% of males above age 55 and 7.5% of females above age 55
          indicated that had consumed energy drinks and/or energy shots.

18.       Further, the results of the Mintel Study revealed the importance of brand to consumers. Mintel
          cites a study based on a sample of 3,283 respondents aged 18+. 7 On average, each respondent
          consumed one or two brands (1.62). The results also show that three in ten consumers of
          Monster Energy only consumer Monster branded energy drinks, one in five consumers of




      4
            Mintel’s Energy Drinks – US – May 2016.
      5
            Mintel’s Energy Drinks – US – May 2016: Overview.
      6
            Mintel’s Energy Drinks – US – May 2016: Energy drink and shot consumption, by demographics, February
            2016.
      7
            Mintel’s Energy Drinks – US – May 2016: Figure 73.



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          Rockstar only consume Rockstar, and one in four consumers of Red Bull only consume Red
          Bull 8.

                       1.4   Assignment

19.       I was retained by counsel for Plaintiffs to develop an economic loss model to quantify the
          damages, if any, suffered by the proposed class that are attributable to the purchase of a
          product that was not as presented and advertised to the consumers. Specifically, I was retained
          to develop and perform an empirical study to assess the value that customers, who purchase
          Monster Drinks, place on the specific statements outlined in Paragraph 8.

20.       I was further asked to use the results of the empirical study and other data to develop an
          econometric/statistical model to quantify and estimate class-wide damages to purchasers of
          Monster products with the alleged misstatements due to not receiving benefits and features
          that they paid for and that they were led to believe the Monster Drinks possessed.

21.       One could argue that the entirety of the actual purchase price of a Monster Drink could be
          fully included in an economic loss model because the purchasers of a product with a false
          claim did not receive what was advertised and what they intended to purchase. However, in
          my analysis, I consider that consumers may still have obtained some value from the
          consumption of one or more of the Monster Drinks at issue in this litigation even though they
          did not provide the features as stated in the alleged misstatements detailed in Paragraph 8.
          This implies that the economic loss to the purchaser may have been less than the entirety of
          the purchase price of the product. However, it cannot be ruled out that the economic loss is
          equal to or even greater than the purchase price. This concept is explained in detail in Section
          4.2.

                       1.5   Materials Considered

22.       In forming my opinions for this report, I have considered the following materials:

                    a. Second Amended Class Action Complaint, dated July 26, 2013.




      8
             Mintel’s Energy Drinks – US – May 2016: Market Perspective.


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                b. Order Granting Defendants’ Motion to Dismiss dated November 12, 2013.

                c. Decision dated July 8, 2016 of the United States Court of Appeals for the Ninth
                    Circuit in this case.

                d. In addition, I have considered all materials cited in the text and in the footnotes to
                    this report and the results of the survey and empirical study conducted by
                    Amplitude Research described further below. All these materials (or relevant
                    excerpts) are being produced with this report.

                    1.6   Structure of the Report

23.       The remainder of this report is structured as follows:

                a. Section 2 gives an overview of the methodology starting with the derivation of an
                    economic loss model based on supply, demand, price setting mechanisms, and the
                    relationship between prices and a consumer’s willingness-to-pay for a product or
                    features of a product.
                b. Section 3 contains a detailed description of the empirical study that I performed. In
                    Section 3, I will also introduce Choice Based Conjoint Analysis as a tool to quantify
                    the impact of changing market conditions on consumers’ choices and willingness-
                    to-pay.
                c. Section 4 presents the results from applying advanced statistical estimation
                    techniques to obtain economic losses suffered by the members of the proposed class
                    based on the results from the conjoint study.
                d. Section 5 concludes that it is possible to quantify class-wide economic losses given
                    the proposed methodology and the results from a properly designed and
                    implemented conjoint study.




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      2 Theoretical Framework of Economic Loss

                    2.1    Price Setting in a Competitive Market

24.       In this section, I use a generic example to describe in basic economic terms how prices are set
          for products and how it can be tested if damages exist, and if they do exist, how to quantify
          them and how to determine the appropriate class-wide compensation.

25.       In economic theory, “utility” is a measure of the value or usefulness of a good or service to a
          consumer. 9 “Utility” is a way to describe consumer preferences. For now, let us assume that
          it is known how much benefit or utility each consumer in a given market derives from a
          product or service and that the utility can be expressed in monetary terms. The highest price
          a customer is willing to pay for the product will be equal to the utility derived from the
          product. The consumer will purchase the product if the price of the product is lower than or
          equal to the utility but he will not purchase the product if the price is higher than the utility.
          In economics, this price point is referred to as the willingness-to-pay.

26.       With this knowledge, it is now possible to rank the consumers by their willingness-to-pay. As
          an illustrative example, let us assume that the consumer with the highest willingness-to-pay
          is willing to spend $5.50 for the product. If the price of the product were $5.50, this consumer
          would purchase the product but nobody else would. If there is an additional consumer with
          the next highest willingness-to-pay of $4.75, then this consumer and the consumer with a
          willingness-to-pay of $5.50 would purchase the product, and so forth.

27.       Based on the ranking of consumers by their willingness-to-pay, a demand curve can be
          constructed in the following way: In a diagram that depicts the amount of the willingness-to-
          pay for each individual consumer on the vertical axis and the number of consumers on the
          horizontal axis, the demand curve will begin in the top left corner at the intersection of one
          consumer and a willingness-to-pay of $5.50. The next data point is at the intersection of two
          consumers and a willingness-to-pay of $4.75, and so forth.




      9
            Hal R. Varian, Intermediate Microeconomics, 8th Edition, 2009, Page 54.


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28.       The demand curve would look like a downward facing set of stairs. For simplicity, textbooks
          typically stylize the demand curve as a smooth downward sloping line or curve. Figure 1
          below illustrates this concept.

         Figure 1:        Willingness-to-Pay and Demand




          Source: Own analysis based on hypothetical data


29.       As in the case of the demand side, we can determine the minimum price at which each
          manufacturer is willing to sell the product. This is called the willingness-to-accept, which is
          equal to the marginal cost of the manufacturer. The marginal cost is the cost the manufacturer
          incurred when producing the last or marginal unit of the product.

30.       Like the consumers on the demand side, the manufacturers can be ranked by their willingness-
          to-accept. In a diagram with volume on the horizontal axis and prices and willingness-to-pay
          on the vertical axis, the manufacturer with the smallest marginal costs, say $1, will be
          positioned on the left. If the price of the product were to be just above $1, only this
          manufacturer would be willing to accept the price. Assuming that the next manufacturer offers
          one unit for $2, at the price of $2 two units would be offered in the market. Creating a chart
          of all units offered by manufacturers at the different price points, we get the supply curve. It
          typically slopes upwards from left to right. The supply curve would look like an upward facing
          set of stairs. For simplicity, textbooks stylize the supply curve as an upward sloping smooth
          line or curve. Figure 2 below illustrates the concept.



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         Figure 2:        Willingness-to-Accept and Supply




          Source: Own analysis based on hypothetical data


31.       The market brings together supply and demand. At a price of $1, almost all consumers in my
          example would purchase the product but the manufacturers would offer only one unit.
          Conversely, at a price of $5.50, only one consumer would be willing to purchase the product
          while all manufacturers would be willing to sell the product. In the generic example, the
          market clears at a price of $2.50. At this point, most consumers and manufacturers will be
          brought together. At this price, the supply and demand curves intersect. If the price exceeds
          $2.50, more manufacturers would offer their product but fewer consumers would be willing
          to purchase the product. If the price drops below $2.50, more consumers would be willing to
          purchase the product but fewer manufacturers would be willing to sell the product. For the
          marginal consumer, the price is equal to the willingness-to-pay; and for the marginal
          manufacturer, the equilibrium price is equal to the willingness-to-accept. Figure 3 illustrates
          this concept.




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         Figure 3:        Supply & Demand




          Source: Own analysis based on hypothetical data


32.       The equilibrium price is not the simple average of all consumers’ willingness to pay. Rather,
          the equilibrium price depends on supply and demand – it is the intersection point of the supply
          curve and the demand curve. Every purchaser to the left of the marginal purchaser has a
          willingness-to-pay that exceeds the equilibrium price. As such, the equilibrium price will
          typically be lower than the simple average of all individual consumers’ willingness to pay.

33.       The difference between the willingness-to-pay and the price can also be illustrated with a real-
          world example: In an eBay auction, I may have put my eye on an item. I put my upper limit
          for my bids at $200. This upper limit signals my willingness-to-pay. If, on the other hand, I
          saw the same item with a “Buy it now” price tag of $100, I would have bought it for $100.
          What happened in this example? Did my utility from purchasing the item suddenly change?
          Did my willingness-to-pay change? Obviously not. However, what has changed is that the
          projected amount that I would pay going through the bidding process is different than the
          price I will pay when the competing offer is presented to me. In other words, the willingness-
          to-pay does not necessarily reflect the actual price that a consumer ends up paying for a
          product.




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                       2.2   Shifting Demand Curves and Changes in Equilibrium Price

34.        Based on Lancaster’s theory of utility10 – the utility a consumer derives from a product, and,
           therefore, the consumer’s willingness-to-pay for the product is aggregated from the
           willingness-to-pay for each of the product’s characteristics, parts, and features. In this case,
           the products are Monster Drinks, and the characteristics of the product contain flavor, alleged
           hydration properties, caffeine content, and other features.

35.        The overall equilibrium willingness-to-pay of consumers for Monster Drinks is equal to the
           weighted sum of the willingness-to-pay the consumer expresses for all the individual
           attributes. Changes in the composition of the attributes lead to a shift of the demand curve.
           The change in the composition of the product’s attributes can relate to changes in tangible
           attributes such as flavor, caffeine content, presentation of package, shape of the container, etc.
           It can also relate to statements about the product that are used to market the product to the
           consumers. In the case where statements used for marketing purposes are alleged to be false
           and misleading, a change in the demand curve can be expected if the consumers learn about
           the false and misleading statements at the point of purchase. Figure 4 below illustrates the
           scenario:

                 a. Where one or more of the claims about the product is false, and
                 b. Where the consumers receive information about this false claim at the point of
                       purchase.

36.        If consumers are willing to pay less for the product with the false claim, then a drop in
           willingness-to-pay can be observed, 11 although the drop in willingness-to-pay can vary
           between consumers. The consumers are ranked again according to their willingness-to-pay,
           resulting in the yellow dots in Figure 4, which defines the new demand curve.

37.        The new demand curve might have a different shape than the demand curve for the product
           without the false claim. All else equal, the shift of the demand curve results in a new market


      10
             Lancaster, Kelvin J. (1966), “A New Approach to Consumer Theory,” Journal of Political Economy 74 (2):
             Pages 132–157.
      11
             In Sections 5 and 6 in this report, I describe an empirical study I designed to test if a shift in the demand
             curve had occurred if the consumers had known about the alleged Misstatements A1, A2, B1, and B2
             described in Paragraph 8.


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           equilibrium, where the price and the transaction volume are lower. This is the market
           equilibrium in the world where consumers would have known about the false claim at the
           time of purchase.

           Figure 4:       Shift in the Demand Curve and the Effect of the Equilibrium
                           Price




           Source: Own analysis based on hypothetical data


38.        In order to assess the price paid in a world where consumers had known about the falsity of
           the claims A1, A2, B1, and B2, 12 it is important to determine the demand curve for the product
           had the consumers known about the falsity or misleading nature of the advertised claim. This
           concept allows economists to quantify whether consumers still derive some utility from the
           product even if claims A1, A2, B1, and B2 are false. The following Figure 5 illustrates how
           this concept can be used to quantify if consumers who bought the product suffered an
           economic loss:




      12
              See Paragraph 8 above for the claims.


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         Figure 5:        Consumer Welfare for Product with and Without a
                          False/Misleading Claim




          Source: Own analysis based on hypothetical data


39.       The net benefit to each consumer purchasing a given product is the difference between the
          willingness-to-pay and the price paid. Aggregated across all consumers in a market, the net
          benefit to all consumers (consumer welfare) is equal to the area under the demand curve and
          above the price line (red area and dark orange area in Figure 5). If the claim about the product
          is known to be false at the point of purchase, the demand curve will shift downwards (dark
          grey line in Figure 5). The new consumer welfare after the shift in the demand curve due to
          the false claim is equal to the area under the new demand curve and above the new price line
          (light orange and dark orange areas in Figure 5). Since the demand curve for the product with
          the known-to-be-false claim is below the demand curve for the product absent a false claim,
          the consumer welfare for the product with the known-to-be-false claim is generally smaller
          than the consumer welfare of the product absent a false claim. Therefore, the consumers will
          have suffered economic losses.

40.       Another way of looking at the economic loss focuses on the manufacturer. Generally, a
          manufacturer’s welfare is the difference between the willingness-to-accept and the price
          obtained in the market. Aggregated over all manufacturers, the manufacturers’ welfare is the
          area below the price line and above the supply curve.



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41.       In Figure 6 below, the difference in manufacturers’ welfare between the product with the false
          claim and the product without the false claim is depicted by the yellow area. Recall that in the
          equilibrium between supply and the demand for the product with the claim was that six
          consumers would have paid $2.50. In the market equilibrium depicted in Figure 6, for the
          product with the false claim, four consumers would have paid $1.75 instead of $2.50 when
          the claim was known to be false at the point of purchase. In addition, two consumers who
          purchased the product would not have purchased the product with the false claim in the new
          market equilibrium. The yellow area depicts the additional manufacturers’ welfare obtained
          by not disclosing that the claim was false.

         Figure 6:         Difference in the Manufacturers’ Welfare between Producing
                           the Product with and Without the False/Misleading Claim




          Source: Own analysis based on hypothetical data


                     2.3    A Model of Economic Loss

42.       Figure 6 shows how the false or misleading advertising increases the manufacturer’s profits
          at the expense of consumers. The excess profit due to the false or misleading advertising
          would be considered restitution to the plaintiff in a legal framework that is built on profit
          disgorgement, as for example intellectual property. However, in this case, profit disgorgement
          would not compensate consumers for their economic loss. Instead, the proper economic loss
          methodology in this case has to be based on the loss in utility and the associated shift in
          demand of the affected consumers.


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43.       To make consumers whole for the economic losses, every consumer would have to receive an
          additional payment. The payment has to be sufficiently large to vertically shift the demand
          curve such that the demand curve for the product with the known-to-be-false claim plus the
          additional compensation intersected with the supply curve in equilibrium for the product if
          the claim were true.

44.       To determine how much the demand curve would have to be shifted, we need to focus on the
          marginal consumer in the market for the product without the false claim and compare the price
          she had paid to the price she would have paid for the product with the known-to-be-false claim
          at the point of purchase.

45.       The compensation to make the marginal consumer whole after purchasing the product with
          the false claim is not simply the difference between the equilibrium prices on the demand
          curve for the product without the false claim and the demand curve for the product with the
          known-to-be-false claim (Figure 7). Rather, the compensation of the marginal consumer
          needs to be equal to the difference between the price this marginal consumer would have paid
          for the product with the known-to-be-false claim and the product without the false claim.

46.       In the example illustrated in Figure 7 below, the marginal consumer paid $2.50 for the product
          before becoming aware of the false claim, but would have paid only $0.87 for the product
          with the false claim. The difference in willingness-to-pay is $1.63 ($2.50 minus $0.87). All
          else remaining equal and depending on the shape of the demand and supply curves, the
          compensation could be greater or smaller than the difference between the equilibrium prices.




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         Figure 7:         Compensation Required to Make Consumers Whole After
                           Purchasing Product with False/Misleading Claim




          Source: Own analysis based on hypothetical data




                     2.4    Approaches to Estimating the Value of Individual Attributes in
                            Composite Products

47.       In general, there are two different types of approaches to estimate the values of the individual
          characteristics, parts, and features that together form a composite product when there is no
          direct market for the individual characteristics, parts, and features (also known as attributes;
          price is also considered an attribute of a product) themselves:

                 a. Revealed Preference based, and
                 b. Stated Preference based.

48.       Revealed Preference based approaches observe actual purchases by consumers or published
          prices and infer from that information the decomposition of the overall price of the composite
          product into its constituent attributes. This will most often be accomplished by using hedonic
          pricing models where the actual transaction prices of the composite product with varying
          attributes is regressed on the specifications of the composite product.          The regression
          coefficients are then interpreted as the implicit market prices of each attribute.



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49.       The proper use of hedonic pricing models applied to energy drinks requires that all attributes
          of the composite good can be observed and that there is variation in each attribute. For
          example, if all energy drinks include equal amounts of caffeine and sugar, then hedonic
          pricing models cannot be used to estimate the implicit price of caffeine and sugar.

50.       In the case of the Monster Drinks with the allegedly false claims A1, A2, B1, and B2 as stated
          in Paragraph 8 above, the hedonic approach is not suited to estimate the potential economic
          loss to the consumer because in the original sales transactions, all energy drinks include the
          claims A1, A2, B1, and B2. In addition, the original sales transaction data do not differentiate
          between the features “correctly claims to hydrate like a sports drink” and “falsely claims to
          hydrate like a sports drink.”

51.       Stated Preference based approaches involve asking individuals how much they value a
          particular product. This is done by investigating how much they would be willing to pay for
          a particular attribute/feature in a composite product. In this context, Conjoint Analysis is an
          approach exploring respondents’ preferences over multiple sets of choices, which produces
          rich data sets and numerous data points from which to estimate the value of the
          attribute/feature of interest. Conjoint Analysis is conducted in a survey setting where
          demographic, socio-economic, and general decision-making processes and preference
          information about the product in question will be obtained and integrated into the estimation
          process.

52.       In summary, based on the principles of economics discussed above, I conclude that Conjoint
          Analysis is the most appropriate approach in this case to estimate the values of the individual
          attributes and features in question to assess the extent to which the allegedly false claims A1,
          A2, B1, and B2 resulted in a loss of utility to the consumers, and thus created economic losses
          to the members of the proposed class.



      3 Empirical Study

53.       The empirical study is comprised of a consumer survey and a Choice Based Conjoint (“CBC”)
          study. In this section, I will describe the two components of the empirical study and how they
          were implemented.


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                     3.1    Consumer Survey Methodology

54.        I commissioned a survey company called Amplitude Research (“Amplitude”) to program and
           host a questionnaire of my design to analyze the preferences and choices of consumers who
           have purchased energy drinks within the last 12 months.

55.        Founded in 2002, Amplitude Research® is one of the top mail, telephone and online survey
           companies serving clients throughout the United States, Canada, South America, and Asia.
           Clients include commercial, educational and governmental organizations. Amplitude
           Research® is a member of the American Marketing Association (AMA), Marketing Research
           Association (MRA), Interactive Marketing Research Organization (IMRO), and Marketing
           Research Association of South Florida, and adheres to the professional guidelines for survey
           companies applied by these organizations. Amplitude Research is also A+ Rated by the Better
           Business Bureau. 13

56.        The survey was conducted as an internet panel survey. In my experience, internet-based
           surveys can provide reliable results and can have some advantages over other recruiting
           methodologies. Over the last decade, internet surveys have increasingly gained popularity
           and acceptance, including in litigation.

57.        Current research suggests that the increased use of internet surveys has great advantages over
           other traditional methods. For instance, studies have found that computer data collection
           yields higher concurrent validity, with less chances of participants framing answers to attempt
           to please the questioner, and less random measurement error when compared to mall intercept
           studies and telephone surveys. Internet surveys also allow for broad geographic reach to areas
           where surveying via mall intercept or other face-to-face methods would not be feasible. 14
           Well-executed internet survey research is regularly accepted by courts. 15




      13
             http://www.amplituderesearch.com/survey-company.shtml.
      14
             See “Reference Guide on Survey Research,” S.S. Diamond, Reference Manual on Scientific Evidence,
             Third Edition, Federal Judicial Center, 2011, Page 401. Additionally, online surveys have advantages in
             terms of efficiency and cost.
      15
             “Why Online Surveys Can Be a Smart Choice in Intellectual Property Litigation,” B. Isaacson et al., IPL
             Newsletter (ABA Section of Intellectual Property Law) Vol. 26, No. 3, 2008.



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58.        Moreover, internet surveys have become a fixture in the corporate world. According to the
           Global Research Business Network, internet surveys now account for more than a quarter of
           global market and social research revenues. In many of the world’s top research markets,
           internet surveys are now the primary means of research. 16

59.        The efficacy of internet studies is often furthered by survey market research firms that operate
           large internet panels. These firms employ trained professionals who program, administer, and
           quality control the surveys to increase the quality of the results.

60.        A frequent point of criticism of internet surveys is the fact that they typically do not conform
           with the requirement for statistical random samples which states that for every individual in
           the target population, the selection probability must be a known number greater than zero and,
           therefore, no inference can be drawn about the precision and/or margin of error of the study.

61.        However, advanced statistical methods can be applied to compute model based confidence
           intervals for well-designed and well-balanced non-probability samples.           In 2016, the
           American Association of Public Opinion Research (“AAPOR”) issued a guidance paper on
           “Reporting Precision for Nonprobability Samples” 17 which details approaches and reporting
           guidelines when precision calculations are performed for non-probability samples. I discuss
           in more detail in Section 4.3 how I applied the re-sampling method known as bootstrapping
           to obtain precision estimates and approximate confidence intervals at the customary 95% level
           for the results from my study. The bootstrapping methodology has been endorsed as a valid
           approach by AAPOR.

62.        In summary, properly designed and well-executed internet surveys have increasingly gained
           acceptance and can be used to draw valid statistical inferences about the target population.

63.        As described above, the survey included a CBC exercise to help understand the perceived
           value of several common energy drink attributes/features. Amplitude administered the survey




      16
              http://fortune.com/2015/09/16/online-survey-companies-law-firms/.
      17
             AAPOR Guidance on Reporting Precision for Nonprobability Samples -
             https://www.aapor.org/getattachment/Education-Resources/For-
             Researchers/AAPOR_Guidance_Nonprob_Precision_042216.pdf.aspx.


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           and the empirical study between May 2nd, 2017 and May 9th, 2017 via an online panel.
           Amplitude followed accepted standards regarding:

                 a. Survey panelist recruiting;
                 b. Strategic partnerships with other market research firms;
                 c. Use of advanced software and technology;
                 d. Use of proprietary survey completion time tracker;
                 e. High quality filtering system to track respondent information and respondent
                     behavior to deliver the highest quality sample;
                 f. Best practices of quality control - including removal of sign-ups who provide
                     inconsistent demographic information, GeoIP lookups at time of registration and,
                     most importantly, periodic use of mailed survey awards for U.S. panelists to
                     verify street addresses;
                 g. Data tabulation and recording; and,
                 h. Survey participation validation.

64.        As is standard survey practice for surveys used in litigation proceedings, the survey was
           conducted in a “double-blind” fashion, 18 that is, neither the staff at Amplitude nor the
           respondents were aware of the survey sponsor or the ultimate intention of the survey.
           Additionally, the data collection and initial tabulation was performed automatically and
           concurrent with answering the online questionnaire. The screenshots of the actual survey
           questionnaire are included in Exhibit B.

65.        To ensure that the data generated by the survey are of the highest quality, Amplitude
           implemented additional quality control measures:

                  a. Respondents were required to enter their gender and age at the outset of the
                      survey and if these data conflicted with the respondent information on file
                      with Amplitude, the respondent was excluded.
                  b. Respondents who indicated that they did not understand or were unwilling


      18
             Diamond, Shari, S. (2012) “Reference Guide on Survey Research,” Reference Manual on Scientific
             Evidence, Committee on the Development of the Third Edition of the Reference Manual on Scientific
             Evidence; Federal Judicial Center; National Research Council, Pages 410-411.


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                       to adhere to the survey instructions were also screened out of the survey.
                  c. During the survey invitation process, Amplitude included a link to the online
                       survey into an email invitation. This link contained an embedded identification
                       number to ensure that only invited respondents could answer the survey that
                       each respondent could only complete the survey once, and that only one
                       member per household could complete the survey.
                  d. The survey also included a control measure used to evaluate the extent to
                       which respondents were involved in completing the survey. As a control,
                       Amplitude included survey administration tools, which include review of each
                       respondent's survey completion time, review of text field responses, straight-
                       line testing, and other filtering techniques that result in superior data and
                       higher quality feedback.

66.        In this survey, there was no need for a CAPTCHA 19 because the respondents are web
           panelists. To be a participant in an Amplitude survey there is no open static link on a website
           or web page where participants can use computer programs to take a survey. Rather, each
           panelist is assigned a unique login combination that is randomly generated and then clicks on
           a unique link to access the survey. Once participants have successfully accessed Amplitude’s
           survey platform, special survey timers are used to time how long it takes each respondent to
           complete the survey and participants who do not meet the timing requirements are excluded.

                     3.2    Conjoint Analysis –Methodology

67.        The second component of my empirical study is a CBC analysis. In general, conjoint analysis
           enjoys wide use in market research and is discussed in depth in the market research
           literature. 20 Over 14,000 commercial applications of Conjoint Analysis are estimated to take
           place each year. 21 Vithala Rao’s book, Applied Conjoint Analysis, gives numerous examples
           of the widespread use of Conjoint Analysis including, but not limited to, several high-profile


      19
             A CAPTCHA (an acronym for "Completely Automated Public Turing test to tell Computers and Humans
             Apart") is a type of challenge-response test used in computing in general and in market research in
             particular to determine whether or not the user is human.
      20
             See, for example: Rao, Vithala, Applied Conjoint Analysis, Springer-Verlag, 2014.
      21
             Orme, Bryan K, Getting Started with Conjoint Analysis: Strategies for Pricing Research, 2nd ed., Madison:
             Research Publishers, 2005.


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           applications by large corporations and large public agencies such as (i) Microsoft for pricing
           newly released software products, (ii) Proctor & Gamble for consumer-goods pricing and new
           product development, (iii) Marriott Corporation for the development of the Courtyard hotel
           brand, and (iv) T-Mobile for developing optimal cellular plans. Conjoint Analysis was also
           integral to the development of the EZPass electronic toll collection system by regional transit
           agencies in New York and New Jersey in the 1990s. 22

68.        The general idea behind Conjoint Analysis is that consumers’ preferences for a particular
           product are driven by features or descriptions of features embodied in that product. Conjoint
           Analysis is a set of econometric and statistical techniques that have been developed to study
           consumers’ decision-making processes, determining trade-offs between products, features,
           and price, as well as quantifying consumers’ gains and/or losses of utility when choosing
           between different alternatives. By simulating real world and/or hypothetical choices between
           product features and prices under different levels of information, Conjoint Analysis is ideally
           suited to model the impact of different choice scenarios on a consumer’s utility function.

69.        The data required for a Conjoint Analysis are collected in the setting of a survey where survey
           participants are shown product profiles with different levels of each attribute. For example,
           the inclusion of a claim about rehydration properties of an energy drink is an attribute and
           “yes” and “no” are levels of the attribute (i.e., the energy drink either rehydrates or does not
           rehydrate). The survey participants are consumers who currently are or recently have been in
           the market for the product of interest – in this case Monster Energy drinks. After reviewing a
           set of choice menus of product attributes and their levels, survey participants are then asked
           to indicate their preferences for those profiles. The product profiles include choice options for
           different price points for each set of features on the choice menu.

70.        After the completion of the survey, the Conjoint Analysis uses data from the survey on the
           attribute levels of the product profiles shown, and the resulting preferences or choices of
           respondents, to decompose the respondents’ preferences for a product into the partial
           contribution of these attribute levels (“part-worths”) to overall product utility using
           appropriate statistical methods. The statistical models used in my analysis – Mixed Logit


      22
             Rao, Vithala, Applied Conjoint Analysis, Springer-Verlag, 2014, Chapters 6.4 and 6.5.


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           Models and Hierarchical Bayesian Estimation – will be discussed in more detail in Section 6
           “Economic Loss Model.” These statistical estimation techniques quantify the part-worths for
           feature levels such that the resulting estimated part-worths best predict respondents’
           preferences or choices from the survey.

71.        The price reduction needed to compensate for the loss of a feature, or the additional price
           customers would pay for the inclusion of a feature can then be calculated and a variety of
           choice situations and trade-offs between choices can be modeled and their outcomes can be
           precisely quantified. The precision, and thus the reliability, of the resulting estimations
           depends on the number of survey participants. The more respondents who take part in the
           survey, the more precise the resulting predictions are.

72.        For this assignment, I applied a form of Conjoint Analysis known as Choice-Based Conjoint
           Analysis (“CBC”). In CBC, study participants are shown sets of product profiles (called
           “choice sets” or “choice menus”), and are asked to choose the profile that they would prefer
           to purchase if the choice menu offered would describe the only products that were available.
           CBC survey methods closely mimic real-world purchase processes. 23 Conjoint Analysis
           allows for the prediction of the probability that a respondent will choose any product profile
           that is described by the part-worths and can do so for any competitive set of products. 24 Based
           on the estimations, it is also possible to simulate how choice shares would change in a market
           based on a change in overall price. CBC enables us to determine the difference in value
           (measured in dollars) that customers place on an energy drink that claims it “hydrates like a
           sports drink” compared to an otherwise identical energy drink that does not claim to “hydrate
           like a sports drink”.

                     3.3    Statistical Estimation Techniques Applied in Conjoint Analysis

73.        The underlying econometric and statistical estimation techniques of the Conjoint Analysis are
           based on Mixed Logit models and Hierarchical Bayesian Estimation techniques, which are


      23
             Orme, Bryan K, Getting Started with Conjoint Analysis: Strategies for Pricing Research, 2nd ed., Madison:
             Research Publishers, 2005.
      24
             Allenby, Greg M & Peter E Rossi, “Hierarchical Bayes Models,” in Grover, Rajiv & Marco Vriens, eds.,
             The Handbook of Marketing Research, Thousand Oaks: Sage Publications, Inc., 2006.



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           widely employed in economics and marketing research to analyze preferences over a discrete
           set of choices. 25

74.        Mixed Logit models use the idea that each consumer assigns a utility to each choice, and this
           utility measures the attractiveness of each choice. These utility values are correlated with the
           attributes of the actual choice (such as adding a different flavor to an otherwise identical
           energy drink that contains a different flavor or including the claim “hydrates like a sports
           drink” on an otherwise identical product that does not include the “hydrates like a sports
           drink” and the price associated with that choice. The utilities are also correlated with
           observable characteristics of the consumers making the choice (such as their age or income).

75.        The utility of each product consists of two components – a deterministic component and a
           random component. The deterministic component can be modeled by observable factors such
           as socio-economic and demographic characteristics of the consumers, product features, and
           market conditions. In general terms, the random component summarizes all the unobservable
           factors in the individual consumer’s choice process. In Mixed Logit models, the random
           component is expressed through a logistic distribution function. Together with the observable
           factors, this distribution function will be used to predict the probability that a particular choice
           is made. 26

76.        Once shown a menu of choices of different levels of attributes and different price alternatives,
           the consumer then chooses the one choice in the menu that yields the highest utility from that
           menu of choices. 27 Observing consumers’ choices from various choice menus enables one to
           estimate the relative value consumers place on one attribute over another.

77.        Price is included as an attribute, which allows for the estimation of the value of an attribute
           relative to price – that is, the dollar value of the willingness-to-pay for that attribute. In fact,


      25
              Underlying the Mixed Logit is a model of random utility. Berkeley economics professor Daniel McFadden
              developed the random utility model in the 1970s while working as a consultant on the design of the Bay
              Area Rapid Transit (BART) system in California. This work won McFadden the Nobel Prize in 2000. See
              Hal Varian, Intermediate Microeconomics, 8th Ed, 2009, Page. 68.
      26
              See, for example: Rao, Vithala, Applied Conjoint Analysis, Springer-Verlag, 2014, Chapter 4, for a detailed
              discussion of the use of mixed multinomial logit models in choice based conjoint studies.
      27
              See Figure 12 for an example of the actual layout of a choice menu where the respondent was presented a
              menu with four choices of combinations of features and the choice of “no purchase.”



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           the willingness-to-pay for an attribute is the negative ratio of the attribute’s coefficient to the
           price coefficient in the underlying choice model. 28

78.        The “mixed” in a Mixed Logit model refers to the fact that consumers’ utilities for particular
           choices are correlated both with features of the choice (e.g., which particular characteristics
           of energy drinks are available) and characteristics of the consumer (e.g., her age or income).

79.        Bayesian statistics is a subset of statistics where the underlying parameters that need to be
           estimated are assumed to be random variables rather than fixed quantities. Bayesian modelling
           is based on assigning prior probability distributions to any unknown parameters. In this case,
           the unknown parameters to be estimated are the part-worths of the attributes of a composite
           product derived from the choice sets in the conjoint analysis. These parameters will be
           estimated by a technique referred to in the literature as Hierarchical Bayesian Estimation. 29

80.        In Hierarchical Bayes Estimation (“HBE”), the parameter estimates are derived in a two-step
           hierarchical approach. At the higher level, the individual consumers’ part-worths are assumed
           to follow a specified distribution (like multivariate normal distribution or log-normal
           distribution). At the lower level, it is assumed that the individual consumers’ choice
           probabilities can be described by a model, such as a Mixed Logit model. Initial estimates of
           part-worth are estimated for each study respondent to use as a starting point. New estimates
           are updated using an iterative process called “Gibbs Sampling” and “Metropolis Hastings
           Algorithms.”30 This process is typically repeated thousands of times whereby in each
           iteration, an estimate is made for each parameter, conditional on current estimates of the
           others. After many iterations, this process converges to the correct estimates for each of the
           parameters.

81.        The HBE method combines random effect specifications at the aggregate level to account for
           variation across individuals and specific modelling of choice probabilities at the individual
           level. With market simulations, the performance of competing alternatives can be evaluated.


      28
             Train, Kenneth E., “Discrete Choice Methods with Simulations,” Cambridge University Press; 2nd edition,
             2009. Chapter 12 gives a detailed derivation of the Bayesian approach applied in this report.
      29
             See, for example: Rao, Vithala, Applied Conjoint Analysis, Springer-Verlag, 2014, Chapter 4.11, for a
             detailed discussion of the use of Hierarchical Bayesian Estimation in choice based conjoint studies.
      30
             Rao, Vithala, Applied Conjoint Analysis, Springer-Verlag, 2014, Page. 168.


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                     3.4    Implementation and Results

82.       Using Amplitude’s online survey panel, I was able to target a demographically diverse group
          of respondents. In all, observations from 912 respondents were included in the survey.

83.       When recruiting respondents to participate in the Amplitude survey, I aimed to achieve a
          balance of demographics similar to those observed in the Mintel Study. Of the 912 survey
          respondents aged 18+ who consume energy drinks, 32% are males aged 18-34, while 21% are
          females aged 18-34. 6% of respondents are males aged 55+ and 5% are females aged 55+
          (Figure 8). Of those 912 respondents, 66 respondents were excluded from the conjoint
          analysis because they stated that they only purchased natural energy drinks. Another 246
          respondents were excluded from the conjoint analysis because they had stated that they did
          not purchase Monster products at all. This leaves 600 respondents that were included in the
          conjoint analysis.

         Figure 8:         Age and Gender of Respondents




          Source: Own Analysis Based on Amplitude Survey




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84.       The survey includes questions about consumers’ behavior when shopping for and purchasing
          energy drinks. The survey results revealed that consumers purchase energy drinks from a
          variety of outlets (Figure 9).

         Figure 9:      Survey Question - From which source have you purchased
                        regular energy drinks most often during the past 12 months?




          Source: Own Analysis Based on Amplitude Survey


85.       600 (66%) respondents indicated that they purchased a Monster energy drink product within
          the last twelve months and 30% stated that Monster is the brand of energy drinks they
          purchase most often (Figure 10).




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         Figure 10: Survey Question - Which brand of regular energy drinks have
                    you purchased most often in the past 12 months?




          Source: Own Analysis Based on Amplitude Survey


86.       Understand Demand for Optional Features: The survey also includes questions aimed at
          better understanding what drives purchasing decisions. Figure 11 below shows how many
          respondents selected sixteen attributes as important for their purchasing decision. Each
          respondent could choose multiple attributes. Flavor appears to be the most important attribute,
          followed by price. Brand is the fourth most important attribute. However, most likely, the
          brand is closely related to the flavor, which is by far the most important attribute to survey
          respondents.




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           Figure 11: Key Attributes Mentioned by Respondents, Who Purchased
                      Monster Drinks




           Source: Own analysis based on Survey Results


87.        The survey shows that different consumers have varying preferences. This is consistent with
           the economic theory described above. When the market clears at the equilibrium price,
           varying consumer preferences are considered and merged into one equilibrium price, which
           is identical for each consumer for the product in question. Therefore, each consumer who
           buys a product that does not have the attributes as advertised and is inferior to the product as
           advertised, suffered an economic loss.

88.        To be included in the Conjoint Analysis, survey respondents were asked a series of
           demographic questions including gender, age, and state where they reside. These questions
           are designed to ensure that the survey is completed by a demographically diverse set of
           respondents.

89.        After qualifying for the survey, 31 the respondents were asked questions designed to elicit their
           thoughts about energy drinks. Further, they were asked where they buy energy drinks, which

      31
              To participate in the survey, respondents must meet all the following criteria: (1) be at least 18 years old,
              (2) reside in California, (3) purchased regular energy drinks, including Monster, within the last twelve
              months. Although, the survey was limited to California, the same methodology could be applied to
              respondents on a nationwide basis.


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          brand or brands they typically buy, and which attributes are important to them when making
          purchasing decisions (e.g., flavor, price, long lasting energy, brand, etc.).

90.       Neither the respondents nor the company administering the survey (Amplitude) had any
          information on the context of the study or who commissioned it and were not informed that
          the data would be used in litigation or more specifically in a lawsuit against Monster.

91.       The next section of the survey is comprised of the actual CBC exercise itself. During this
          exercise, respondents viewed twelve choice sets, each containing a combination of four
          attributes, plus a price. The attributes are

                 a. Flavor of the Product,
                 b. Energy Statement on Label
                 c. RE-HYDRATE Statement on Label
                 d. Comparison to a Sports Drink
                 e. Ingredients Statement on Label
                 f. Consumption Safety Statement on Label, and
                 g. Price per 16 oz. can.

92.       Respondents were instructed to assume that the products shown do not vary on any attributes
          other than the seven attributes presented.

93.       In my study, the prices range from $1.49 to $3.49, with five price points in all. Three
          considerations determined that range:

                 a. Generally, the price range should cover realistic prices for the product. For
                     example, a price of $0.30 would not be realistic as the typical retail price is far
                     higher. Similarly, a price of $10 would not be realistic as well.
                 b. Prices can be higher than the prices of currently offered products as we test product
                     attribute combinations that might not yet be available in the market.
                 c. In the case that we test the impact of false advertising, we determine the price for a
                     product without the advertised claim, which is currently not available in the market.
                     Hence, in order to estimate a demand curve for the product without the advertised




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                     claim, we need to include prices both below and above the price points common in
                     the market.

94.       In my opinion, the price range $1.49 to $3.49 complies with these considerations.

95.       Each choice set consists of five choices: four with various combinations of product attributes
          and prices described above. After each survey choice respondents had to confirm whether
          they would have purchased the selected product or not. An example of a choice set is given
          in Figure 12 below. Each participant responded to 12 such screens. Each screen showed
          randomly selected levels for each attribute. Therefore, Figure 12 does not necessarily show
          all levels for each attribute.

         Figure 12: Example of the CBC Choice Menu




          Source: Screenshot of BRG conjoint study implemented by Amplitude as an online survey




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96.        With the inclusion of six attributes and the five price points, there are 640 distinct possible
           choices for the survey participants. 32 The CBC employed in the survey randomly assigns
           choices from all 640 possibilities with equal likelihood and with uniform frequency of each
           level of each attribute and each pair of attribute/level permutations. That is, the CBC design
           is balanced and orthogonal. Balanced and orthogonal surveys are commonly employed in
           CBC. 33 The importance of an orthogonal and balanced design lies in the fact that designs of
           this type are 100% efficient. Efficiency implies that the resulting estimations have the smallest
           mean squared error out of all possible designs. 34 The mean squared error measures the level
           of variation and as such, the precision of the resulting estimates. The smaller the mean squared
           error of an estimate the more precise it is. As such, efficiency of a design is a measure of the
           information content of a design. Therefore, more efficient designs imply more reliable
           results. 35 Conversely, as efficiency decreases, the parameter estimates become correlated 36
           and the standard errors increase which makes the estimation of individual parameters less
           reliable. 37

97.        It is a known phenomenon that choices presented earlier in a list of choices in a questionnaire
           are disproportionately likely to be selected. 38 This phenomenon is known as order bias. To
           avoid order bias in my study, attributes were shown in a different order, chosen at random, to
           each respondent – except for price, which is always shown last.


      32
              There were 4 flavors, 5 binary attributes (with 2 levels), and 5 prices which gives 4*2*2*2*2*2*5 = 640
              when combining all possible permutations
      33
              Bakken, David & Curtis L Frazier, “Conjoint Analysis: Understanding Consumer Decision Making,” in
              Grover, Rajiv & Marco Vriens, eds., The Handbook of Marketing Research, Thousand Oaks: Sage
              Publications, Inc., 2006, Chapter 15.
      34
              The mean squared error (MSE) is calculated as the average of the squared distances between the estimator
              and what is estimated, or the “errors.” Efficient designs are ones that minimize the MSE.
      35
              The standard error is the standard deviation of the sampling distribution of a statistic. A smaller standard
              error implies a smaller margin of error, which results in a tighter confidence interval around an estimate.
      36
              This is known as multicollinearity. When parameter estimates are correlated, one estimate can be predicted
              using another estimate. This makes it difficult to understand the impact of individual parameters, as small
              changes in one predictor can lead to large changes in the dependent variable because the change in the
              predictor is concurrently causing changes in one or more other predictors. In other words, the predictors are
              not independent of each other.
      37
              Warren F. Kuhfeld, “Construction of Efficient Designs for Discrete Choice Experiments,” in Grover, Rajiv
              & Marco Vriens, eds., The Handbook of Marketing Research, Thousand Oaks: Sage Publications, Inc.,
              2006, Chapter 16.
      38
              Krosnick, Jon and Duane Alwin, “An evaluation of a cognitive theory of response order effects in survey
              measurement,” Oxford Journals Social Sciences Public Opinion Quarterly Volume 51, Issue 2, Pages. 201-
              219.


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      4 Economic Loss Calculation

98.       A purchaser of energy drinks product that contains claims A1, A2, B1, and B2 as described
          in Paragraph 8 paid for a product that would have the features as advertised. I applied the
          following two-step estimation process to determine the economic loss associated with
          purchasing a product where the claim although made, turns out to be false:

                •   Step 1: Quantify the “value” that a true claim that the product has the attributes as
                    advertised to the purchaser of a Monster energy drink compared to the same product
                    without the claim.
                •   Step 2: Quantify the economic loss in utility that the purchasers experience because
                    they were unaware at the point of purchase that the claim is false.

99.       In Step 1, the demand for Monster energy drinks with claims A1, A2, B1, and B2 and their
          implicit market prices are estimated. Based on the results from all 600 individual respondents,
          who purchased Monster energy drink products in the past twelve months and who were
          included in the CBC. These 600 individual respondents each viewed and provided responses
          for 12 choice sets with 4 purchase options and the no-purchase options, providing me with
          36,000 data points to analyze, one statistical estimate is calculated to determine the implicit
          price for the value of the energy drink that has one of the advertised claims A1, A2, B1 or B2
          compared to an energy drink that is otherwise identical but does not have that claimed quality.

100.      In Step 2, the change in the demand curve is estimated for the scenario where the consumer
          learns that the claims A1, A2, B1, and B2 are false. The estimate in Step 2 forms the basis for
          the economic loss derived from having purchased a product that falsely makes one or more
          of the claims A1, A2, B1, and B2.

                    4.1     Market Simulation in Conjoint Analyses

101.      To assess the robustness of the willingness-to-pay estimation under a variety of market
          conditions, I performed a comprehensive market simulation study using the individual utilities
          that I estimated from the conjoint study using the Hierarchical Bayesian Estimation
          methodology. In my market simulations, I used the same attributes and levels defined in the
          conjoint study.


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102.   The Hierarchical Bayesian Estimation of the parameters of the underlying Mixed Logit choice
       model yielded estimates of individual part-worth utilities for each respondent for each level
       of all attributes in the conjoint study. Market simulations are an important tool to convert the
       part-worths from the conjoint study into monetary measures reflecting consumer preferences
       and choices. In general, different permutations of product attributes and levels of those
       product attributes are introduced in a market simulation to assess the respondents’ choice
       probabilities for different combinations of product attributes.

103.   In general, conjoint studies lead to a set of utilities or part-worths that quantify respondents’
       preferences for each level of each attribute. These utilities can now be analyzed to assess how
       the respondents who represent the consumers react to changes in the product attributes at
       different price points.

104.   The market simulation consolidates the preferences and choices for all respondents which
       enables to answer questions about preference and likelihood of choice when attributes and
       levels of product attributes are changed.

105.   I conducted a market simulation analysis in which I varied the following parameters:

        a. Flavor (Original Sweet Sour, Fruit Citrus, Cola, Coffee Mocha),
        b. Long lasting (Yes, No),
        c. Rehydrate (Yes, No),
        d. Hydrate (Yes, No),
        e. Ideal Combo (Yes, No),
        f. Safe (Yes, No).

106.   Based on the discussion in Section 2, the knowledge of individual respondents’ utilities for
       product attributes and their level in combination with their price utilities, market simulations
       are also a useful tool to estimate demand curves for products with varying attributes as well
       as shifts in demand curves when product attributes change.

107.   By using the individual part-worths, it is possible to determine the demand curve for any
       specific combination of product attributes and their levels for different price points. When the
       question needs to be answered if and how the change in the level of a particular attribute


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        changes the demand curve then two demand curves can be calculated – the first one for a
        specific set of levels and attributes and a given price and the second one where the product
        attributes and price are identical but one level of one attribute is different. The measured shift
        in the demand curve, if any, can then be attributed to the changed level. Based on the change
        in demand curves, if any was found, it is then possible to determine the change in price that
        would be necessary to reach the same demand for the product where a level in one of the
        attributes was changed.

                   4.2    Willingness-To-Pay Estimates Based on Conjoint Analysis

108.    The estimated willingness-to-pay using this method is derived from the utility that a
        respondent gains from consuming a Monster energy drink that makes one or more of the
        claims it A1, A2, B1, and B2 compared to obtaining an otherwise identical product that does
        not make those claims. To be clear, this value is not an average value that would be different
        for all class members – rather, it is the equilibrium value calculated based on consumers’
        responses to varying choice menus in the Conjoint Analysis designed to derive one numerical
        figure to value the claim. The interpretation of this figure is the amount consumers paid when
        purchasing an energy drink product making claims A1, A2, B1, and B2 compared to an
        otherwise identical Monster energy drink without such claims.

109.    The conjoint analysis allows the researcher to estimate a demand curve for a specific
        combination of attributes. For example, Figure 13 shows for a specific product the estimated
        market share for the prices $3.49, $2.99, $2.49, $1.99 and $1.49. 39 Each blue dot in the figure
        represents one of the five price market share combinations. Based on the monotonic property
        of the price utilities, interpolation between the price-market share combinations allows to
        estimate the demand curve for market shares from 0 to 100 and every price between $1.49
        and $3.49. A change in the level of one or more of the attributes would result in a different
        demand curve.




   39
          The product is specified with the following levels of each attribute: Flavor – Cola, Longlasting – Yes,
          Rehydrate – Yes, Hydrate – Yes, Ideal Combo – Yes, Safe – Yes.


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        Figure 13: Results of Market Simulations – Demand Curves




        Source: Own analysis based on Survey Results


110.    Ceteris paribus, when we assume the But-For scenario where claims A1, A2, B1 and B2 are
        all false, the levels of the attributes Rehydrate, Hydrate, Ideal Combo and Safe switch from
        “Yes” to “No”. Hence the product becomes less attractive to consumers and the demand curve
        shifts to the left. In Figure 14 this shift is depicted by the dark grey curve, where the orange
        dots represent the estimated price-market share combinations for the attributes and different
        prices.

111.    The demand curve in the But-For world reflects that the product with the known to be false
        claims is far less attractive than the product in the actual world. The demand curve intersects
        the X-axis at approximately 70%. This implies that in order to gain a market share of 70%,
        the marginal consumer would be willing to pay $0 for this particular product. In order to gain
        additional market share, i.e., attract additional consumers to the less attractive product,
        marginal consumers would require a negative price or – in other words – a payment from the
        manufacturer to the consumer. In economic theory, a negative price is associated with bads –
        the opposite of goods. 40 In simple terms, the consumption of a bad is associated with negative
        utility for the consumer, which will be reflected in the consumer’s willingness-to-pay.



   40
           Varian, 2010, Page 41 – FULL Cite please


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112.   The But-For demand curve (dark grey) in Figure 14 illustrates the concept of goods and bads
       based on actual data from the conjoint analysis. Approximately 70% of the estimated market
       has a positive utility and therefore a positive willingness-to-pay. The point where the demand
       curve intersects the X-axis, is the location of the indifferent consumer. All consumers to the
       right have a negative willingness-to-pay. If we want to entice these consumers to purchase
       the product we would have to actually pay them.

       Figure 14: Results of Market Simulations – Demand Curves




       Source: Own analysis based on Survey Results


113.   As shown in theory in Figure 7, in order to make consumers whole after they had been harmed
       by false advertising, we need to shift the demand curve in the But-For world vertically into
       the actual demand curve. The following Figure 15 illustrates this concept for one scenario in
       my market simulations. The shift in demand curves requires a compensation of $3.02 at the
       price point of $3.49 and a compensation of $3.12 at the price point of $1.49.




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        Figure 15: Results of Market Simulations – Demand Curves




        Source: Own analysis based on Survey Results


114.    The above results show a high market share (over 85%) for a Monster Drink that is advertised
        with all four claims and sold at $1.49 in the actual world (depicted by the right most blue dot
        on the light grey demand curve). The conjoint analysis indicated that the same Monster Drink
        but without the four claims would require a much lower price to achieve the same market
        share. This result clearly indicates that the removal of the attributes represented by the four
        claims has turned the product into a bad for the marginal consumer.

115.    In my market simulations, I varied the product attributes, levels of attributes, and prices
        resulting in 1,536 possible combinations. For each combination, I computed two demand
        curves to assess if a drop in the demand curve resulted in an economic loss for the price points
        $1.49, $1.99, $2.49, $2.99 and $3.49. 41

116.    Figure 16 presents the range of economic loss derived from these simulations. These figures
        are known as Box-plots. They contain information about the distribution of the economic loss
        estimates derived from all the iterations.




   41
           Based on the decreasing monotonic property of the price utility function (i.e., higher prices for the same
           product yield lower utility for the consumers), the model presented can easily be expanded to any price
           point between $1.49 and $3.49.


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       Figure 16: Results of Market Simulations




       Source: Own analysis based on Survey Results


117.   The minimum and maximum economic loss figure in each simulation is shown by the thin
       vertical lines at the end of the thin horizontal lines. The blue box shows the range of economic
       loss figures that fall within the first and third quartile (i.e., 50% of all economic loss figures
       are within the light blue box). The median economic loss amount is shown by the white
       vertical bar inside the blue box and the number itself. Observations, which are more than 1.5
       times the inner quartile distant from the third quartile, are considered outliers and are shown
       as black dots in Figure 16.

118.   The economic losses by scenario in Figure 16 are not necessarily additive. The market
       simulation also allows to quantify damages for a combination of different claims. Figure 17
       shows the range of estimated damages for a combination of different claims. For example, the
        scenario “A1&A2&B1&B2” shows the distribution of economic loss when all four claims
       are considered together. Therefore, in the But-For world for this scenario, the label does not
       include any of the claims A1, A2, B1 or B2. The large median estimators for the economic
       loss like the one for this combination of the removal of four claims indicate that the Monster


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        Drinks after the removal of some or all of the key features turns into a bad for the marginal
        consumer. The consumption of a bad is undesirable and it creates negative utility for
        consumers. Therefore, more consumption as measured in higher market share of a product
        that is a bad will further decrease the negative utility and thus increase the economic loss
        beyond the actual price of the product.

        Figure 17: Results of Market Simulations for Combinations of Claims




        Source: Own analysis based on Survey Results


                    4.3    Confidence Interval for the Point Estimates

119.    As shown in Figure 16, the minimum of all estimated loss scenarios is greater than $0 and the
        medians 42 of each market simulation range between $0.41 and $1.61 depending on which




   42
           The median (also called the 50th percentile) in a distribution of data points is the value for which 50% of all
           data points in that distribution are smaller or equal to while the other 50% of all data points in that
           distribution are greater or equal to that value. In more general terms, the nth percentile of a distribution is
           defined as the value in a distribution of data points where n% of all data points are smaller than or equal to
           that value. For example, the 90th percentile of a distribution is defined as the value in that distribution of
           data points where 90% of all data points are smaller than or equal to that value.


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        individual claim was tested. This indicates strong evidence of the existence of class-wide
        economic losses.

120.    The results reported so far are the point estimates derived from the conjoint results. The study
        I designed and which was then conducted as an internet survey is not a statistical random
        sample in the sense that the selection probability for each participant is a known number
        greater than zero. However, the identification of the sample frame, the selection process of
        participants from the sample frame, and utilizing demographic information as balancing
        weights makes the resulting sample a representative selection from the target population.

121.    In full acknowledgement of the fact that the selection probability for each participant is not a
        known number greater than zero and as such, the resulting survey is strictly speaking a non-
        probability sample, I adhered to the previously cited AAPOR “Guidance on Reporting
        Precision for Nonprobability Samples.” In its guidance, AAPOR discusses a number of
        approaches that survey researchers use to estimate precision with nonprobability samples:

            “AAPOR encourages researchers to implement the approach that is most appropriate
            for the study design. While not an exhaustive list, four commonly used approaches for
            quantifying the precision of statistical estimates include: resampling approaches,
            Bayesian credible intervals, Taylor series linearization, and application of the simple
            random sample (SRS) formula for margin of error. For each approach, there are certain
            pieces of information that a statistically-trained, independent observer would need to
            know in order to evaluate the study’s design and the resulting estimates.” 43

122.    I have followed the format of reporting the results of my precision computations as suggested
        in the AAPOR Guidance: 44 To estimate the precision of the estimates from this survey and
        construct 95% approximations to confidence intervals I created 100 samples of size 580 from
        the results of the conjoint study. I then computed the percentiles of the point estimates for the
        economic loss for each scenario in my market simulation. Each bootstrapping iteration would
        yield a different point estimate for the economic loss. In the next step, I tabulated all results
        from all re-sampling iterations. Finally, I determined the 2.5th and 97.5th percentile. In
        Footnote 42 above, the nth percentile of a distribution was defined as the value in that


   43
          AAPOR Guidance on Reporting Precision for Nonprobability Samples, Page 1.
          https://www.aapor.org/getattachment/Education-Resources/For-
          Researchers/AAPOR_Guidance_Nonprob_Precision_042216.pdf.aspx.
   44
          Ibid. Pages 2 and 3.


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        distribution for which n% of all data points in that distribution are smaller than or equal to
        that value. Based on this definition, the percentiles can be used to calculate approximate
        confidence intervals in the following way: The 2.5th percentile is the value in the distribution
        for which 2.5% of all data points are smaller than or equal to and the 97.5th percentile is the
        value in the distribution for which 97.5% of all data points are smaller than or equal to.

        Figure 18: Width of the Confidence Intervals for Claims A1, A2, B1, B2




        Source: Own analysis based on Conjoint Study Results


123.    I calculated approximate 95% confidence intervals for all market simulations 45. Figure 18
        above shows the distributions for the median economic loss estimates for the four claims A1,
        A2, B1, and B2. For example, the median value of economic loss related to Claim A1 was
        determined to be $0.665. In the market simulation, there were 15 different product scenarios


   45
           A table with all confidence intervals for all scenarios in the market simulation can be found in the
           Appendix.


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       where the economic loss was either $0.66 or $0.67. The bootstrapping exercise resulted in
       confidence intervals of varying width ranging from $0.01 to $0.04 in the upper left chart in
       Figure 18 above. The narrow width of the confidence intervals (even the widest confidence
       interval with a width of $0.04 represents only approximately 6% of $0.665 which equates to
       a margin of error of +/- 3%) indicates statistical significance and thus, accurate and reliable
       results.

124.   The upper right corner in Figure 18 above displays the confidence intervals for the median
       value of $0.41 for the economic loss for claim A2. The bootstrapping exercise resulted in
       confidence intervals of varying width ranging from $0.01 to $0.02. The narrow width of the
       confidence intervals (even the widest confidence interval with a width of $0.02 represents
       approximately 4.9% of $0.41 which equates to a margin of error of +/- 2.45%) indicates
       statistical significance and thus, accurate and reliable results.

125.   The lower left corner in Figure 18 above displays the confidence intervals for the median
       value of $0.58 for the economic loss for claim B1. The bootstrapping exercise resulted in
       confidence intervals of varying width ranging from $0.01 to $0.02. The narrow width of the
       confidence intervals (even the widest confidence interval with a width of $0.02 represents
       3.4% of $0.58 which equates to a margin of error of +/- 1.7%) indicates statistical significance
       and thus, accurate and reliable results.

126.   The lower right corner in Figure 18 above displays the confidence intervals for the median
       value of $1.61 for the economic loss for claim B2. The bootstrapping exercise resulted in
       confidence intervals of varying width ranging from $0.04 to $0.06. The narrow width of the
       confidence intervals (even the widest confidence interval with a width of $0.06 represents
       3.7% of $1.61 which equates to a margin of error of +/- 1.85%) indicates statistical
       significance and thus, accurate and reliable results.

127.   In summary, the results of the bootstrapping exercise show approximate 95% confidence
       intervals with margins of error of no more than +/- 3% for the median estimates of economic
       loss. The fact that the margins of error are low at high levels of statistical confidence indicates
       that the preferences and choices of the participants in the empirical study show a large degree
       of homogeneity when assessing the economic value of the claims at issue in this case.


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   5 Summary and Conclusion

128.   I developed a theoretical model that shows how the demand for a product changes when
       attributes and levels of attributes for that product change. To quantify the change in demand
       when the attributes of the product change (e.g., when claims about the product are false and
       misleading), I designed a choice based conjoint study.

129.   I applied the well-established scientific methodology of Mixed Logit modeling and
       Hierarchical Bayesian Estimation to analyze the data from the efficiently designed choice
       based Conjoint Analysis. The results from the conjoint analysis can be relied upon to draw
       inferences about the value of claims A1, A2, B1 and B2 to customers at the point of purchase
       and how such value will change when the claims are revealed to be false at the point of
       purchase.

130.   Summarizing the results of the conjoint analysis, respondents would have paid $1.82 less for
       a product that had only the Monster flavors and none of the attributes falsely claimed, and
       therefore, they suffered an economic loss of $1.82 when the Court decides that the four claims
       at issue were all found to be false and misleading. The economic loss would have been less
       (ranging from $0.41 to $1.61) in cases when only one of the falsely claimed attributes is
       considered. However, under all circumstances, my simulations demonstrate that there is a
       positive economic loss. Subsequent bootstrapping analysis resulted in 95% confidence
       intervals with margins of error of +/-3% or less which implies statistical significance and thus
       accurate and reliable results.

131.   Further, the small margins of error (+/-3% or less) at high levels of statistical confidence
       (95%) is strong evidence that the preferences and choices of the participants in this study who
       all have been consumers of Monster energy drinks show a large degree of homogeneity when
       assessing the economic value of the claims at issue in this case.

132.   In addition, the small margins of error (+/-3% or less) at high levels of statistical confidence
       (95%) for the estimated economic loss to the members of the putative class also provide strong



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       evidence that the misstatements had a material impact on the demand for Monster Drinks
       because the study has demonstrated that without those claims, class members would have paid
       a lower price for the product.

133.   Lastly, I conclude that the method proposed and described in this report can be used to expand
       the results of the conjoint study to a complete model to calculate class-wide damages in the
       merits phase of this case by multiplying the economic loss per unit as established above with
       the number of units purchased by class members during the class period. In addition, the
       model proposed in this Report to compute class-wide economic losses can be expanded in the
       merits phase of this case to incorporate additional aspects if the Court deems this necessary.

134.   The analysis and opinions contained in this report are based on information available as of the
       date of this report. I reserve the right to supplement or amend this report in the event
       additional information becomes available.




                            Respectfully submitted on June 23, 2017.




                         ___________________________________
                                        Stefan Boedeker




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                      EXHIBIT A
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Curriculum Vitae



                                           STEFAN BOEDEKER

Managing Director                          Background
Berkeley Research Group                    Stefan is a Managing Director at Berkeley Research Group where
                                           he focuses on the application of economic, statistical, and
550 South Hope Street
Suite #2150                                financial models to a variety of areas such as solutions to
Los Angeles, CA 90071                      business issues, complex litigation cases, and economic impact
Tel: (310) 499-4924                        studies. He has extensive experience applying economic and
Cell: (213) 705-1324                       statistical theories and methodologies to a wide variety of cases
Email: sboedeker@thinkbrg.com
                                           where But-for-scenarios have to be developed based on
Education                                  probabilistic methods and where statistical predictive modeling
• BS in Statistics,                        has to be applied to assess liability and damages.
   University of Dortmund, Germany
• BA in Business Administration,           Stefan has applied these techniques in business disputes, single-
   University of Dortmund, Germany         plaintiff cases, multi-plaintiff cases, and class action proceedings
• MS in Statistics                         in the areas of class certification, liability assessment, developing
   University of Dortmund, Germany         damages scenarios, and post settlement or judgment distributions.
• MA in Economics
   University of California, San Diego
• ABD in Economics
   University of California, San Diego     Professional and Business Experience
Professional Associations                  Representative Engagements
• Member of the American Economic
  Association (AEA)
• Member of the American Statistical       Survey Sampling
  Association (ASA)
• Member of the Econometric Society        Stefan has extensive experience in designing, conducting, and
• Member       of    the    Mathematical   statistically analyzing surveys. He has applied his expertise in
  Association of America (MAA)
                                           both, the business consulting sector as in litigation proceedings in
• Member of the American Association
  for     Public     Opinion   Research    a wide variety of industries. Stefan’s work also often
  (AAPOR)                                  incorporates the review and evaluation of surveys designed,
• Member of the Market Research            conducted, and analyzed by other consultants and experts. In this
  Association (MRA)                        capacity Stefan has frequently been asked to assess what can and
• In 2001 Stefan was a member of an        what cannot be concluded from survey data.
  AICPA task force dealing with
  Corporate Integrity Agreements (CIA).
  Stefan was responsible for issues
  related to statistical methodology
  utilized in CIA’s.
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»     In a class action alleging misleading advertisement about coupon redemption policies, Stefan analyzed
      transactional coupon redemption data and conducted a consumer survey about the perceived meaning of
      the advertising regarding the coupon redemption policies

»     In a case involving the meaning of certain endorsement labels on sporting equipment, Stefan analyzed a
      consumer survey about the recognition and perceived meaning of such labels.

»     In a case where a celebrity chef look-alike was used in a commercial, Stefan conducted a survey to assess
      the extent of consumers’ confusion and the potential impact on product sales.

»     In a case of advertising slogans for an alcoholic beverage, Stefan conducted a survey to assess whether
      consumers assumed that the products advertised were from a particular brewery.

»     In a post-acquisition study for a large instant breakfast producer, Stefan conducted surveys to assess the
      value of the acquired brand name and the advantages of keeping that name for certain product lines.

»     In a dispute between two golf club manufacturers over advertising claims for their drivers, Stefan
      performed statistical analyses of test data and a consumer survey to assess the impact of the advertising on
      the propensity to buy a particular driver.

»     For a large consumer products company, Stefan combined statistical modeling of transactional purchase
      data with consumer surveys to assess the price premiums that consumers were willing to pay for certain
      national brands over local brands and non‐branded products.

»     Stefan designed, conducted and implemented consumer surveys about coupon redemption rates, frequency
      and volume of coupon usage, and the perceived value of coupons in class action settlements.

»     Stefan designed and analyzed a survey in a dispute about the perception of customer mis‐information
      concerning the rating process of video and computer games.

»     For a large casino operator Stefan designed, conducted, and analyzed surveys about consumer visit
      frequency and gambling habits to develop a ʺcompʺ system.

»     Stefan analyzed guest data to analyze the effectiveness of a frequent traveler program as well as group
      discount pricing. Based on a survey of frequent travelers and utilizing data mining tools Stefan developed
      predictive models for customer acquisition, retention, and attrition. Stefan also specified share of wallet
      models. The study resulted in price setting recommendations and a restructuring of the yield management
      system.

»     Stefan designed a survey of used car dealers to assess the impact of optional equipment and general
      condition on the value of used automobiles for insurance valuation purposes.

»     In a consumer class action alleging economic losses to the class caused by defective window regulators
      Stefan designed, conducted, and analyzed a survey used to segment the customer base and identify
      different levels of economic loss.

»     For one of the largest school districts in the country Stefan designed, conducted and statistically analyzed
      a survey of school administrators, teaching personnel, students, and parents about the attitude towards a
      new recycling program prior to its implementation.



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»     For a large school district Stefan designed, conducted and statistically analyzed a survey about the
      acceptance of a recycling program across school administrators, teaching personnel, students, and parents
      after its implementation. The answers of the survey were cross validated by actually observing and
      analyzing the recycling behavior on a sample of school yards.

»     In several environmental disputes Stefan designed, conducted and statistically analyzed surveys assessing
      the willingness to pay among users and non‐users of natural resources for cleanup costs related to
      pollution.

»     In a dispute over alleged underfunding of special education in public schools funding Stefan designed,
      conducted, and statistically analyzed a survey among school district administrators about allocation of
      public funds.

»     In a variety of instances for clients across multiple industries Stefan designed, conducted, and statistically
      analyzed data from customer surveys to assess a qualitative ranking of the importance of goods and
      services offered and to measure the performance relative to the customers’ perception of importance.

»      For the San Diego County Bar Association, Task Force on Diversity in the Profession, Stefan performed
      a statistical analysis of questionnaires on diversity regarding aspects of race, gender, age, and disability.

»     On numerous occasions Stefan has been retained to critically analyze other expertsʹ surveys and opine on
      design, implementation, statistical analysis of data obtained from the surveys, and interpretations and
      conclusions drawn based on the results.

»     For a large insurance company, Stefan utilized statistical sampling methodology to estimate the potential
      exposure in a lawsuit alleging the unlawfulness of certain liability waivers in automobile insurance.

»     In numerous wage and hour litigation cases Stefan designed, conducted, and statistically analyzed surveys
      in junction with observational studies to gain information about how store managers, assistant managers,
      and/or other salaried employees in supervisory functions allocate their time worked across managerial and
      non‐managerial activities.

                •   Including, but not limited to large department stores, electronics retailer, large big box
                    retailer, women’s special clothing retailer, women’s shoe retailer, sporting goods stores,
                    amusement park industry, restaurant industry, high tech, etc.

»     In numerous wage and hour litigation cases Stefan designed, conducted, and statistically analyzed surveys
      in junction with observational studies to gain information about the implementation of and compliance of
      meal and rest break policies.

                •   Including, but not limited to large department stores, electronics retailer, large big box
                    retailer, women’s special clothing retailer, women’s shoe retailer, sporting goods stores,
                    amusement park industry, restaurant industry, high tech, etc.




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Non-Litigation


»     For large grocery store chains, Stefan analyzed the effectiveness of a frequent shopper card program
      utilizing data mining techniques. He also analyzed customer data to facilitate the introduction of one-to-
      one marketing tools.

»     For a grocery store chain, Stefan utilized econometric elasticity models to recommend pricing strategies
      for in-store promotions.

»     For a grocery store chain, Stefan developed customer segmentation models to design segment specific
      marketing campaigns.

»     For the American Film Marketing Association, Stefan performed an economic impact study of the
      influence of the independent film producers and distributors on the U.S. economy in general, and the
      California economy in particular.

»     For a large entertainment client, Stefan developed statistical models to predict the return of video cassettes
      and DVDs.

»     For several clients in the retail industry, Stefan developed statistical models to estimate the liability of
      unredeemed gift certificates.

»     For a client in the restaurant business, Stefan developed statistical models to quantify the dollar amount of
      outstanding unredeemed gift certificates.

»     For a major hotel chain, Stefan developed statistical models to forecast the redemption of frequent traveler
      program points for tax purposes.

»     For a high profile e-commerce company, Stefan’s team produced an interactive Business decision tool to
      forecast company growth and profitability. The interactive model allows the client, through the choice of a
      few fundamental inputs, to measure the simultaneous impact on all cost and revenue dimensions of the
      company, including real estate and equity participation.

»     For the Nevada Resort Association, Stefan quantified the economic impact of the gaming industry with
      special emphasis on the accelerated population growth in greater Las Vegas.

»     For the Los Angeles Unified School District, Stefan performed an economic study about the impact of
      different recycling programs.

»     For the Los Angeles County Department of Health Services, Stefan conducted a time and motion study to
      determine the time required to complete specific Medi-Cal eligibility and provider forms.

»     For the Arizona Tax Research Association, Stefan developed economic models to quantify the revenue
      impact of a proposed change of taxation in the construction sector in Arizona.

»     For a hotel property management company, Stefan analyzed customer data, and used data mining methods
      to develop predictive models for customer acquisition, retention, and attrition.

»     For a project analyzing the extent of competition in the market segments of a pipeline company, Stefan
      estimated regression and Tobit-models to determine optimal bidding behavior for gas storage demand. He
      prepared testimony given in filings before the Federal Energy Regulatory Commission (FERC).
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»      For a hotel property management company, Stefan developed a demand driven yield management system.

»      For a company providing self-storage space, Stefan developed a demand driven price-setting strategy
       utilizing own- and cross-price elasticity regression models.

»      For a high-tech start-up with a unique service offering of new products, Stefan recommended product-
       pricing scenarios.

»      For a large international conglomerate, Stefan developed customized data mining techniques for the
       implementation within a customer knowledge management system.

»      For a large law firm, Stefan performed a comprehensive statistical analysis of Los Angeles superior court
       jury verdicts over the last decade. The project tested the hypothesis of systematic bias in particular
       courthouses with respect to plaintiff-win probability, length of trial, length of deliberation, and dollar
       amounts awarded.


Depositions & Testimony
Depositions

1.     MRO Communications, Inc vs. American Telephone and Telegraph Company, United States District
       Court District of Nevada, Case. No. -5-95-903-PMP, Deposition Testimony, September 26, 1996

2.     Yolanda Aiello Harris, individually and on behalf of all others similarly situated; Jennifer Hopkins,
       individually and on behalf of others similarly situated; Shannon L. Bradley, individually and on behalf of
       others similarly situated, Plaintiffs, vs. CB Richard Ellis, Inc., a California corporation; CB Commercial
       INC., a California corporation; Defendants, Superior Court of California, County of San Diego, Case No.
       GIC 745044, Deposition Testimony, January 05, 2001.

3.     State of Tennessee, ex rel., Douglas Sizemore, Petitioner vs. Xantus Healthplan of Tennessee, Inc.,
       Chancery Court of Davidson County, Tennessee at Nashville, Case No 99-917-II, Deposition Testimony,
       October 11, 2001.

4.     Howard Wright, Inc., a California corporation doing business as AppleOne Employment Services,
       Plaintiffs, vs. Olsen Staffing Services, Inc., a Delaware Corporation, Dagney Smith, an individual, Vicky
       Riechers, an individual, and Linda Shiftman, an individual, Defendants, Superior Court of the State of
       California for the County of Los Angeles, Case No. BC 200657, Deposition Testimony, December 7,
       2001.

5.     Sacred Heart Medical Center, et al., Plaintiffs, -vs- Department of Social and Health Services, and Dennis
       Braddock, the Secretary of the Department of Social and Health Services, Defendants, Superior Court of
       the State of Washington in and for the County of Thurston, No. 00-2-01898-1, Deposition Testimony,
       January 23, 2003.

6.     Patrick Bjorkquist individually and on behalf of all others similarly situated, Plaintiff, vs. Farmers
       Insurance Company of Washington, Defendant, in the Superior Court of the State of Washington for King
       County, Case No.: 02-2-11684-1 SEA, Deposition Testimony, November 3, 2003.




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7.     Diversified Property, a general partnership, Dora Saikhon Family Trust, and Nancy Saikhon Borrelli, an
       individual, Plaintiffs vs. Manufacturers Life Insurance (U.S.A.), a Michigan corporation, erroneously sued
       as Manufacturers Life Insurance Company, Inc., Defendants in the Superior Court of California, County
       of San Diego, Case No.: GIC 815128, Deposition Testimony on July 21, 2004.

8.     Alan Powers, Plaintiff, vs. Laramar Group et al., Defendants in the United States District Court, Northern
       District of California, No. C-02-3755 SBA, Deposition Testimony on August 27, 2004.

9.     Group Anesthesia Services, A Medical Group, Inc., Claimant, vs. American Medical Partners of North
       Carolina, Inc., etc., et al., Respondents, JAMS Arbitration, Reference No. 1100040919, Deposition
       Testimony on February 9, 2005.

10.    Group Anesthesia Services, A Medical Group, Inc., Claimant, vs. American Medical Partners of North
       Carolina, Inc., etc., et al., Respondents, JAMS Arbitration, Reference No. 1100040919, Deposition
       Testimony on March 11, 2005.

11.    Fujitsu v. Cirrus Logic et al., United States District Court, Northern District of California, San Jose
       Division, Case No. 02CV01627. Deposition Testimony on April 21 and 22, 2005.

12.    Goldman et al. v. RadioShack Corporation, United States District Court, Eastern District of Pennsylvania,
       Case No. 03 CV 0032, Deposition Testimony on May 18, 2005.

13.    Perez et al. v. RadioShack Corporation, United States District Court, Northern District of Illinois, Eastern
       Division, Case No. 02-CV-7884, Deposition Testimony on December 13, 2005.

14.    United States of America ex rel. A. Scott Pogue v. American Healthcorp Inc., Diabetes Treatment Centers
       of America Inc., et al., United States District Court, Middle District of Tennessee at Nashville, Civil No.
       3-94-0515, Deposition Testimony on May 12, 2006.

15.    School Districts’ Alliance v. State of Washington, United States District Court, Eastern District of
       Thurston, Case No. 04-2-02000-7, Deposition Testimony on July 20, 2006.

16.    Boca Raton Community Hospital, Inc., a Florida not-for-profit corporation d/b/a Boca Raton Community
       Hospital, on behalf of itself and on behalf of Class of all others similarly situated v. Tenet Healthcare
       Corp., a Nevada Corporation, United States District Court, Southern District of Florida, Miami Division,
       Case No. 05-80183-CIV-SEITZ/MCALILEY, Deposition Testimony on July 25, 2006.

17.    Boca Raton Community Hospital, Inc., a Florida not-for-profit corporation d/b/a Boca Raton Community
       Hospital, on behalf of itself and on behalf of Class of all others similarly situated v. Tenet Healthcare
       Corp., a Nevada Corporation, United States District Court, Southern District of Florida, Miami Division,
       Case No. 05-80183-CIV-SEITZ/MCALILEY, Deposition Testimony on October 13, 2006.

18.    Louise Ogborn v. McDonald’s Corporation et al., Commonwealth of Kentucky 55th Judicial District,
       Bullitt County Circuit Court, Case No. 04-CI-00769, Deposition Testimony on October 19, 2006.

19.    Elise Davis v. Kohl’s Department Stores, Inc. consolidated with Rosie Grindstaff v. Kohl’s Department
       Stores, Inc., Superior Court of the State of California for County of Los Angeles Central District, Case
       No. BC 327426 (lead case) consolidated with Case No. BC 341954, Deposition Testimony on April 25,
       2007.




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20.   Norman Utley, et al., v. MCI, Inc., MCI Worldcom Communications, Inc., and MCI Network Services,
      Inc., formerly known as MCI Worldcom Network Services, Inc., United States District Court, Northern
      District of Texas, Dallas Division, Civil Action No. 3:05 - CV- 0046 - K, Deposition Testimony on May
      30, 2007.

21.   Ramon Moreno and Ernesto Morailo, on behalf of themselves and all others similarly situated v. Guerrero
      Mexican Food Products Inc., a division of Gruma Corporation; and Gruma Corporation, a Nevada
      Corporation, United States District Court, Central District of California, Case No. CV05-
      773RSWL(PLAx), Deposition Testimony on August 10, 2007.

22.   Darensburg et al. v. Metropolitan Transportation Commission, U.S. District Court, Northern District of
      California, Case No. C-05-1597-EDL, Deposition Testimony on March 18, 2008.

23.   In Re: King Pharmaceuticals, INC, Derivative Litigation, Lead Case No: BOO19077(M), The Chancery
      Court, Sullivan County at Bristol, Tennessee, Deposition Testimony on April 4, 2008.

24.   P. Ansley et al. v. Lewis Homes of California, a California General Partnership, et al., Superior Court of
      the State of California, For the County of Solano, Case No. FCS02445, Deposition Testimony on April
      10, 2008.

25.   Personnel Plus v. Ashish Wahi et al., Superior Court of the State of California, County of Orange, Case
      No. 07CC08363, Deposition Testimony on August 13, 2008.

26.   First Capitol Consulting Inc. v. LVX, Inc. et al., Superior Court of the State of California for the County
      of Los Angeles, Case No. BC378202, Deposition Testimony on October 27, 2008.

27.   R. Molina et al. v. Lexmark International, Inc., Superior Court of the State of California for the County of
      Los Angeles, Case No. BC339177, Deposition Testimony on November 19, 2008.

28.   In re National Century Financial Enterprises, Inc. Investment Litigation, No. 2:03-MD-1565-JLG-MRA
      (S.D.Ohio), Deposition Testimony on January 22, 2009.

29.   New York City Employees’ Retirement System, et al. v. Bank One, N.A., et al., Case No. 03-cv-09973
      (LAK) (S.D.N.Y.), Deposition Testimony on January 22, 2009.

30.   Dole Fresh Fruit International, Ltd, Hyundai Precision America, Inc., JAMS Arbitration, ADRS Case #05-
      1138-RTA, Deposition Testimony on December 21, 2009.

31.   D. Berry, L. Hedges et al. v. Volkswagen of America, Inc., in The Circuit Court of Jackson County,
      Missouri, at Independence, No. 0516-CV01171 Division 2, Deposition Testimony on February 18, 2010.

32.   D. Aberle et al. v. Davidson Builders, Inc., et al., Superior Court of the State of California, County of
      Orange, Case No.: 37-2008-00083718-CU-CD-CTL, Deposition Testimony on March 24, 2010.

33.   Urga, et al. v. Redlands Community Hospital, Superior Court of the State of California, County of San
      Bernardino, Case No. SCVSS 123769, Deposition Testimony on May 17, 2010.

34.   Oberschlake, et al v. St. Joseph Hospital of Orange, et al, Superior Court of the State of California,
      County of Orange, Case No. 05CC00301, Deposition Testimony on August 12, 2010.

35.   J. Morrison v. The Vons Companies, Inc., Superior Court of State of California, County of San Diego,
      Case No. 37-2009-00081026-CU-BT-CTL, Deposition Testimony on December 7, 2010


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36.   R. Pate, et al. v. Children’s Hospital of Orange County, Superior Court of California, County of Orange,
      Case No. 05CC00303, Deposition Testimony on April 13, 2011.

37.   M. St. Croix, et al. v. Cedar Fair, L.P., et al., Superior Court of California, County of Orange,        Case
      No. 30-2008-0214500, Deposition Testimony on August 22, 2011.

38.   Steven Domalewski, a minor v. Hillerich and Bradsby Co., et al., Superior Court of New Jersey, Passaic
      County, Docket No.: PAS-L-2119-08, Deposition Testimony on January 5, 2012.

39.   Cathleen McDonough, et al., v. Horizon Blue Cross/Blue Shield of New Jersey, United States District
      Court, District of New Jersey, Civil Action No. 09-cv-00571-(SRC) (PC), Deposition Testimony on
      January 10, 2012.

40.   Daniel Ordonez, et al., v. Radio Shack, United States District Court, Central District of California, Case
      No. CV 10-07060 CAS (JCGx), Deposition Testimony on October 24, 2012.

41.   Ameritox, Ltd., v. Millennium Laboratories, Inc., United States District Court, Middle District of Florida,
      Case No. 8:11-cv-00775-SCB-TBM, Deposition Testimony on December 20, 2013.

42.   United States of America, ex rel. Glenda Martin v. Life Care Centers of America, Inc., United States
      District Court Eastern District of Tennessee at Chattanooga, Civ. Action No. 1:08-CV-251, Deposition
      Testimony on January 15, 2014.

43.   United States of America, ex rel. Tammie Taylor v. Life Care Centers of America, Inc., United States
      District Court Eastern District of Tennessee at Chattanooga, Civ. Action No. 1:12-CV-64, Deposition
      Testimony on January 15, 2014.

44.   Darren Smith, et al., v. Panera Bread Company, Superior Court of California, County of San Diego, Case
      No. 37-201-00084077 CU-BT-CTL, Deposition Testimony on April 30, 2014.

45.   Joseph Hummel et al., v. Castle Principles, LLC et al., Superior Court of California, County of Santa
      Clara, Case No. 112CV223170, Deposition Testimony on June 19, 2014.

46.   Sherman Way Oil, Inc. (Bijan Pouldar), American Pacific Enterprises Group (Sherwin Louie), Bahman
      Kohanteb, Hamid Kalhor , Claimants, Vs. Circle K Stores, Inc., Respondent, Alternative Dispute
      Resolution Case No’s 13-7103-DSC through 13-7106-DSC, Deposition Testimony on September 25,
      2014.

47.   In re: ExxonMobil Oil Corporation, et al., Southern California Bulk Sale Litigation, Case No. CV12-
      04689-PA (VBKx), Deposition Testimony on September 25, 2014.

48.   Oracle Wage and Hour Cases, Raghunandam Matam et al., v. Oracle Corporation, Superior Court of
      California, County of Alameda, No. RG-09480164, Deposition Testimony, October 21, 2014.

49.   G. Taylor et al. v. Shippers Transport Express, Inc., et al., United States District Court, Central District of
      California, Case No.: CV13-02092-BRO (PLAx), Deposition Testimony on October 24, 2014.

50.   Denise Mays et al. v. Children’s Hospital of Los Angeles, Superior Court of California, County of Los
      Angeles, Case No. BC477830, Deposition Testimony on March 17, 2015.

51.   Direct General Insurance Company v. Indian Harbor Insurance Company et al., United States District
      Court, Southern District of Florida, Miami Division, Case No. 14-20050-CIV-Cooke/Torres, Deposition
      Testimony on March 27, 2015.
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52.   Dennis Dickman v. Gerdau Reinforcing Steel, et al., Superior Court of California, County of San
      Bernardino, Case No. CIV-DS-1406231, Deposition Testimony on July 7, 2015.

53.   Fred Devries, et al. v. Morgan Stanley & Co. LLC, et al., United States District Court, Southern District of
      Florida, Case No. 9:12-cv-81223-KAM, Deposition Testimony on July 31, 2015.

54.   Dennis Dickman v. Gerdau Reinforcing Steel, et al., Superior Court of California, County of San
      Bernardino, Case No. CIV-DS-1406231, Deposition Testimony on September 11, 2015

55.   Leah Davis, and Amy Krajec, et al. v. St. Jude Hospital, Superior Court of California, County of Orange,
      Case No. 30-2012-00602596-CU-OE-CXC, Deposition Testimony on January 19, 2016.

56.   In re MyFord Touch Consumer Litigation, Whalen, et al. vs. Ford Motor Company, United States District
      Court Northern District of California San Francisco Division, Case No. 13-cv-3072-EMC, Deposition
      Testimony on February 23, 2016.

57.   United States of America, ex rel. Glenda Martin v. Life Care Centers of America, Inc., United States
      District court Eastern District of Tennessee at Chattanooga, Civ. Action No. 1:08-CV-251 & United States
      of America, ex rel. Tammie Taylor v. Life Care Centers of America, Inc., United States District court
      Eastern District of Tennessee at Chattanooga, Civ. Action No. 1:12-CV-64, Deposition Testimony on
      March 4, 2016.

58.   The United States of America and the State of Florida ex rel. Angela Ruckh v. CMC II LLC, United
      States District court for the Middle District of Florida Tampa Division, Civil Action No. 8:11 CV 1303
      SDM-TBM, Deposition Testimony on March 16, 2016.

59.   Bertha Sanchez, et al. v. St. Mary Medical Center, et al., Superior Court of the State of California for the
      County of San Bernardino, Case No. CIVDS 1304898, Deposition Testimony on July 13, 2016.

60.   Christian Juarez, et al v. Dignity Health, a California corporation, et al., Superior Court of the State of
      California, County of Los Angeles, Central Civil West District, Case No. BC550950, Deposition
      Testimony on August 15, 2016.

61.   In Re Dial Complete Marketing and Sales Practices Litigation, United States District Court, District of
      New Hampshire, Case No. 11-md-2263-SM (MDL Docket No. 2263), Deposition Testimony on August
      30, 2016.

62.   In Re: Myford Touch Consumer Litigation, United States District Court, Northern District of California,
      San Francisco Division, Case No. 13-cv-3072-EMC, Deposition Testimony on September 16, 2016.

63.   United Healthcare Insurance Company v. Lincare Inc., Case Improvement Plus of Texas Insurance
      Company: Care Improvement Plus South Central Insurance Company: Care Improvement Plus of
      Maryland, Inc. v. Lincare Inc., In An Arbitration Before the American Arbitration Association, Case No.
      01-15-0003-4095, Deposition Testimony on December 21, 2016.

64.   The Moses H. Cone Memorial Hospital Operating Corporation d/b/a Cone Health v. Springfield Service
      Corporation d/b/a SPI Healthcare, The United States District Court for the Middle District of North
      Carolina, Civil Action No. 1:13-cv-651, Deposition Testimony on January 17, 2017.

65.   The People of the State of California, acting by and through Orange County District Attorney Tony
      Rackauckas v. General Motors LLC, Superior Court of the State of California in and for the County of
      Orange Complex Litigation Division, Case No. 30-2014-00731038-CU-BT-CX, Deposition Testimony on
      April 20 and 21, 2017.
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66.    In Re: Emerson Electric Co. Wet/Dry Vac Marketing And Sales Litigation, United States District Court
       for the Eastern District of Missouri, MDL No. 2382, Civil Action No. 4:12-md-2382-HEA, Deposition
       Testimony on May 17, 2017.

67.    The People of the State of California, acting by and through Orange County District Attorney Tony
       Rackauckas v. General Motors LLC, Superior Court of the State of California in and for the County of
       Orange Complex Litigation Division, Case No. 30-2014-00731038-CU-BT-CX, Rebuttal Deposition
       Testimony on June 13, 2017.



Testimony

1.     State of Tennessee, ex rel., Douglas Sizemore, Petitioner vs. Xantus Healthplan of Tennessee, Inc.,
       Chancery Court of Davidson County, Tennessee at Nashville, Case No 99-917-II, Trial Testimony,
       October 16, 2001.

2.     State of Tennessee, ex rel., Douglas Sizemore, Petitioner vs. Xantus Healthplan of Tennessee, Inc.,
       Chancery Court of Davidson County, Tennessee at Nashville, Case No 99-917-II, Rebuttal Testimony,
       October 26, 2001.

3.     Howard Wright, Inc., a California corporation doing business as AppleOne Employment Services,
       Plaintiffs, vs. Olsen Staffing Services, Inc., a Delaware Corporation, Dagney Smith, an individual, Vicky
       Riechers, an individual, and Linda Shiftman, an individual, Defendants, Superior Court of the State of
       California for the County of Los Angeles, Case No. BC 200657, Trial Testimony, March 4, 2002.

4.     Columbia/HCA Healthcare Corporation - Billing Practices Litigation, United States District Court, Middle
       District of Tennessee, Nashville Division, Case No. 3-98-MDL-1227 on June 28, 2002.

5.     Sacred Heart Medical Center, et al., Plaintiffs v. Department of Social and Health Services, and Dennis
       Braddock, the Secretary of the Department of Social and Health Services, Defendants, Superior Court of
       the State of Washington in and for the County of Thurston, No. 00-2-01898-1, Testimony in Liability
       Trial, April 14, 2003.

6.     Diversified Property, a general partnership, Dora Saikhon Family Trust, and Nancy Saikhon Borrelli, an
       individual, Plaintiffs v. Manufacturers Life Insurance (U.S.A.), a Michigan corporation, erroneously sued
       as Manufacturers Life Insurance Company, Inc., Defendants in the Superior Court of California, County
       of San Diego, Case No.: GIC 815128, Trial Testimony on October 25, 2004.

7.     Bridgestone/Firestone North American Tire v. Sompo Japan Ins. Co. of America, United States District
       Court for the Middle District of Tennessee Nashville Division Civil Action NO. 3-02-1117, March 7,
       2005

8.     Group Anesthesia Services, A Medical Group, Inc., Claimant, vs. American Medical Partners of North
       Carolina, Inc., etc., et al., Respondents, JAMS Arbitration, Reference No. 1100040919, Arbitration
       Testimony on March 23, 2005.

9.     Goldman et al. v. RadioShack Corporation, United States District Court, Eastern District of Pennsylvania,
       Case No. 03 CV 0032, Testimony in Liability Trial, on June 28, 29, 2005.

10.    Goldman et al. v. RadioShack Corporation, United States District Court, Eastern District of Pennsylvania,
       Case No. 03 CV 0032, Rebuttal Testimony in Liability Trial, on July 5, 2005.

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11.   Mauna Loa Vacation Ownership LLP v. Accelerated Assets, LLP. United States District Court, District of
      Arizona, Case No. CIV 03-0846 PCT DGC. Trial Testimony, on February 22, 2006.

12.   School Districts’ Alliance v. State of Washington, United States District Court, Eastern District of
      Thurston, Case No. 04-2-02000-7, Trial Testimony on November 13, 2006.

13.   In the Matter of Premier Medical Group, PC, Appellant – Department of Health and Human Services,
      Office of Medicare Hearings and Appeals, Southern Field Office, ALJ Appeal No. 1-221579701,
      Medicare Appeal No. 1-18761858, Provider No. 3706654, AR No. 9406352171039, Judge Zaring
      Robertson, US Administrative Law Judge, Testimony on April 1, 2008.

14.   Darensburg et al. v. Metropolitan Transportation Commission, U.S. District Court, Northern District of
      California, Case No. C-05-1597-EDL, Trial Testimony on October 9, 2008.

15.   R. Molina et al. v. Lexmark International, Inc., Superior Court of the State of California for the County of
      Los Angeles, Case No. BC339177, Trial Testimony on October 22 and 26, 2009.

16.   Dole Fresh Fruit International, Ltd, Hyundai Precision America, Inc., ADRS Case #05-1138-RTA, Trial
      Testimony on February 19, 2010.

17.   In the matter of University of Tennessee Cancer Institute, ALJ Appeal No. 1-446 575 318, Office of
      Medicare Hearings & Appeals, Judge Z. Robertson, US Administrative Law Judge, Testimony on April
      20, 2010.

18.   Urga, et al. v. Redlands Community Hospital, Superior Court of the State of California, County of San
      Bernardino, Case No. SCVSS 123769, Trial Testimony on July 20, 2010.

19.   Marine Engineers’ Beneficial Association v. Department of Transportation, Ferries Division Federal
      Mediation & Conciliation Service Cause No. 110105-52404-6 AGO Matter No. 10499471, July 19, 2011.

20.   Richard Robinson v. County of Los Angeles, et al., United States District Court of California, Central
      District, Case No. CV06-2409 GAF (VBKx), Trial Testimony on December 1, 2011.

21.   In the matter of American Home Patient, ALJ Hearing, Appeal No. 1-982137828, Office of Medicare
      Hearings & Appeals, Miami Office Southern Field Division, Testimony on October 29, 2012.

22.   In the matter of American Home Patient, ALJ Hearing, Appeal No. 1-924297238, Office of Medicare
      Hearings & Appeals, Irvine Office Western Field Division, Hearing Testimony on February 28, 2013.

23.   TaylorMade Golf Company Challenge to Callaway Golf Company’s Final Response, National
      Advertising Division, New York, Testimony on March 13, 2013.

24.   United States of America, ex rel. Tammie Taylor v. Life Care Centers of America, Inc., United States
      District Court Eastern District of Tennessee at Chattanooga, Civ. Action No. 1:12-CV-64, Testimony on
      May 13 and 14, 2014.

25.   United States of America v. Houshang Pavehzadeh, United States District Court for the Central District of
      California, Case No. 0973 2:13CR00320, Trial Testimony on May 19, 2014.

26.   Sherman Way Oil, Inc. (Bijan Pouldar), American Pacific Enterprises Group (Sherwin Louie), Bahman
      Kohanteb, Hamid Kalhor , Claimants, Vs. Circle K Stores, Inc., Respondent, Alternative Dispute
      Resolution Case No’s 13-7103-DSC through 13-7106-DSC, Arbitration Testimony on October 10, 2014.

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27.    AdvanceMed Audit of Altercare of Wadsworth, Medicare Appeal, Medicare Appeal No. 1-912446681,
       Testimony in Administrative Law Judge Hearing on February 19, 2015.

28.    Michael Bozsik v. Livingston International Inc., Ontario Superior Court of Justice, Court File No.
       5270/14, Cross Examination Testimony on May 12, 2016.

29.    Bertha Sanchez, et al. v. St. Mary Medical Center, et al., Superior Court of the State of California for the
       County of San Bernardino, Case No. CIVDS 1304898, Certification Hearing Testimony on October 21,
       2016.

30.    In Re Dial complete Marketing and Sales Practice Litigation, United States District Court, District of New
       Hampshire, Case No. 11-md-2263-SM (MDL Docket No. 2263), Hearing Testimony on November 16,
       2016.

31.    United Healthcare Insurance Company v. Lincare Inc., Case Improvement Plus of Texas Insurance
       Company: Care Improvement Plus South Central Insurance Company: Care Improvement Plus of
       Maryland, Inc. v. Lincare Inc., In An Arbitration Before the American Arbitration Association, Case No.
       01-15-0003-4095, Arbitration Testimony on February 6, 2017.

32.    The United States of America and The State of Florida ex rel. Angela Ruckh v. CMC II, LLC, United
       States District Court for the Middle District of Florida Tampa Division, Civil Action No. 8:11 CV 1303
       SDM-TBM, Trial Testimony on February 8, 2017.

33.    Federal Government of Germany v. A Consortium of Publicly Traded Companies in an arbitration under
       the laws of Germany, Arbitration Testimony on March 21 and 22, 2017.

34.    In Re Determination of Royalty Rates and Terms for Transmission of Sound Recordings by Satellite
       Radio and “Preexisting” Subscription Services (SDARS III), United States Copyright Royalty Judges The
       Library of Congress Washington, D.C., Docket No. 16-CRB-0001-SR/PSSR (2018-2022), Trial
       Testimony on May 9, 2017.


Publications

      Boedeker, Stefan and Goetz Trenkler (2001) - "A Comparison of the Ridge and Iteration Estimator" - in:
      Econometric Studies: A Festschrift in Honour of Joachim Frohn (ed. by Ralph Friedmann, Lothar Knueppel,
      and Helmut Luetkepohl), New Brunswick


Professional and Business History
» Berkeley Research Group, 2010 - Present, Managing Director
» Resolution Economics, 2008-2010, Partner
» Alvarez & Marsal, 2007-2008, Managing Director
» LECG LLC, 2005-2007, Director
» Navigant Consulting Inc., 2004-2005, Managing Director in Litigation and Investigation Practice



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» Deloitte & Touche LLP, 2003 - 2004, Leader of the Economic and Statistical Consulting Practice in the
  West Region
» PricewaterhouseCoopers LLP, 2002 – 2003, Leader of the Litigation Consulting Group in Los Angeles,
  Leader of the Economic and Statistical Consulting Practice in the West Region
» Andersen LLP, 1992- 2002 – Partner (since 2000), last position held: Director of Economic and Statistical
  Consulting practice in the Pacific Region
» University of California, San Diego, 1989-1991 – Teaching Assistant, Department of Economics
» German Government, 1986-1989 − Economic Research Assistant




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                      EXHIBIT B
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Must have selected “California” to continue.




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Exited from survey if “Under 18” was selected.




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Exited from survey if “Energy drinks (i.e., energy-boosting drinks that generally contain glucose, caffeine,
taurine, or ginseng)” was not selected.

Responses were randomized.




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Exited from survey if “Only natural energy drinks” was selected.




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Exited from survey if “Monster” was not selected.

Responses were randomized.




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Only those brands that were selected in the previous question appeared here. If no other brand besides
“Monster” had been selected, this question did not appear.

Responses were randomized.




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Responses were randomized.




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Only those sources that were selected in the previous question appeared here. If only one source had
been selected, this question did not appear.




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Responses were randomized




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Response rows were randomized.




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The following screens are of the conjoint section. In the “live” survey, no selections were shown i.e., all
buttons were unchecked. After a selection was made, the Yes/No question below appeared dynamically
on the same page.




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                                                              #:1557

APPROXIMATE 95% CONFIDENCE INTERVALS FOR ESTIMATES FROM MARKET SIMULATIONS

                                                                                                                                                     APPROXIMATE 95% CI
                                             PRODUCT ATTRIBUTES IN MARKET SIMULATION                                                                      FOR $1.49
                                                   But-For        But-For                        But-For                                         LOWER      POINT     UPPER
 Rehydrate    Hydrate      Ideal      Safe                                  But-For Ideal                          Flavor         Long Lasting
                                                  Rehdrate       Hydrate                       ScenarioSafe                                      BOUND    ESTIMATE    BOUND
    Yes         Yes        Yes         Yes            No            Yes         Yes                Yes        OriginalSweetSour       Yes            0.35       0.36      0.37
    Yes         Yes        Yes         No             No            Yes         Yes                No         OriginalSweetSour       Yes            0.53       0.55      0.57
    Yes         Yes        No          Yes            No            Yes          No                Yes        OriginalSweetSour       Yes            0.44       0.46      0.47
    Yes         Yes        No          No             No            Yes          No                No         OriginalSweetSour       Yes            0.62       0.64      0.66
    Yes         No         Yes         Yes            No            No          Yes                Yes        OriginalSweetSour       Yes            0.43       0.44      0.46
    Yes         No         Yes         No             No            No          Yes                No         OriginalSweetSour       Yes            0.62       0.63      0.65
    Yes         No         No          Yes            No            No           No                Yes        OriginalSweetSour       Yes            0.55       0.57      0.58
    Yes         No         No          No             No            No           No                No         OriginalSweetSour       Yes            0.72       0.74      0.76
    Yes         Yes        Yes         Yes            No            Yes         Yes                Yes        OriginalSweetSour       No             0.44       0.45      0.47
    Yes         Yes        Yes         No             No            Yes         Yes                No         OriginalSweetSour       No             0.64       0.65      0.67
    Yes         Yes        No          Yes            No            Yes          No                Yes        OriginalSweetSour       No             0.57       0.58       0.6
    Yes         Yes        No          No             No            Yes          No                No         OriginalSweetSour       No             0.75       0.78       0.8
    Yes         No         Yes         Yes            No            No          Yes                Yes        OriginalSweetSour       No             0.54       0.55      0.57
    Yes         No         Yes         No             No            No          Yes                No         OriginalSweetSour       No             0.74       0.76      0.79
    Yes         No         No          Yes            No            No           No                Yes        OriginalSweetSour       No             0.69       0.71      0.72
    Yes         No         No          No             No            No           No                No         OriginalSweetSour       No             0.88       0.91      0.94
    Yes         Yes        Yes         Yes            No            Yes         Yes                Yes            FruitCitrus         Yes            0.24       0.25      0.26
    Yes         Yes        Yes         No             No            Yes         Yes                No             FruitCitrus         Yes            0.39         0.4     0.41
    Yes         Yes        No          Yes            No            Yes          No                Yes            FruitCitrus         Yes            0.31       0.32      0.33
    Yes         Yes        No          No             No            Yes          No                No             FruitCitrus         Yes            0.47       0.48       0.5
    Yes         No         Yes         Yes            No            No          Yes                Yes            FruitCitrus         Yes            0.29         0.3     0.31
    Yes         No         Yes         No             No            No          Yes                No             FruitCitrus         Yes            0.44       0.46      0.47
    Yes         No         No          Yes            No            No           No                Yes            FruitCitrus         Yes            0.39         0.4     0.42
    Yes         No         No          No             No            No           No                No             FruitCitrus         Yes            0.54       0.56      0.57
    Yes         Yes        Yes         Yes            No            Yes         Yes                Yes            FruitCitrus         No             0.31       0.32      0.33
    Yes         Yes        Yes         No             No            Yes         Yes                No             FruitCitrus         No             0.46       0.48      0.49
    Yes         Yes        No          Yes            No            Yes          No                Yes            FruitCitrus         No              0.4       0.42      0.43
    Yes         Yes        No          No             No            Yes          No                No             FruitCitrus         No             0.57       0.58       0.6
    Yes         No         Yes         Yes            No            No          Yes                Yes            FruitCitrus         No             0.39         0.4     0.41
    Yes         No         Yes         No             No            No          Yes                No             FruitCitrus         No             0.54       0.56      0.57
    Yes         No         No          Yes            No            No           No                Yes            FruitCitrus         No             0.51       0.52      0.54
    Yes         No         No          No             No            No           No                No             FruitCitrus         No             0.68         0.7     0.72
    Yes         Yes        Yes         Yes            No            Yes         Yes                Yes               Cola             Yes            0.38       0.39       0.4
    Yes         Yes        Yes         No             No            Yes         Yes                No                Cola             Yes            0.53       0.55      0.57
    Yes         Yes        No          Yes            No            Yes          No                Yes               Cola             Yes            0.47       0.48       0.5
    Yes         Yes        No          No             No            Yes          No                No                Cola             Yes            0.65       0.67      0.69
    Yes         No         Yes         Yes            No            No          Yes                Yes               Cola             Yes            0.45       0.46      0.48
    Yes         No         Yes         No             No            No          Yes                No                Cola             Yes            0.64       0.66      0.68
    Yes         No         No          Yes            No            No           No                Yes               Cola             Yes            0.56       0.58      0.59
    Yes         No         No          No             No            No           No                No                Cola             Yes            0.76       0.78      0.81
    Yes         Yes        Yes         Yes            No            Yes         Yes                Yes               Cola             No             0.46       0.47      0.49
    Yes         Yes        Yes         No             No            Yes         Yes                No                Cola             No             0.67       0.69      0.71
    Yes         Yes        No          Yes            No            Yes          No                Yes               Cola             No             0.59         0.6     0.62



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APPROXIMATE 95% CONFIDENCE INTERVALS FOR ESTIMATES FROM MARKET SIMULATIONS

                                                                                                                                                     APPROXIMATE 95% CI
                                             PRODUCT ATTRIBUTES IN MARKET SIMULATION                                                                      FOR $1.49
                                                   But-For        But-For                        But-For                                         LOWER      POINT     UPPER
 Rehydrate    Hydrate      Ideal      Safe                                  But-For Ideal                          Flavor         Long Lasting
                                                  Rehdrate       Hydrate                       ScenarioSafe                                      BOUND    ESTIMATE    BOUND
    Yes         Yes        No          No             No            Yes          No                No                Cola             No             0.82       0.84      0.87
    Yes         No         Yes         Yes            No            No          Yes                Yes               Cola             No             0.56       0.58       0.6
    Yes         No         Yes         No             No            No          Yes                No                Cola             No             0.79       0.82      0.85
    Yes         No         No          Yes            No            No           No                Yes               Cola             No              0.7       0.72      0.74
    Yes         No         No          No             No            No           No                No                Cola             No              0.9       0.93      0.96
    Yes         Yes        Yes         Yes            No            Yes         Yes                Yes          CoffeeMocha           Yes            0.36       0.37      0.38
    Yes         Yes        Yes         No             No            Yes         Yes                No           CoffeeMocha           Yes            0.52       0.54      0.55
    Yes         Yes        No          Yes            No            Yes          No                Yes          CoffeeMocha           Yes            0.46       0.48      0.49
    Yes         Yes        No          No             No            Yes          No                No           CoffeeMocha           Yes            0.59       0.61      0.62
    Yes         No         Yes         Yes            No            No          Yes                Yes          CoffeeMocha           Yes            0.45       0.46      0.47
    Yes         No         Yes         No             No            No          Yes                No           CoffeeMocha           Yes            0.59       0.61      0.62
    Yes         No         No          Yes            No            No           No                Yes          CoffeeMocha           Yes            0.56       0.57      0.59
    Yes         No         No          No             No            No           No                No           CoffeeMocha           Yes            0.66       0.68       0.7
    Yes         Yes        Yes         Yes            No            Yes         Yes                Yes          CoffeeMocha           No             0.44       0.46      0.47
    Yes         Yes        Yes         No             No            Yes         Yes                No           CoffeeMocha           No              0.6       0.61      0.63
    Yes         Yes        No          Yes            No            Yes          No                Yes          CoffeeMocha           No             0.57       0.59       0.6
    Yes         Yes        No          No             No            Yes          No                No           CoffeeMocha           No             0.69       0.71      0.73
    Yes         No         Yes         Yes            No            No          Yes                Yes          CoffeeMocha           No             0.55       0.56      0.58
    Yes         No         Yes         No             No            No          Yes                No           CoffeeMocha           No             0.67         0.7     0.72
    Yes         No         No          Yes            No            No           No                Yes          CoffeeMocha           No             0.66       0.69       0.7
    Yes         No         No          No             No            No           No                No           CoffeeMocha           No              0.8       0.82      0.85
    Yes         Yes        Yes         Yes           Yes            No          Yes                Yes        OriginalSweetSour       Yes             0.2         0.2     0.21
    Yes         Yes        Yes         No            Yes            No          Yes                No         OriginalSweetSour       Yes             0.3       0.31      0.32
    Yes         Yes        No          Yes           Yes            No           No                Yes        OriginalSweetSour       Yes            0.28       0.29       0.3
    Yes         Yes        No          No            Yes            No           No                No         OriginalSweetSour       Yes            0.39         0.4     0.41
    No          Yes        Yes         Yes            No            No          Yes                Yes        OriginalSweetSour       Yes            0.28       0.29       0.3
    No          Yes        Yes         No             No            No          Yes                No         OriginalSweetSour       Yes            0.39       0.41      0.42
    No          Yes        No          Yes            No            No           No                Yes        OriginalSweetSour       Yes            0.39         0.4     0.41
    No          Yes        No          No             No            No           No                No         OriginalSweetSour       Yes             0.5       0.51      0.53
    Yes         Yes        Yes         Yes           Yes            No          Yes                Yes        OriginalSweetSour       No             0.27       0.28      0.29
    Yes         Yes        Yes         No            Yes            No          Yes                No         OriginalSweetSour       No             0.39         0.4     0.41
    Yes         Yes        No          Yes           Yes            No           No                Yes        OriginalSweetSour       No             0.38       0.39       0.4
    Yes         Yes        No          No            Yes            No           No                No         OriginalSweetSour       No             0.51       0.52      0.54
    No          Yes        Yes         Yes            No            No          Yes                Yes        OriginalSweetSour       No             0.37       0.38      0.39
    No          Yes        Yes         No             No            No          Yes                No         OriginalSweetSour       No             0.51       0.53      0.54
    No          Yes        No          Yes            No            No           No                Yes        OriginalSweetSour       No             0.51       0.52      0.53
    No          Yes        No          No             No            No           No                No         OriginalSweetSour       No             0.64       0.66      0.68
    Yes         Yes        Yes         Yes           Yes            No          Yes                Yes            FruitCitrus         Yes            0.11       0.11      0.12
    Yes         Yes        Yes         No            Yes            No          Yes                No             FruitCitrus         Yes             0.2       0.21      0.21
    Yes         Yes        No          Yes           Yes            No           No                Yes            FruitCitrus         Yes            0.17       0.17      0.18
    Yes         Yes        No          No            Yes            No           No                No             FruitCitrus         Yes            0.28       0.29      0.29
    No          Yes        Yes         Yes            No            No          Yes                Yes            FruitCitrus         Yes            0.17       0.17      0.18
    No          Yes        Yes         No             No            No          Yes                No             FruitCitrus         Yes            0.26       0.27      0.28



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APPROXIMATE 95% CONFIDENCE INTERVALS FOR ESTIMATES FROM MARKET SIMULATIONS

                                                                                                                                                     APPROXIMATE 95% CI
                                             PRODUCT ATTRIBUTES IN MARKET SIMULATION                                                                      FOR $1.49
                                                   But-For        But-For                        But-For                                         LOWER      POINT     UPPER
 Rehydrate    Hydrate      Ideal      Safe                                  But-For Ideal                          Flavor         Long Lasting
                                                  Rehdrate       Hydrate                       ScenarioSafe                                      BOUND    ESTIMATE    BOUND
    No          Yes        No          Yes            No            No           No                Yes            FruitCitrus         Yes            0.25       0.26      0.27
    No          Yes        No          No             No            No           No                No             FruitCitrus         Yes            0.35       0.37      0.38
    Yes         Yes        Yes         Yes           Yes            No          Yes                Yes            FruitCitrus         No             0.16       0.17      0.17
    Yes         Yes        Yes         No            Yes            No          Yes                No             FruitCitrus         No             0.26       0.27      0.28
    Yes         Yes        No          Yes           Yes            No           No                Yes            FruitCitrus         No             0.24       0.25      0.26
    Yes         Yes        No          No            Yes            No           No                No             FruitCitrus         No             0.36       0.37      0.38
    No          Yes        Yes         Yes            No            No          Yes                Yes            FruitCitrus         No             0.24       0.25      0.26
    No          Yes        Yes         No             No            No          Yes                No             FruitCitrus         No             0.35       0.36      0.37
    No          Yes        No          Yes            No            No           No                Yes            FruitCitrus         No             0.35       0.36      0.37
    No          Yes        No          No             No            No           No                No             FruitCitrus         No             0.48       0.49      0.51
    Yes         Yes        Yes         Yes           Yes            No          Yes                Yes               Cola             Yes            0.21       0.22      0.23
    Yes         Yes        Yes         No            Yes            No          Yes                No                Cola             Yes            0.34       0.35      0.36
    Yes         Yes        No          Yes           Yes            No           No                Yes               Cola             Yes            0.29         0.3     0.31
    Yes         Yes        No          No            Yes            No           No                No                Cola             Yes            0.44       0.45      0.46
    No          Yes        Yes         Yes            No            No          Yes                Yes               Cola             Yes            0.29         0.3     0.31
    No          Yes        Yes         No             No            No          Yes                No                Cola             Yes            0.45       0.46      0.48
    No          Yes        No          Yes            No            No           No                Yes               Cola             Yes            0.39         0.4     0.41
    No          Yes        No          No             No            No           No                No                Cola             Yes            0.55       0.57      0.59
    Yes         Yes        Yes         Yes           Yes            No          Yes                Yes               Cola             No             0.29       0.29       0.3
    Yes         Yes        Yes         No            Yes            No          Yes                No                Cola             No             0.45       0.46      0.48
    Yes         Yes        No          Yes           Yes            No           No                Yes               Cola             No             0.39         0.4     0.41
    Yes         Yes        No          No            Yes            No           No                No                Cola             No             0.58         0.6     0.62
    No          Yes        Yes         Yes            No            No          Yes                Yes               Cola             No             0.39         0.4     0.42
    No          Yes        Yes         No             No            No          Yes                No                Cola             No             0.58       0.59      0.62
    No          Yes        No          Yes            No            No           No                Yes               Cola             No              0.5       0.52      0.54
    No          Yes        No          No             No            No           No                No                Cola             No             0.66       0.69      0.71
    Yes         Yes        Yes         Yes           Yes            No          Yes                Yes          CoffeeMocha           Yes            0.19       0.19       0.2
    Yes         Yes        Yes         No            Yes            No          Yes                No           CoffeeMocha           Yes            0.29         0.3     0.32
    Yes         Yes        No          Yes           Yes            No           No                Yes          CoffeeMocha           Yes            0.27       0.28      0.29
    Yes         Yes        No          No            Yes            No           No                No           CoffeeMocha           Yes            0.37       0.38      0.39
    No          Yes        Yes         Yes            No            No          Yes                Yes          CoffeeMocha           Yes            0.28       0.29       0.3
    No          Yes        Yes         No             No            No          Yes                No           CoffeeMocha           Yes            0.37       0.38      0.39
    No          Yes        No          Yes            No            No           No                Yes          CoffeeMocha           Yes            0.37       0.38      0.39
    No          Yes        No          No             No            No           No                No           CoffeeMocha           Yes            0.45       0.46      0.48
    Yes         Yes        Yes         Yes           Yes            No          Yes                Yes          CoffeeMocha           No             0.25       0.26      0.27
    Yes         Yes        Yes         No            Yes            No          Yes                No           CoffeeMocha           No             0.36       0.37      0.39
    Yes         Yes        No          Yes           Yes            No           No                Yes          CoffeeMocha           No             0.36       0.37      0.38
    Yes         Yes        No          No            Yes            No           No                No           CoffeeMocha           No             0.45       0.47      0.48
    No          Yes        Yes         Yes            No            No          Yes                Yes          CoffeeMocha           No             0.36       0.37      0.38
    No          Yes        Yes         No             No            No          Yes                No           CoffeeMocha           No             0.45       0.46      0.48
    No          Yes        No          Yes            No            No           No                Yes          CoffeeMocha           No             0.46       0.47      0.49
    No          Yes        No          No             No            No           No                No           CoffeeMocha           No             0.57       0.59      0.61
    Yes         Yes        Yes         Yes           Yes            Yes          No                Yes        OriginalSweetSour       Yes            0.29         0.3     0.31



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APPROXIMATE 95% CONFIDENCE INTERVALS FOR ESTIMATES FROM MARKET SIMULATIONS

                                                                                                                                                     APPROXIMATE 95% CI
                                             PRODUCT ATTRIBUTES IN MARKET SIMULATION                                                                      FOR $1.49
                                                   But-For        But-For                        But-For                                         LOWER      POINT     UPPER
 Rehydrate    Hydrate      Ideal      Safe                                  But-For Ideal                          Flavor         Long Lasting
                                                  Rehdrate       Hydrate                       ScenarioSafe                                      BOUND    ESTIMATE    BOUND
    Yes         Yes        Yes         No            Yes            Yes          No                No         OriginalSweetSour       Yes            0.46       0.48       0.5
    Yes         No         Yes         Yes           Yes            No           No                Yes        OriginalSweetSour       Yes            0.37       0.39       0.4
    Yes         No         Yes         No            Yes            No           No                No         OriginalSweetSour       Yes            0.54       0.56      0.58
    No          Yes        Yes         Yes            No            Yes          No                Yes        OriginalSweetSour       Yes            0.39         0.4     0.41
    No          Yes        Yes         No             No            Yes          No                No         OriginalSweetSour       Yes            0.56       0.57      0.59
    No          No         Yes         Yes            No            No           No                Yes        OriginalSweetSour       Yes            0.49       0.51      0.52
    No          No         Yes         No             No            No           No                No         OriginalSweetSour       Yes            0.65       0.67      0.69
    Yes         Yes        Yes         Yes           Yes            Yes          No                Yes        OriginalSweetSour       No             0.39         0.4     0.41
    Yes         Yes        Yes         No            Yes            Yes          No                No         OriginalSweetSour       No             0.56       0.58       0.6
    Yes         No         Yes         Yes           Yes            No           No                Yes        OriginalSweetSour       No              0.5       0.51      0.52
    Yes         No         Yes         No            Yes            No           No                No         OriginalSweetSour       No             0.67       0.69      0.71
    No          Yes        Yes         Yes            No            Yes          No                Yes        OriginalSweetSour       No             0.51       0.53      0.54
    No          Yes        Yes         No             No            Yes          No                No         OriginalSweetSour       No             0.68         0.7     0.73
    No          No         Yes         Yes            No            No           No                Yes        OriginalSweetSour       No             0.65       0.66      0.68
    No          No         Yes         No             No            No           No                No         OriginalSweetSour       No             0.81       0.83      0.85
    Yes         Yes        Yes         Yes           Yes            Yes          No                Yes            FruitCitrus         Yes            0.19         0.2     0.21
    Yes         Yes        Yes         No            Yes            Yes          No                No             FruitCitrus         Yes            0.36       0.37      0.39
    Yes         No         Yes         Yes           Yes            No           No                Yes            FruitCitrus         Yes            0.25       0.26      0.27
    Yes         No         Yes         No            Yes            No           No                No             FruitCitrus         Yes            0.43       0.44      0.46
    No          Yes        Yes         Yes            No            Yes          No                Yes            FruitCitrus         Yes            0.26       0.27      0.28
    No          Yes        Yes         No             No            Yes          No                No             FruitCitrus         Yes            0.44       0.45      0.47
    No          No         Yes         Yes            No            No           No                Yes            FruitCitrus         Yes            0.34       0.36      0.37
    No          No         Yes         No             No            No           No                No             FruitCitrus         Yes            0.52       0.54      0.55
    Yes         Yes        Yes         Yes           Yes            Yes          No                Yes            FruitCitrus         No             0.27       0.28      0.29
    Yes         Yes        Yes         No            Yes            Yes          No                No             FruitCitrus         No             0.43       0.44      0.46
    Yes         No         Yes         Yes           Yes            No           No                Yes            FruitCitrus         No             0.34       0.35      0.36
    Yes         No         Yes         No            Yes            No           No                No             FruitCitrus         No             0.51       0.53      0.55
    No          Yes        Yes         Yes            No            Yes          No                Yes            FruitCitrus         No             0.35       0.37      0.38
    No          Yes        Yes         No             No            Yes          No                No             FruitCitrus         No             0.52       0.54      0.56
    No          No         Yes         Yes            No            No           No                Yes            FruitCitrus         No             0.46       0.48      0.49
    No          No         Yes         No             No            No           No                No             FruitCitrus         No             0.65       0.67      0.69
    Yes         Yes        Yes         Yes           Yes            Yes          No                Yes               Cola             Yes            0.29         0.3     0.31
    Yes         Yes        Yes         No            Yes            Yes          No                No                Cola             Yes            0.46       0.48       0.5
    Yes         No         Yes         Yes           Yes            No           No                Yes               Cola             Yes            0.36       0.38      0.39
    Yes         No         Yes         No            Yes            No           No                No                Cola             Yes            0.56       0.58       0.6
    No          Yes        Yes         Yes            No            Yes          No                Yes               Cola             Yes            0.39         0.4     0.41
    No          Yes        Yes         No             No            Yes          No                No                Cola             Yes            0.58         0.6     0.62
    No          No         Yes         Yes            No            No           No                Yes               Cola             Yes            0.48       0.49      0.51
    No          No         Yes         No             No            No           No                No                Cola             Yes            0.68         0.7     0.72
    Yes         Yes        Yes         Yes           Yes            Yes          No                Yes               Cola             No             0.38         0.4     0.41
    Yes         Yes        Yes         No            Yes            Yes          No                No                Cola             No             0.58         0.6     0.62
    Yes         No         Yes         Yes           Yes            No           No                Yes               Cola             No             0.49         0.5     0.52
    Yes         No         Yes         No            Yes            No           No                No                Cola             No             0.71       0.73      0.75



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APPROXIMATE 95% CONFIDENCE INTERVALS FOR ESTIMATES FROM MARKET SIMULATIONS

                                                                                                                                                     APPROXIMATE 95% CI
                                             PRODUCT ATTRIBUTES IN MARKET SIMULATION                                                                      FOR $1.49
                                                   But-For        But-For                        But-For                                         LOWER      POINT     UPPER
 Rehydrate    Hydrate      Ideal      Safe                                  But-For Ideal                          Flavor         Long Lasting
                                                  Rehdrate       Hydrate                       ScenarioSafe                                      BOUND    ESTIMATE    BOUND
    No          Yes        Yes         Yes            No            Yes          No                Yes               Cola             No             0.51       0.53      0.54
    No          Yes        Yes         No             No            Yes          No                No                Cola             No             0.73       0.75      0.78
    No          No         Yes         Yes            No            No           No                Yes               Cola             No             0.62       0.64      0.65
    No          No         Yes         No             No            No           No                No                Cola             No             0.81       0.83      0.86
    Yes         Yes        Yes         Yes           Yes            Yes          No                Yes          CoffeeMocha           Yes             0.3       0.31      0.32
    Yes         Yes        Yes         No            Yes            Yes          No                No           CoffeeMocha           Yes            0.46       0.48       0.5
    Yes         No         Yes         Yes           Yes            No           No                Yes          CoffeeMocha           Yes            0.38       0.39       0.4
    Yes         No         Yes         No            Yes            No           No                No           CoffeeMocha           Yes            0.53       0.55      0.57
    No          Yes        Yes         Yes            No            Yes          No                Yes          CoffeeMocha           Yes             0.4       0.42      0.43
    No          Yes        Yes         No             No            Yes          No                No           CoffeeMocha           Yes            0.53       0.56      0.57
    No          No         Yes         Yes            No            No           No                Yes          CoffeeMocha           Yes            0.49       0.51      0.52
    No          No         Yes         No             No            No           No                No           CoffeeMocha           Yes            0.61       0.63      0.65
    Yes         Yes        Yes         Yes           Yes            Yes          No                Yes          CoffeeMocha           No             0.38         0.4     0.41
    Yes         Yes        Yes         No            Yes            Yes          No                No           CoffeeMocha           No             0.53       0.55      0.56
    Yes         No         Yes         Yes           Yes            No           No                Yes          CoffeeMocha           No             0.49         0.5     0.52
    Yes         No         Yes         No            Yes            No           No                No           CoffeeMocha           No             0.61       0.64      0.66
    No          Yes        Yes         Yes            No            Yes          No                Yes          CoffeeMocha           No              0.5       0.53      0.54
    No          Yes        Yes         No             No            Yes          No                No           CoffeeMocha           No             0.63       0.65      0.67
    No          No         Yes         Yes            No            No           No                Yes          CoffeeMocha           No              0.6       0.62      0.64
    No          No         Yes         No             No            No           No                No           CoffeeMocha           No             0.74       0.76      0.79
    Yes         Yes        Yes         Yes           Yes            Yes         Yes                No         OriginalSweetSour       Yes            1.28       1.34      1.37
    Yes         Yes        No          Yes           Yes            Yes          No                No         OriginalSweetSour       Yes             1.4       1.45      1.49
    Yes         No         Yes         Yes           Yes            No          Yes                No         OriginalSweetSour       Yes            1.32       1.37      1.41
    Yes         No         No          Yes           Yes            No           No                No         OriginalSweetSour       Yes            1.44       1.49      1.54
    No          Yes        Yes         Yes            No            Yes         Yes                No         OriginalSweetSour       Yes            1.41       1.46      1.51
    No          Yes        No          Yes            No            Yes          No                No         OriginalSweetSour       Yes            1.51       1.56      1.61
    No          No         Yes         Yes            No            No          Yes                No         OriginalSweetSour       Yes            1.45         1.5     1.55
    No          No         No          Yes            No            No           No                No         OriginalSweetSour       Yes            1.53       1.59      1.64
    Yes         Yes        Yes         Yes           Yes            Yes         Yes                No         OriginalSweetSour       No             1.39       1.45       1.5
    Yes         Yes        No          Yes           Yes            Yes          No                No         OriginalSweetSour       No             1.51       1.56       1.6
    Yes         No         Yes         Yes           Yes            No          Yes                No         OriginalSweetSour       No             1.44       1.49      1.54
    Yes         No         No          Yes           Yes            No           No                No         OriginalSweetSour       No             1.55       1.61      1.66
    No          Yes        Yes         Yes            No            Yes         Yes                No         OriginalSweetSour       No             1.53       1.58      1.64
    No          Yes        No          Yes            No            Yes          No                No         OriginalSweetSour       No             1.62       1.68      1.73
    No          No         Yes         Yes            No            No          Yes                No         OriginalSweetSour       No             1.59       1.64      1.69
    No          No         No          Yes            No            No           No                No         OriginalSweetSour       No             1.71       1.77      1.83
    Yes         Yes        Yes         Yes           Yes            Yes         Yes                No             FruitCitrus         Yes            0.92       0.96      0.99
    Yes         Yes        No          Yes           Yes            Yes          No                No             FruitCitrus         Yes            1.07         1.1     1.14
    Yes         No         Yes         Yes           Yes            No          Yes                No             FruitCitrus         Yes            0.97       1.01      1.04
    Yes         No         No          Yes           Yes            No           No                No             FruitCitrus         Yes            1.13       1.17      1.21
    No          Yes        Yes         Yes            No            Yes         Yes                No             FruitCitrus         Yes            1.03       1.07       1.1
    No          Yes        No          Yes            No            Yes          No                No             FruitCitrus         Yes            1.16       1.21      1.25
    No          No         Yes         Yes            No            No          Yes                No             FruitCitrus         Yes            1.08       1.12      1.16



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APPROXIMATE 95% CONFIDENCE INTERVALS FOR ESTIMATES FROM MARKET SIMULATIONS

                                                                                                                                                APPROXIMATE 95% CI
                                             PRODUCT ATTRIBUTES IN MARKET SIMULATION                                                                 FOR $1.49
                                                   But-For        But-For                        But-For                                    LOWER      POINT     UPPER
 Rehydrate    Hydrate      Ideal      Safe                                  But-For Ideal                        Flavor      Long Lasting
                                                  Rehdrate       Hydrate                       ScenarioSafe                                 BOUND    ESTIMATE    BOUND
    No          No         No          Yes            No            No           No                No          FruitCitrus       Yes            1.22       1.27      1.31
    Yes         Yes        Yes         Yes           Yes            Yes         Yes                No          FruitCitrus       No             1.01       1.05      1.08
    Yes         Yes        No          Yes           Yes            Yes          No                No          FruitCitrus       No             1.14       1.18      1.22
    Yes         No         Yes         Yes           Yes            No          Yes                No          FruitCitrus       No             1.07       1.11      1.14
    Yes         No         No          Yes           Yes            No           No                No          FruitCitrus       No             1.21       1.26      1.29
    No          Yes        Yes         Yes            No            Yes         Yes                No          FruitCitrus       No             1.12       1.16       1.2
    No          Yes        No          Yes            No            Yes          No                No          FruitCitrus       No             1.25         1.3     1.33
    No          No         Yes         Yes            No            No          Yes                No          FruitCitrus       No             1.18       1.22      1.26
    No          No         No          Yes            No            No           No                No          FruitCitrus       No             1.35         1.4     1.44
    Yes         Yes        Yes         Yes           Yes            Yes         Yes                No             Cola           Yes            1.27       1.31      1.36
    Yes         Yes        No          Yes           Yes            Yes          No                No             Cola           Yes            1.41       1.47      1.51
    Yes         No         Yes         Yes           Yes            No          Yes                No             Cola           Yes            1.35         1.4     1.45
    Yes         No         No          Yes           Yes            No           No                No             Cola           Yes            1.51       1.57      1.62
    No          Yes        Yes         Yes            No            Yes         Yes                No             Cola           Yes             1.4       1.44      1.49
    No          Yes        No          Yes            No            Yes          No                No             Cola           Yes            1.55       1.61      1.66
    No          No         Yes         Yes            No            No          Yes                No             Cola           Yes             1.5       1.56       1.6
    No          No         No          Yes            No            No           No                No             Cola           Yes            1.67       1.73      1.78
    Yes         Yes        Yes         Yes           Yes            Yes         Yes                No             Cola           No             1.38       1.43      1.48
    Yes         Yes        No          Yes           Yes            Yes          No                No             Cola           No             1.54         1.6     1.65
    Yes         No         Yes         Yes           Yes            No          Yes                No             Cola           No              1.5       1.56      1.61
    Yes         No         No          Yes           Yes            No           No                No             Cola           No              1.7       1.76      1.81
    No          Yes        Yes         Yes            No            Yes         Yes                No             Cola           No             1.56       1.61      1.66
    No          Yes        No          Yes            No            Yes          No                No             Cola           No             1.74         1.8     1.86
    No          No         Yes         Yes            No            No          Yes                No             Cola           No              1.7       1.76      1.81
    No          No         No          Yes            No            No           No                No             Cola           No             1.87       1.94         2
    Yes         Yes        Yes         Yes           Yes            Yes         Yes                No         CoffeeMocha        Yes            1.29       1.34      1.38
    Yes         Yes        No          Yes           Yes            Yes          No                No         CoffeeMocha        Yes            1.42       1.47      1.51
    Yes         No         Yes         Yes           Yes            No          Yes                No         CoffeeMocha        Yes            1.35         1.4     1.45
    Yes         No         No          Yes           Yes            No           No                No         CoffeeMocha        Yes            1.46       1.51      1.57
    No          Yes        Yes         Yes            No            Yes         Yes                No         CoffeeMocha        Yes             1.4       1.46       1.5
    No          Yes        No          Yes            No            Yes          No                No         CoffeeMocha        Yes            1.48       1.53      1.58
    No          No         Yes         Yes            No            No          Yes                No         CoffeeMocha        Yes            1.44       1.49      1.54
    No          No         No          Yes            No            No           No                No         CoffeeMocha        Yes            1.49       1.54       1.6
    Yes         Yes        Yes         Yes           Yes            Yes         Yes                No         CoffeeMocha        No             1.39       1.44      1.48
    Yes         Yes        No          Yes           Yes            Yes          No                No         CoffeeMocha        No             1.49       1.54      1.59
    Yes         No         Yes         Yes           Yes            No          Yes                No         CoffeeMocha        No             1.46         1.5     1.56
    Yes         No         No          Yes           Yes            No           No                No         CoffeeMocha        No             1.52       1.57      1.63
    No          Yes        Yes         Yes            No            Yes         Yes                No         CoffeeMocha        No             1.49       1.54      1.58
    No          Yes        No          Yes            No            Yes          No                No         CoffeeMocha        No             1.55         1.6     1.65
    No          No         Yes         Yes            No            No          Yes                No         CoffeeMocha        No             1.51       1.56      1.62
    No          No         No          Yes            No            No           No                No         CoffeeMocha        No             1.61       1.66      1.72




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APPROXIMATE 95% CONFIDENCE INTERVALS FOR ESTIMATES FROM MARKET SIMULATIONS

                                                                                                                                                     APPROXIMATE 95% CI
                                             PRODUCT ATTRIBUTES IN MARKET SIMULATION                                                                      FOR $1.99
                                                   But-For        But-For                        But-For                                         LOWER      POINT     UPPER
 Rehydrate    Hydrate      Ideal      Safe                                  But-For Ideal                          Flavor         Long Lasting
                                                  Rehdrate       Hydrate                       ScenarioSafe                                      BOUND    ESTIMATE    BOUND
    Yes        Yes         Yes         Yes            No            Yes         Yes                Yes        OriginalSweetSour       Yes            0.63       0.64      0.66
    Yes        Yes         Yes         No             No            Yes         Yes                No         OriginalSweetSour       Yes            0.75       0.77      0.79
    Yes        Yes         No          Yes            No            Yes          No                Yes        OriginalSweetSour       Yes            0.71       0.72      0.74
    Yes        Yes         No          No             No            Yes          No                No         OriginalSweetSour       Yes            0.85       0.87      0.89
    Yes        No          Yes         Yes            No            No          Yes                Yes        OriginalSweetSour       Yes             0.7       0.72      0.73
    Yes        No          Yes         No             No            No          Yes                No         OriginalSweetSour       Yes            0.84       0.86      0.88
    Yes        No          No          Yes            No            No           No                Yes        OriginalSweetSour       Yes            0.81       0.83      0.84
    Yes        No          No          No             No            No           No                No         OriginalSweetSour       Yes            0.95       0.97      0.99
    Yes        Yes         Yes         Yes            No            Yes         Yes                Yes        OriginalSweetSour       No             0.71       0.73      0.74
    Yes        Yes         Yes         No             No            Yes         Yes                No         OriginalSweetSour       No             0.85       0.87      0.89
    Yes        Yes         No          Yes            No            Yes          No                Yes        OriginalSweetSour       No             0.82       0.84      0.85
    Yes        Yes         No          No             No            Yes          No                No         OriginalSweetSour       No             0.98           1     1.02
    Yes        No          Yes         Yes            No            No          Yes                Yes        OriginalSweetSour       No             0.81       0.82      0.84
    Yes        No          Yes         No             No            No          Yes                No         OriginalSweetSour       No             0.96       0.99      1.01
    Yes        No          No          Yes            No            No           No                Yes        OriginalSweetSour       No             0.93       0.95      0.97
    Yes        No          No          No             No            No           No                No         OriginalSweetSour       No              1.1       1.13      1.15
    Yes        Yes         Yes         Yes            No            Yes         Yes                Yes            FruitCitrus         Yes            0.59         0.6     0.61
    Yes        Yes         Yes         No             No            Yes         Yes                No             FruitCitrus         Yes            0.65       0.66      0.68
    Yes        Yes         No          Yes            No            Yes          No                Yes            FruitCitrus         Yes            0.65       0.66      0.67
    Yes        Yes         No          No             No            Yes          No                No             FruitCitrus         Yes            0.73       0.75      0.77
    Yes        No          Yes         Yes            No            No          Yes                Yes            FruitCitrus         Yes            0.63       0.64      0.66
    Yes        No          Yes         No             No            No          Yes                No             FruitCitrus         Yes            0.71       0.72      0.74
    Yes        No          No          Yes            No            No           No                Yes            FruitCitrus         Yes            0.72       0.73      0.74
    Yes        No          No          No             No            No           No                No             FruitCitrus         Yes             0.8       0.82      0.84
    Yes        Yes         Yes         Yes            No            Yes         Yes                Yes            FruitCitrus         No             0.64       0.66      0.67
    Yes        Yes         Yes         No             No            Yes         Yes                No             FruitCitrus         No             0.72       0.73      0.75
    Yes        Yes         No          Yes            No            Yes          No                Yes            FruitCitrus         No             0.73       0.74      0.75
    Yes        Yes         No          No             No            Yes          No                No             FruitCitrus         No             0.82       0.84      0.85
    Yes        No          Yes         Yes            No            No          Yes                Yes            FruitCitrus         No             0.71       0.72      0.74
    Yes        No          Yes         No             No            No          Yes                No             FruitCitrus         No             0.79       0.81      0.83
    Yes        No          No          Yes            No            No           No                Yes            FruitCitrus         No             0.82       0.84      0.85
    Yes        No          No          No             No            No           No                No             FruitCitrus         No             0.92       0.94      0.96
    Yes        Yes         Yes         Yes            No            Yes         Yes                Yes               Cola             Yes            0.68       0.69       0.7
    Yes        Yes         Yes         No             No            Yes         Yes                No                Cola             Yes            0.77       0.78       0.8
    Yes        Yes         No          Yes            No            Yes          No                Yes               Cola             Yes            0.75       0.76      0.77
    Yes        Yes         No          No             No            Yes          No                No                Cola             Yes            0.87       0.89      0.91
    Yes        No          Yes         Yes            No            No          Yes                Yes               Cola             Yes            0.75       0.76      0.78
    Yes        No          Yes         No             No            No          Yes                No                Cola             Yes            0.86       0.88       0.9
    Yes        No          No          Yes            No            No           No                Yes               Cola             Yes            0.83       0.85      0.87
    Yes        No          No          No             No            No           No                No                Cola             Yes            0.96       0.99      1.01
    Yes        Yes         Yes         Yes            No            Yes         Yes                Yes               Cola             No             0.75       0.76      0.78
    Yes        Yes         Yes         No             No            Yes         Yes                No                Cola             No             0.88         0.9     0.92
    Yes        Yes         No          Yes            No            Yes          No                Yes               Cola             No             0.84       0.86      0.88



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APPROXIMATE 95% CONFIDENCE INTERVALS FOR ESTIMATES FROM MARKET SIMULATIONS

                                                                                                                                                     APPROXIMATE 95% CI
                                             PRODUCT ATTRIBUTES IN MARKET SIMULATION                                                                      FOR $1.99
                                                   But-For        But-For                        But-For                                         LOWER      POINT     UPPER
 Rehydrate    Hydrate      Ideal      Safe                                  But-For Ideal                          Flavor         Long Lasting
                                                  Rehdrate       Hydrate                       ScenarioSafe                                      BOUND    ESTIMATE    BOUND
    Yes        Yes         No          No             No            Yes          No                No                Cola             No             1.01       1.03      1.06
    Yes        No          Yes         Yes            No            No          Yes                Yes               Cola             No             0.84       0.86      0.88
    Yes        No          Yes         No             No            No          Yes                No                Cola             No             0.99       1.01      1.04
    Yes        No          No          Yes            No            No           No                Yes               Cola             No             0.94       0.96      0.98
    Yes        No          No          No             No            No           No                No                Cola             No             1.08       1.11      1.14
    Yes        Yes         Yes         Yes            No            Yes         Yes                Yes          CoffeeMocha           Yes            0.66       0.67      0.69
    Yes        Yes         Yes         No             No            Yes         Yes                No           CoffeeMocha           Yes            0.76       0.77      0.79
    Yes        Yes         No          Yes            No            Yes          No                Yes          CoffeeMocha           Yes            0.75       0.76      0.78
    Yes        Yes         No          No             No            Yes          No                No           CoffeeMocha           Yes            0.83       0.84      0.86
    Yes        No          Yes         Yes            No            No          Yes                Yes          CoffeeMocha           Yes            0.74       0.75      0.77
    Yes        No          Yes         No             No            No          Yes                No           CoffeeMocha           Yes            0.82       0.84      0.85
    Yes        No          No          Yes            No            No           No                Yes          CoffeeMocha           Yes            0.83       0.84      0.86
    Yes        No          No          No             No            No           No                No           CoffeeMocha           Yes             0.9       0.91      0.93
    Yes        Yes         Yes         Yes            No            Yes         Yes                Yes          CoffeeMocha           No             0.73       0.74      0.76
    Yes        Yes         Yes         No             No            Yes         Yes                No           CoffeeMocha           No             0.81       0.83      0.85
    Yes        Yes         No          Yes            No            Yes          No                Yes          CoffeeMocha           No             0.83       0.85      0.86
    Yes        Yes         No          No             No            Yes          No                No           CoffeeMocha           No              0.9       0.92      0.94
    Yes        No          Yes         Yes            No            No          Yes                Yes          CoffeeMocha           No             0.82       0.84      0.85
    Yes        No          Yes         No             No            No          Yes                No           CoffeeMocha           No             0.88       0.91      0.92
    Yes        No          No          Yes            No            No           No                Yes          CoffeeMocha           No             0.91       0.93      0.95
    Yes        No          No          No             No            No           No                No           CoffeeMocha           No                1       1.03      1.04
    Yes        Yes         Yes         Yes           Yes            No          Yes                Yes        OriginalSweetSour       Yes            0.44       0.46      0.48
    Yes        Yes         Yes         No            Yes            No          Yes                No         OriginalSweetSour       Yes            0.52       0.53      0.55
    Yes        Yes         No          Yes           Yes            No           No                Yes        OriginalSweetSour       Yes            0.54       0.55      0.56
    Yes        Yes         No          No            Yes            No           No                No         OriginalSweetSour       Yes            0.62       0.64      0.65
    No         Yes         Yes         Yes            No            No          Yes                Yes        OriginalSweetSour       Yes            0.54       0.55      0.57
    No         Yes         Yes         No             No            No          Yes                No         OriginalSweetSour       Yes            0.62       0.63      0.65
    No         Yes         No          Yes            No            No           No                Yes        OriginalSweetSour       Yes            0.64       0.65      0.66
    No         Yes         No          No             No            No           No                No         OriginalSweetSour       Yes            0.73       0.75      0.76
    Yes        Yes         Yes         Yes           Yes            No          Yes                Yes        OriginalSweetSour       No             0.54       0.55      0.56
    Yes        Yes         Yes         No            Yes            No          Yes                No         OriginalSweetSour       No             0.62       0.63      0.64
    Yes        Yes         No          Yes           Yes            No           No                Yes        OriginalSweetSour       No             0.64       0.65      0.66
    Yes        Yes         No          No            Yes            No           No                No         OriginalSweetSour       No             0.74       0.75      0.77
    No         Yes         Yes         Yes            No            No          Yes                Yes        OriginalSweetSour       No             0.63       0.64      0.66
    No         Yes         Yes         No             No            No          Yes                No         OriginalSweetSour       No             0.74       0.75      0.77
    No         Yes         No          Yes            No            No           No                Yes        OriginalSweetSour       No             0.74       0.76      0.77
    No         Yes         No          No             No            No           No                No         OriginalSweetSour       No             0.86       0.88       0.9
    Yes        Yes         Yes         Yes           Yes            No          Yes                Yes            FruitCitrus         Yes            0.34       0.36       0.4
    Yes        Yes         Yes         No            Yes            No          Yes                No             FruitCitrus         Yes            0.42       0.44      0.48
    Yes        Yes         No          Yes           Yes            No           No                Yes            FruitCitrus         Yes            0.49         0.5     0.52
    Yes        Yes         No          No            Yes            No           No                No             FruitCitrus         Yes            0.54       0.55      0.56
    No         Yes         Yes         Yes            No            No          Yes                Yes            FruitCitrus         Yes            0.47       0.49      0.51
    No         Yes         Yes         No             No            No          Yes                No             FruitCitrus         Yes            0.52       0.53      0.55



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APPROXIMATE 95% CONFIDENCE INTERVALS FOR ESTIMATES FROM MARKET SIMULATIONS

                                                                                                                                                     APPROXIMATE 95% CI
                                             PRODUCT ATTRIBUTES IN MARKET SIMULATION                                                                      FOR $1.99
                                                   But-For        But-For                        But-For                                         LOWER      POINT     UPPER
 Rehydrate    Hydrate      Ideal      Safe                                  But-For Ideal                          Flavor         Long Lasting
                                                  Rehdrate       Hydrate                       ScenarioSafe                                      BOUND    ESTIMATE    BOUND
    No         Yes         No          Yes            No            No           No                Yes            FruitCitrus         Yes            0.56       0.57      0.59
    No         Yes         No          No             No            No           No                No             FruitCitrus         Yes            0.61       0.62      0.64
    Yes        Yes         Yes         Yes           Yes            No          Yes                Yes            FruitCitrus         No             0.47       0.49      0.51
    Yes        Yes         Yes         No            Yes            No          Yes                No             FruitCitrus         No             0.52       0.53      0.54
    Yes        Yes         No          Yes           Yes            No           No                Yes            FruitCitrus         No             0.56       0.57      0.58
    Yes        Yes         No          No            Yes            No           No                No             FruitCitrus         No             0.62       0.63      0.64
    No         Yes         Yes         Yes            No            No          Yes                Yes            FruitCitrus         No             0.55       0.56      0.58
    No         Yes         Yes         No             No            No          Yes                No             FruitCitrus         No             0.59       0.61      0.62
    No         Yes         No          Yes            No            No           No                Yes            FruitCitrus         No             0.65       0.66      0.67
    No         Yes         No          No             No            No           No                No             FruitCitrus         No             0.72       0.73      0.75
    Yes        Yes         Yes         Yes           Yes            No          Yes                Yes               Cola             Yes            0.51       0.52      0.53
    Yes        Yes         Yes         No            Yes            No          Yes                No                Cola             Yes            0.57       0.59       0.6
    Yes        Yes         No          Yes           Yes            No           No                Yes               Cola             Yes            0.57       0.58      0.59
    Yes        Yes         No          No            Yes            No           No                No                Cola             Yes            0.66       0.67      0.69
    No         Yes         Yes         Yes            No            No          Yes                Yes               Cola             Yes            0.58       0.59      0.61
    No         Yes         Yes         No             No            No          Yes                No                Cola             Yes            0.66       0.68      0.69
    No         Yes         No          Yes            No            No           No                Yes               Cola             Yes            0.65       0.66      0.68
    No         Yes         No          No             No            No           No                No                Cola             Yes            0.75       0.77      0.79
    Yes        Yes         Yes         Yes           Yes            No          Yes                Yes               Cola             No             0.58       0.58       0.6
    Yes        Yes         Yes         No            Yes            No          Yes                No                Cola             No             0.66       0.68      0.69
    Yes        Yes         No          Yes           Yes            No           No                Yes               Cola             No             0.65       0.67      0.68
    Yes        Yes         No          No            Yes            No           No                No                Cola             No             0.78       0.79      0.81
    No         Yes         Yes         Yes            No            No          Yes                Yes               Cola             No             0.66       0.68      0.69
    No         Yes         Yes         No             No            No          Yes                No                Cola             No             0.77       0.79      0.81
    No         Yes         No          Yes            No            No           No                Yes               Cola             No             0.74       0.76      0.77
    No         Yes         No          No             No            No           No                No                Cola             No             0.84       0.87      0.89
    Yes        Yes         Yes         Yes           Yes            No          Yes                Yes          CoffeeMocha           Yes            0.48         0.5     0.51
    Yes        Yes         Yes         No            Yes            No          Yes                No           CoffeeMocha           Yes            0.53       0.54      0.56
    Yes        Yes         No          Yes           Yes            No           No                Yes          CoffeeMocha           Yes            0.55       0.57      0.58
    Yes        Yes         No          No            Yes            No           No                No           CoffeeMocha           Yes            0.61       0.62      0.63
    No         Yes         Yes         Yes            No            No          Yes                Yes          CoffeeMocha           Yes            0.55       0.57      0.58
    No         Yes         Yes         No             No            No          Yes                No           CoffeeMocha           Yes            0.59       0.61      0.62
    No         Yes         No          Yes            No            No           No                Yes          CoffeeMocha           Yes            0.62       0.64      0.65
    No         Yes         No          No             No            No           No                No           CoffeeMocha           Yes            0.67       0.69       0.7
    Yes        Yes         Yes         Yes           Yes            No          Yes                Yes          CoffeeMocha           No             0.54       0.55      0.56
    Yes        Yes         Yes         No            Yes            No          Yes                No           CoffeeMocha           No             0.58         0.6     0.61
    Yes        Yes         No          Yes           Yes            No           No                Yes          CoffeeMocha           No             0.62       0.64      0.65
    Yes        Yes         No          No            Yes            No           No                No           CoffeeMocha           No             0.67       0.69       0.7
    No         Yes         Yes         Yes            No            No          Yes                Yes          CoffeeMocha           No             0.62       0.63      0.65
    No         Yes         Yes         No             No            No          Yes                No           CoffeeMocha           No             0.66       0.67      0.69
    No         Yes         No          Yes            No            No           No                Yes          CoffeeMocha           No              0.7       0.71      0.73
    No         Yes         No          No             No            No           No                No           CoffeeMocha           No             0.76       0.79       0.8
    Yes        Yes         Yes         Yes           Yes            Yes          No                Yes        OriginalSweetSour       Yes            0.57       0.58       0.6



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APPROXIMATE 95% CONFIDENCE INTERVALS FOR ESTIMATES FROM MARKET SIMULATIONS

                                                                                                                                                  APPROXIMATE 95% CI
                                             PRODUCT ATTRIBUTES IN MARKET SIMULATION                                                                   FOR $1.99
                                                   But-For        But-For                     But-For                                         LOWER      POINT     UPPER
 Rehydrate    Hydrate      Ideal      Safe                                  But-For Ideal                       Flavor         Long Lasting
                                                  Rehdrate       Hydrate                    ScenarioSafe                                      BOUND    ESTIMATE    BOUND
    Yes        Yes         Yes         No            Yes            Yes          No             No         OriginalSweetSour       Yes            0.68         0.7     0.72
    Yes        No          Yes         Yes           Yes            No           No             Yes        OriginalSweetSour       Yes            0.65       0.66      0.68
    Yes        No          Yes         No            Yes            No           No             No         OriginalSweetSour       Yes            0.77       0.79      0.81
    No         Yes         Yes         Yes            No            Yes          No             Yes        OriginalSweetSour       Yes            0.65       0.67      0.68
    No         Yes         Yes         No             No            Yes          No             No         OriginalSweetSour       Yes            0.78         0.8     0.82
    No         No          Yes         Yes            No            No           No             Yes        OriginalSweetSour       Yes            0.76       0.77      0.79
    No         No          Yes         No             No            No           No             No         OriginalSweetSour       Yes            0.88         0.9     0.92
    Yes        Yes         Yes         Yes           Yes            Yes          No             Yes        OriginalSweetSour       No             0.66       0.67      0.69
    Yes        Yes         Yes         No            Yes            Yes          No             No         OriginalSweetSour       No             0.78         0.8     0.82
    Yes        No          Yes         Yes           Yes            No           No             Yes        OriginalSweetSour       No             0.76       0.78       0.8
    Yes        No          Yes         No            Yes            No           No             No         OriginalSweetSour       No             0.89       0.91      0.93
    No         Yes         Yes         Yes            No            Yes          No             Yes        OriginalSweetSour       No             0.77       0.78       0.8
    No         Yes         Yes         No             No            Yes          No             No         OriginalSweetSour       No              0.9       0.92      0.94
    No         No          Yes         Yes            No            No           No             Yes        OriginalSweetSour       No             0.89       0.91      0.93
    No         No          Yes         No             No            No           No             No         OriginalSweetSour       No             1.02       1.04      1.07
    Yes        Yes         Yes         Yes           Yes            Yes          No             Yes            FruitCitrus         Yes            0.54       0.54      0.56
    Yes        Yes         Yes         No            Yes            Yes          No             No             FruitCitrus         Yes            0.62       0.64      0.66
    Yes        No          Yes         Yes           Yes            No           No             Yes            FruitCitrus         Yes            0.58       0.59      0.61
    Yes        No          Yes         No            Yes            No           No             No             FruitCitrus         Yes            0.69         0.7     0.72
    No         Yes         Yes         Yes            No            Yes          No             Yes            FruitCitrus         Yes            0.59         0.6     0.62
    No         Yes         Yes         No             No            Yes          No             No             FruitCitrus         Yes            0.69       0.71      0.73
    No         No          Yes         Yes            No            No           No             Yes            FruitCitrus         Yes            0.66       0.68      0.69
    No         No          Yes         No             No            No           No             No             FruitCitrus         Yes            0.77       0.78       0.8
    Yes        Yes         Yes         Yes           Yes            Yes          No             Yes            FruitCitrus         No              0.6       0.61      0.62
    Yes        Yes         Yes         No            Yes            Yes          No             No             FruitCitrus         No             0.68         0.7     0.72
    Yes        No          Yes         Yes           Yes            No           No             Yes            FruitCitrus         No             0.66       0.68      0.69
    Yes        No          Yes         No            Yes            No           No             No             FruitCitrus         No             0.76       0.78       0.8
    No         Yes         Yes         Yes            No            Yes          No             Yes            FruitCitrus         No             0.67       0.68       0.7
    No         Yes         Yes         No             No            Yes          No             No             FruitCitrus         No             0.77       0.78       0.8
    No         No          Yes         Yes            No            No           No             Yes            FruitCitrus         No             0.77       0.79       0.8
    No         No          Yes         No             No            No           No             No             FruitCitrus         No             0.88       0.89      0.91
    Yes        Yes         Yes         Yes           Yes            Yes          No             Yes               Cola             Yes            0.59         0.6     0.61
    Yes        Yes         Yes         No            Yes            Yes          No             No                Cola             Yes             0.7       0.72      0.74
    Yes        No          Yes         Yes           Yes            No           No             Yes               Cola             Yes            0.66       0.67      0.69
    Yes        No          Yes         No            Yes            No           No             No                Cola             Yes            0.79         0.8     0.83
    No         Yes         Yes         Yes            No            Yes          No             Yes               Cola             Yes            0.67       0.69       0.7
    No         Yes         Yes         No             No            Yes          No             No                Cola             Yes            0.79       0.81      0.84
    No         No          Yes         Yes            No            No           No             Yes               Cola             Yes            0.76       0.77      0.79
    No         No          Yes         No             No            No           No             No                Cola             Yes            0.88         0.9     0.93
    Yes        Yes         Yes         Yes           Yes            Yes          No             Yes               Cola             No             0.67       0.69       0.7
    Yes        Yes         Yes         No            Yes            Yes          No             No                Cola             No             0.79       0.81      0.83
    Yes        No          Yes         Yes           Yes            No           No             Yes               Cola             No             0.77       0.78       0.8
    Yes        No          Yes         No            Yes            No           No             No                Cola             No              0.9       0.92      0.95



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APPROXIMATE 95% CONFIDENCE INTERVALS FOR ESTIMATES FROM MARKET SIMULATIONS

                                                                                                                                                  APPROXIMATE 95% CI
                                             PRODUCT ATTRIBUTES IN MARKET SIMULATION                                                                   FOR $1.99
                                                   But-For        But-For                     But-For                                         LOWER      POINT     UPPER
 Rehydrate    Hydrate      Ideal      Safe                                  But-For Ideal                       Flavor         Long Lasting
                                                  Rehdrate       Hydrate                    ScenarioSafe                                      BOUND    ESTIMATE    BOUND
    No         Yes         Yes         Yes            No            Yes          No             Yes               Cola             No             0.78         0.8     0.81
    No         Yes         Yes         No             No            Yes          No             No                Cola             No             0.91       0.93      0.96
    No         No          Yes         Yes            No            No           No             Yes               Cola             No             0.87       0.89      0.91
    No         No          Yes         No             No            No           No             No                Cola             No             0.98       1.01      1.04
    Yes        Yes         Yes         Yes           Yes            Yes          No             Yes          CoffeeMocha           Yes             0.6       0.61      0.63
    Yes        Yes         Yes         No            Yes            Yes          No             No           CoffeeMocha           Yes             0.7       0.72      0.74
    Yes        No          Yes         Yes           Yes            No           No             Yes          CoffeeMocha           Yes            0.67       0.68       0.7
    Yes        No          Yes         No            Yes            No           No             No           CoffeeMocha           Yes            0.77       0.79       0.8
    No         Yes         Yes         Yes            No            Yes          No             Yes          CoffeeMocha           Yes            0.68       0.69      0.71
    No         Yes         Yes         No             No            Yes          No             No           CoffeeMocha           Yes            0.75       0.78       0.8
    No         No          Yes         Yes            No            No           No             Yes          CoffeeMocha           Yes            0.76       0.77      0.79
    No         No          Yes         No             No            No           No             No           CoffeeMocha           Yes            0.83       0.85      0.87
    Yes        Yes         Yes         Yes           Yes            Yes          No             Yes          CoffeeMocha           No             0.67       0.68       0.7
    Yes        Yes         Yes         No            Yes            Yes          No             No           CoffeeMocha           No             0.74       0.77      0.79
    Yes        No          Yes         Yes           Yes            No           No             Yes          CoffeeMocha           No             0.76       0.77      0.79
    Yes        No          Yes         No            Yes            No           No             No           CoffeeMocha           No             0.82       0.85      0.87
    No         Yes         Yes         Yes            No            Yes          No             Yes          CoffeeMocha           No             0.76       0.78       0.8
    No         Yes         Yes         No             No            Yes          No             No           CoffeeMocha           No             0.83       0.85      0.87
    No         No          Yes         Yes            No            No           No             Yes          CoffeeMocha           No             0.84       0.87      0.88
    No         No          Yes         No             No            No           No             No           CoffeeMocha           No             0.93       0.96      0.98
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No         OriginalSweetSour       Yes            1.54       1.59      1.62
    Yes        Yes         No          Yes           Yes            Yes          No             No         OriginalSweetSour       Yes            1.63       1.68      1.72
    Yes        No          Yes         Yes           Yes            No          Yes             No         OriginalSweetSour       Yes            1.57       1.62      1.66
    Yes        No          No          Yes           Yes            No           No             No         OriginalSweetSour       Yes            1.66       1.71      1.75
    No         Yes         Yes         Yes            No            Yes         Yes             No         OriginalSweetSour       Yes            1.64       1.69      1.73
    No         Yes         No          Yes            No            Yes          No             No         OriginalSweetSour       Yes            1.72       1.77      1.81
    No         No          Yes         Yes            No            No          Yes             No         OriginalSweetSour       Yes            1.68       1.73      1.77
    No         No          No          Yes            No            No           No             No         OriginalSweetSour       Yes            1.75         1.8     1.84
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No         OriginalSweetSour       No             1.63       1.69      1.73
    Yes        Yes         No          Yes           Yes            Yes          No             No         OriginalSweetSour       No             1.72       1.77      1.81
    Yes        No          Yes         Yes           Yes            No          Yes             No         OriginalSweetSour       No             1.67       1.73      1.77
    Yes        No          No          Yes           Yes            No           No             No         OriginalSweetSour       No             1.76       1.82      1.86
    No         Yes         Yes         Yes            No            Yes         Yes             No         OriginalSweetSour       No             1.74       1.79      1.84
    No         Yes         No          Yes            No            Yes          No             No         OriginalSweetSour       No             1.82       1.87      1.91
    No         No          Yes         Yes            No            No          Yes             No         OriginalSweetSour       No              1.8       1.85      1.89
    No         No          No          Yes            No            No           No             No         OriginalSweetSour       No              1.9       1.95         2
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No             FruitCitrus         Yes            1.27       1.31      1.34
    Yes        Yes         No          Yes           Yes            Yes          No             No             FruitCitrus         Yes             1.4       1.43      1.46
    Yes        No          Yes         Yes           Yes            No          Yes             No             FruitCitrus         Yes            1.31       1.35      1.37
    Yes        No          No          Yes           Yes            No           No             No             FruitCitrus         Yes            1.45       1.49      1.52
    No         Yes         Yes         Yes            No            Yes         Yes             No             FruitCitrus         Yes            1.35       1.39      1.41
    No         Yes         No          Yes            No            Yes          No             No             FruitCitrus         Yes            1.47       1.51      1.54
    No         No          Yes         Yes            No            No          Yes             No             FruitCitrus         Yes            1.39       1.43      1.46



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APPROXIMATE 95% CONFIDENCE INTERVALS FOR ESTIMATES FROM MARKET SIMULATIONS

                                                                                                                                             APPROXIMATE 95% CI
                                             PRODUCT ATTRIBUTES IN MARKET SIMULATION                                                              FOR $1.99
                                                   But-For        But-For                     But-For                                    LOWER      POINT     UPPER
 Rehydrate    Hydrate      Ideal      Safe                                  But-For Ideal                     Flavor      Long Lasting
                                                  Rehdrate       Hydrate                    ScenarioSafe                                 BOUND    ESTIMATE    BOUND
    No         No          No          Yes            No            No           No             No          FruitCitrus       Yes            1.52       1.57       1.6
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No          FruitCitrus       No             1.34       1.37       1.4
    Yes        Yes         No          Yes           Yes            Yes          No             No          FruitCitrus       No             1.45       1.49      1.53
    Yes        No          Yes         Yes           Yes            No          Yes             No          FruitCitrus       No             1.39       1.42      1.46
    Yes        No          No          Yes           Yes            No           No             No          FruitCitrus       No             1.51       1.55      1.59
    No         Yes         Yes         Yes            No            Yes         Yes             No          FruitCitrus       No             1.42       1.46      1.49
    No         Yes         No          Yes            No            Yes          No             No          FruitCitrus       No             1.53       1.58      1.61
    No         No          Yes         Yes            No            No          Yes             No          FruitCitrus       No             1.47       1.52      1.55
    No         No          No          Yes            No            No           No             No          FruitCitrus       No             1.62       1.66       1.7
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No             Cola           Yes            1.55       1.59      1.63
    Yes        Yes         No          Yes           Yes            Yes          No             No             Cola           Yes            1.66       1.71      1.75
    Yes        No          Yes         Yes           Yes            No          Yes             No             Cola           Yes            1.63       1.67      1.71
    Yes        No          No          Yes           Yes            No           No             No             Cola           Yes            1.75       1.81      1.85
    No         Yes         Yes         Yes            No            Yes         Yes             No             Cola           Yes            1.65         1.7     1.74
    No         Yes         No          Yes            No            Yes          No             No             Cola           Yes            1.77       1.83      1.87
    No         No          Yes         Yes            No            No          Yes             No             Cola           Yes            1.75         1.8     1.84
    No         No          No          Yes            No            No           No             No             Cola           Yes            1.87       1.93      1.98
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No             Cola           No             1.64       1.69      1.73
    Yes        Yes         No          Yes           Yes            Yes          No             No             Cola           No             1.77       1.82      1.86
    Yes        No          Yes         Yes           Yes            No          Yes             No             Cola           No             1.75       1.81      1.85
    Yes        No          No          Yes           Yes            No           No             No             Cola           No              1.9       1.96         2
    No         Yes         Yes         Yes            No            Yes         Yes             No             Cola           No             1.79       1.84      1.88
    No         Yes         No          Yes            No            Yes          No             No             Cola           No             1.93       1.99      2.03
    No         No          Yes         Yes            No            No          Yes             No             Cola           No             1.91       1.96      2.01
    No         No          No          Yes            No            No           No             No             Cola           No             2.04       2.09      2.15
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No         CoffeeMocha        Yes            1.56       1.61      1.66
    Yes        Yes         No          Yes           Yes            Yes          No             No         CoffeeMocha        Yes            1.67       1.72      1.76
    Yes        No          Yes         Yes           Yes            No          Yes             No         CoffeeMocha        Yes            1.62       1.66      1.71
    Yes        No          No          Yes           Yes            No           No             No         CoffeeMocha        Yes             1.7       1.75       1.8
    No         Yes         Yes         Yes            No            Yes         Yes             No         CoffeeMocha        Yes            1.64         1.7     1.74
    No         Yes         No          Yes            No            Yes          No             No         CoffeeMocha        Yes             1.7       1.75      1.79
    No         No          Yes         Yes            No            No          Yes             No         CoffeeMocha        Yes            1.67       1.72      1.76
    No         No          No          Yes            No            No           No             No         CoffeeMocha        Yes            1.71       1.76      1.81
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No         CoffeeMocha        No             1.64       1.69      1.74
    Yes        Yes         No          Yes           Yes            Yes          No             No         CoffeeMocha        No             1.72       1.76      1.81
    Yes        No          Yes         Yes           Yes            No          Yes             No         CoffeeMocha        No             1.69       1.74      1.78
    Yes        No          No          Yes           Yes            No           No             No         CoffeeMocha        No             1.74       1.79      1.84
    No         Yes         Yes         Yes            No            Yes         Yes             No         CoffeeMocha        No              1.7       1.75       1.8
    No         Yes         No          Yes            No            Yes          No             No         CoffeeMocha        No             1.75       1.79      1.84
    No         No          Yes         Yes            No            No          Yes             No         CoffeeMocha        No             1.72       1.77      1.81
    No         No          No          Yes            No            No           No             No         CoffeeMocha        No              1.8       1.85      1.89




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APPROXIMATE 95% CONFIDENCE INTERVALS FOR ESTIMATES FROM MARKET SIMULATIONS

                                                                                                                                                  APPROXIMATE 95% CI
                                             PRODUCT ATTRIBUTES IN MARKET SIMULATION                                                                   FOR $2.49
                                                   But-For        But-For                     But-For                                         LOWER      POINT     UPPER
 Rehydrate    Hydrate      Ideal      Safe                                  But-For Ideal                       Flavor         Long Lasting
                                                  Rehdrate       Hydrate                    ScenarioSafe                                      BOUND    ESTIMATE    BOUND
    Yes        Yes         Yes         Yes            No            Yes         Yes             Yes        OriginalSweetSour       Yes            0.42       0.43      0.46
    Yes        Yes         Yes         No             No            Yes         Yes             No         OriginalSweetSour       Yes             0.5       0.53      0.58
    Yes        Yes         No          Yes            No            Yes          No             Yes        OriginalSweetSour       Yes            0.48       0.49      0.53
    Yes        Yes         No          No             No            Yes          No             No         OriginalSweetSour       Yes            0.64       0.68      0.73
    Yes        No          Yes         Yes            No            No          Yes             Yes        OriginalSweetSour       Yes            0.48         0.5     0.54
    Yes        No          Yes         No             No            No          Yes             No         OriginalSweetSour       Yes            0.62       0.65       0.7
    Yes        No          No          Yes            No            No           No             Yes        OriginalSweetSour       Yes            0.62       0.65      0.69
    Yes        No          No          No             No            No           No             No         OriginalSweetSour       Yes             0.8       0.84      0.89
    Yes        Yes         Yes         Yes            No            Yes         Yes             Yes        OriginalSweetSour       No             0.47       0.49      0.53
    Yes        Yes         Yes         No             No            Yes         Yes             No         OriginalSweetSour       No             0.64       0.68      0.72
    Yes        Yes         No          Yes            No            Yes          No             Yes        OriginalSweetSour       No             0.62       0.65      0.69
    Yes        Yes         No          No             No            Yes          No             No         OriginalSweetSour       No             0.84       0.89      0.94
    Yes        No          Yes         Yes            No            No          Yes             Yes        OriginalSweetSour       No             0.62       0.65      0.69
    Yes        No          Yes         No             No            No          Yes             No         OriginalSweetSour       No             0.81       0.86       0.9
    Yes        No          No          Yes            No            No           No             Yes        OriginalSweetSour       No             0.81       0.85      0.89
    Yes        No          No          No             No            No           No             No         OriginalSweetSour       No             1.01       1.04      1.07
    Yes        Yes         Yes         Yes            No            Yes         Yes             Yes            FruitCitrus         Yes             0.4       0.41      0.43
    Yes        Yes         Yes         No             No            Yes         Yes             No             FruitCitrus         Yes            0.42       0.44      0.45
    Yes        Yes         No          Yes            No            Yes          No             Yes            FruitCitrus         Yes            0.44       0.45      0.47
    Yes        Yes         No          No             No            Yes          No             No             FruitCitrus         Yes            0.49         0.5     0.54
    Yes        No          Yes         Yes            No            No          Yes             Yes            FruitCitrus         Yes            0.43       0.45      0.46
    Yes        No          Yes         No             No            No          Yes             No             FruitCitrus         Yes            0.47       0.48       0.5
    Yes        No          No          Yes            No            No           No             Yes            FruitCitrus         Yes            0.49       0.51      0.55
    Yes        No          No          No             No            No           No             No             FruitCitrus         Yes             0.6       0.63      0.68
    Yes        Yes         Yes         Yes            No            Yes         Yes             Yes            FruitCitrus         No             0.43       0.45      0.47
    Yes        Yes         Yes         No             No            Yes         Yes             No             FruitCitrus         No             0.47       0.49      0.51
    Yes        Yes         No          Yes            No            Yes          No             Yes            FruitCitrus         No             0.49       0.51      0.55
    Yes        Yes         No          No             No            Yes          No             No             FruitCitrus         No             0.63       0.66       0.7
    Yes        No          Yes         Yes            No            No          Yes             Yes            FruitCitrus         No             0.48         0.5     0.53
    Yes        No          Yes         No             No            No          Yes             No             FruitCitrus         No             0.57         0.6     0.64
    Yes        No          No          Yes            No            No           No             Yes            FruitCitrus         No             0.66       0.69      0.73
    Yes        No          No          No             No            No           No             No             FruitCitrus         No              0.8       0.83      0.88
    Yes        Yes         Yes         Yes            No            Yes         Yes             Yes               Cola             Yes            0.42       0.43      0.45
    Yes        Yes         Yes         No             No            Yes         Yes             No                Cola             Yes            0.49       0.51      0.55
    Yes        Yes         No          Yes            No            Yes          No             Yes               Cola             Yes            0.48       0.49      0.51
    Yes        Yes         No          No             No            Yes          No             No                Cola             Yes            0.65       0.68      0.72
    Yes        No          Yes         Yes            No            No          Yes             Yes               Cola             Yes            0.47       0.49       0.5
    Yes        No          Yes         No             No            No          Yes             No                Cola             Yes            0.62       0.66       0.7
    Yes        No          No          Yes            No            No           No             Yes               Cola             Yes             0.6       0.64      0.67
    Yes        No          No          No             No            No           No             No                Cola             Yes            0.79       0.84      0.89
    Yes        Yes         Yes         Yes            No            Yes         Yes             Yes               Cola             No             0.48       0.49      0.52
    Yes        Yes         Yes         No             No            Yes         Yes             No                Cola             No             0.65       0.69      0.73
    Yes        Yes         No          Yes            No            Yes          No             Yes               Cola             No             0.64       0.67      0.71



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APPROXIMATE 95% CONFIDENCE INTERVALS FOR ESTIMATES FROM MARKET SIMULATIONS

                                                                                                                                                  APPROXIMATE 95% CI
                                             PRODUCT ATTRIBUTES IN MARKET SIMULATION                                                                   FOR $2.49
                                                   But-For        But-For                     But-For                                         LOWER      POINT     UPPER
 Rehydrate    Hydrate      Ideal      Safe                                  But-For Ideal                       Flavor         Long Lasting
                                                  Rehdrate       Hydrate                    ScenarioSafe                                      BOUND    ESTIMATE    BOUND
    Yes        Yes         No          No             No            Yes          No             No                Cola             No             0.86         0.9     0.95
    Yes        No          Yes         Yes            No            No          Yes             Yes               Cola             No             0.63       0.67      0.71
    Yes        No          Yes         No             No            No          Yes             No                Cola             No             0.81       0.86       0.9
    Yes        No          No          Yes            No            No           No             Yes               Cola             No             0.78       0.83      0.87
    Yes        No          No          No             No            No           No             No                Cola             No             0.94       0.99      1.03
    Yes        Yes         Yes         Yes            No            Yes         Yes             Yes          CoffeeMocha           Yes            0.41       0.42      0.43
    Yes        Yes         Yes         No             No            Yes         Yes             No           CoffeeMocha           Yes            0.48       0.49      0.53
    Yes        Yes         No          Yes            No            Yes          No             Yes          CoffeeMocha           Yes            0.47       0.48       0.5
    Yes        Yes         No          No             No            Yes          No             No           CoffeeMocha           Yes            0.58       0.62      0.66
    Yes        No          Yes         Yes            No            No          Yes             Yes          CoffeeMocha           Yes            0.46       0.47      0.49
    Yes        No          Yes         No             No            No          Yes             No           CoffeeMocha           Yes            0.54       0.58      0.62
    Yes        No          No          Yes            No            No           No             Yes          CoffeeMocha           Yes            0.56       0.59      0.63
    Yes        No          No          No             No            No           No             No           CoffeeMocha           Yes            0.71       0.75      0.79
    Yes        Yes         Yes         Yes            No            Yes         Yes             Yes          CoffeeMocha           No             0.45       0.47      0.48
    Yes        Yes         Yes         No             No            Yes         Yes             No           CoffeeMocha           No             0.55       0.58      0.62
    Yes        Yes         No          Yes            No            Yes          No             Yes          CoffeeMocha           No             0.56       0.59      0.63
    Yes        Yes         No          No             No            Yes          No             No           CoffeeMocha           No             0.71       0.75      0.79
    Yes        No          Yes         Yes            No            No          Yes             Yes          CoffeeMocha           No             0.54       0.58      0.61
    Yes        No          Yes         No             No            No          Yes             No           CoffeeMocha           No             0.67       0.71      0.75
    Yes        No          No          Yes            No            No           No             Yes          CoffeeMocha           No              0.7       0.74      0.78
    Yes        No          No          No             No            No           No             No           CoffeeMocha           No             0.87       0.92      0.97
    Yes        Yes         Yes         Yes           Yes            No          Yes             Yes        OriginalSweetSour       Yes            0.24       0.25      0.27
    Yes        Yes         Yes         No            Yes            No          Yes             No         OriginalSweetSour       Yes             0.3       0.31      0.33
    Yes        Yes         No          Yes           Yes            No           No             Yes        OriginalSweetSour       Yes            0.31       0.31      0.33
    Yes        Yes         No          No            Yes            No           No             No         OriginalSweetSour       Yes            0.37       0.38       0.4
    No         Yes         Yes         Yes            No            No          Yes             Yes        OriginalSweetSour       Yes             0.3       0.31      0.32
    No         Yes         Yes         No             No            No          Yes             No         OriginalSweetSour       Yes            0.37       0.38       0.4
    No         Yes         No          Yes            No            No           No             Yes        OriginalSweetSour       Yes            0.37       0.38       0.4
    No         Yes         No          No             No            No           No             No         OriginalSweetSour       Yes            0.45       0.46      0.49
    Yes        Yes         Yes         Yes           Yes            No          Yes             Yes        OriginalSweetSour       No              0.3       0.31      0.32
    Yes        Yes         Yes         No            Yes            No          Yes             No         OriginalSweetSour       No             0.37       0.38       0.4
    Yes        Yes         No          Yes           Yes            No           No             Yes        OriginalSweetSour       No             0.38       0.39       0.4
    Yes        Yes         No          No            Yes            No           No             No         OriginalSweetSour       No             0.46       0.48       0.5
    No         Yes         Yes         Yes            No            No          Yes             Yes        OriginalSweetSour       No             0.36       0.37      0.39
    No         Yes         Yes         No             No            No          Yes             No         OriginalSweetSour       No             0.47       0.48       0.5
    No         Yes         No          Yes            No            No           No             Yes        OriginalSweetSour       No             0.45       0.47      0.49
    No         Yes         No          No             No            No           No             No         OriginalSweetSour       No             0.59       0.64      0.69
    Yes        Yes         Yes         Yes           Yes            No          Yes             Yes            FruitCitrus         Yes             0.2       0.21      0.23
    Yes        Yes         Yes         No            Yes            No          Yes             No             FruitCitrus         Yes            0.23       0.24      0.25
    Yes        Yes         No          Yes           Yes            No           No             Yes            FruitCitrus         Yes            0.25       0.26      0.28
    Yes        Yes         No          No            Yes            No           No             No             FruitCitrus         Yes             0.3       0.31      0.32
    No         Yes         Yes         Yes            No            No          Yes             Yes            FruitCitrus         Yes            0.24       0.25      0.26
    No         Yes         Yes         No             No            No          Yes             No             FruitCitrus         Yes            0.28       0.29       0.3



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APPROXIMATE 95% CONFIDENCE INTERVALS FOR ESTIMATES FROM MARKET SIMULATIONS

                                                                                                                                                  APPROXIMATE 95% CI
                                             PRODUCT ATTRIBUTES IN MARKET SIMULATION                                                                   FOR $2.49
                                                   But-For        But-For                     But-For                                         LOWER      POINT     UPPER
 Rehydrate    Hydrate      Ideal      Safe                                  But-For Ideal                       Flavor         Long Lasting
                                                  Rehdrate       Hydrate                    ScenarioSafe                                      BOUND    ESTIMATE    BOUND
    No         Yes         No          Yes            No            No           No             Yes            FruitCitrus         Yes             0.3       0.31      0.33
    No         Yes         No          No             No            No           No             No             FruitCitrus         Yes            0.37       0.38       0.4
    Yes        Yes         Yes         Yes           Yes            No          Yes             Yes            FruitCitrus         No             0.24       0.25      0.27
    Yes        Yes         Yes         No            Yes            No          Yes             No             FruitCitrus         No             0.28       0.29       0.3
    Yes        Yes         No          Yes           Yes            No           No             Yes            FruitCitrus         No              0.3       0.31      0.32
    Yes        Yes         No          No            Yes            No           No             No             FruitCitrus         No             0.37       0.38       0.4
    No         Yes         Yes         Yes            No            No          Yes             Yes            FruitCitrus         No             0.29         0.3     0.31
    No         Yes         Yes         No             No            No          Yes             No             FruitCitrus         No             0.36       0.37      0.38
    No         Yes         No          Yes            No            No           No             Yes            FruitCitrus         No             0.37       0.38       0.4
    No         Yes         No          No             No            No           No             No             FruitCitrus         No             0.46       0.48       0.5
    Yes        Yes         Yes         Yes           Yes            No          Yes             Yes               Cola             Yes            0.25       0.26      0.27
    Yes        Yes         Yes         No            Yes            No          Yes             No                Cola             Yes            0.32       0.33      0.34
    Yes        Yes         No          Yes           Yes            No           No             Yes               Cola             Yes            0.31       0.32      0.33
    Yes        Yes         No          No            Yes            No           No             No                Cola             Yes            0.39       0.41      0.42
    No         Yes         Yes         Yes            No            No          Yes             Yes               Cola             Yes             0.3       0.31      0.32
    No         Yes         Yes         No             No            No          Yes             No                Cola             Yes            0.39       0.41      0.43
    No         Yes         No          Yes            No            No           No             Yes               Cola             Yes            0.37       0.39       0.4
    No         Yes         No          No             No            No           No             No                Cola             Yes            0.48         0.5     0.54
    Yes        Yes         Yes         Yes           Yes            No          Yes             Yes               Cola             No             0.31       0.32      0.33
    Yes        Yes         Yes         No            Yes            No          Yes             No                Cola             No              0.4       0.41      0.43
    Yes        Yes         No          Yes           Yes            No           No             Yes               Cola             No             0.39         0.4     0.41
    Yes        Yes         No          No            Yes            No           No             No                Cola             No             0.49       0.52      0.56
    No         Yes         Yes         Yes            No            No          Yes             Yes               Cola             No             0.39         0.4     0.41
    No         Yes         Yes         No             No            No          Yes             No                Cola             No             0.49       0.52      0.56
    No         Yes         No          Yes            No            No           No             Yes               Cola             No             0.46       0.47      0.49
    No         Yes         No          No             No            No           No             No                Cola             No             0.58       0.62      0.67
    Yes        Yes         Yes         Yes           Yes            No          Yes             Yes          CoffeeMocha           Yes            0.23       0.23      0.25
    Yes        Yes         Yes         No            Yes            No          Yes             No           CoffeeMocha           Yes            0.28       0.29      0.31
    Yes        Yes         No          Yes           Yes            No           No             Yes          CoffeeMocha           Yes            0.28       0.29       0.3
    Yes        Yes         No          No            Yes            No           No             No           CoffeeMocha           Yes            0.34       0.35      0.37
    No         Yes         Yes         Yes            No            No          Yes             Yes          CoffeeMocha           Yes            0.27       0.28      0.29
    No         Yes         Yes         No             No            No          Yes             No           CoffeeMocha           Yes            0.34       0.35      0.37
    No         Yes         No          Yes            No            No           No             Yes          CoffeeMocha           Yes            0.33       0.34      0.36
    No         Yes         No          No             No            No           No             No           CoffeeMocha           Yes            0.41       0.43      0.45
    Yes        Yes         Yes         Yes           Yes            No          Yes             Yes          CoffeeMocha           No             0.27       0.28      0.29
    Yes        Yes         Yes         No            Yes            No          Yes             No           CoffeeMocha           No             0.33       0.34      0.36
    Yes        Yes         No          Yes           Yes            No           No             Yes          CoffeeMocha           No             0.34       0.35      0.36
    Yes        Yes         No          No            Yes            No           No             No           CoffeeMocha           No             0.41       0.42      0.44
    No         Yes         Yes         Yes            No            No          Yes             Yes          CoffeeMocha           No             0.33       0.34      0.35
    No         Yes         Yes         No             No            No          Yes             No           CoffeeMocha           No              0.4       0.41      0.43
    No         Yes         No          Yes            No            No           No             Yes          CoffeeMocha           No             0.39       0.41      0.42
    No         Yes         No          No             No            No           No             No           CoffeeMocha           No             0.49       0.52      0.57
    Yes        Yes         Yes         Yes           Yes            Yes          No             Yes        OriginalSweetSour       Yes            0.36       0.38      0.39



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APPROXIMATE 95% CONFIDENCE INTERVALS FOR ESTIMATES FROM MARKET SIMULATIONS

                                                                                                                                                  APPROXIMATE 95% CI
                                             PRODUCT ATTRIBUTES IN MARKET SIMULATION                                                                   FOR $2.49
                                                   But-For        But-For                     But-For                                         LOWER      POINT     UPPER
 Rehydrate    Hydrate      Ideal      Safe                                  But-For Ideal                       Flavor         Long Lasting
                                                  Rehdrate       Hydrate                    ScenarioSafe                                      BOUND    ESTIMATE    BOUND
    Yes        Yes         Yes         No            Yes            Yes          No             No         OriginalSweetSour       Yes            0.43       0.45      0.47
    Yes        No          Yes         Yes           Yes            No           No             Yes        OriginalSweetSour       Yes            0.43       0.44      0.46
    Yes        No          Yes         No            Yes            No           No             No         OriginalSweetSour       Yes            0.49       0.52      0.57
    No         Yes         Yes         Yes            No            Yes          No             Yes        OriginalSweetSour       Yes            0.42       0.43      0.45
    No         Yes         Yes         No             No            Yes          No             No         OriginalSweetSour       Yes             0.5       0.53      0.58
    No         No          Yes         Yes            No            No           No             Yes        OriginalSweetSour       Yes             0.5       0.52      0.57
    No         No          Yes         No             No            No           No             No         OriginalSweetSour       Yes            0.65       0.69      0.75
    Yes        Yes         Yes         Yes           Yes            Yes          No             Yes        OriginalSweetSour       No             0.43       0.44      0.46
    Yes        Yes         Yes         No            Yes            Yes          No             No         OriginalSweetSour       No             0.51       0.54      0.59
    Yes        No          Yes         Yes           Yes            No           No             Yes        OriginalSweetSour       No             0.53       0.56      0.61
    Yes        No          Yes         No            Yes            No           No             No         OriginalSweetSour       No             0.67       0.71      0.77
    No         Yes         Yes         Yes            No            Yes          No             Yes        OriginalSweetSour       No              0.5       0.53      0.57
    No         Yes         Yes         No             No            Yes          No             No         OriginalSweetSour       No              0.7       0.75       0.8
    No         No          Yes         Yes            No            No           No             Yes        OriginalSweetSour       No              0.7       0.74      0.78
    No         No          Yes         No             No            No           No             No         OriginalSweetSour       No             0.86       0.91      0.98
    Yes        Yes         Yes         Yes           Yes            Yes          No             Yes            FruitCitrus         Yes            0.32       0.33      0.35
    Yes        Yes         Yes         No            Yes            Yes          No             No             FruitCitrus         Yes            0.38       0.39      0.41
    Yes        No          Yes         Yes           Yes            No           No             Yes            FruitCitrus         Yes            0.37       0.38       0.4
    Yes        No          Yes         No            Yes            No           No             No             FruitCitrus         Yes            0.43       0.45      0.47
    No         Yes         Yes         Yes            No            Yes          No             Yes            FruitCitrus         Yes            0.36       0.37      0.39
    No         Yes         Yes         No             No            Yes          No             No             FruitCitrus         Yes            0.43       0.44      0.46
    No         No          Yes         Yes            No            No           No             Yes            FruitCitrus         Yes            0.42       0.44      0.46
    No         No          Yes         No             No            No           No             No             FruitCitrus         Yes             0.5       0.54      0.59
    Yes        Yes         Yes         Yes           Yes            Yes          No             Yes            FruitCitrus         No             0.37       0.38       0.4
    Yes        Yes         Yes         No            Yes            Yes          No             No             FruitCitrus         No             0.42       0.43      0.46
    Yes        No          Yes         Yes           Yes            No           No             Yes            FruitCitrus         No             0.43       0.44      0.46
    Yes        No          Yes         No            Yes            No           No             No             FruitCitrus         No             0.49       0.52      0.57
    No         Yes         Yes         Yes            No            Yes          No             Yes            FruitCitrus         No             0.42       0.43      0.45
    No         Yes         Yes         No             No            Yes          No             No             FruitCitrus         No              0.5       0.53      0.58
    No         No          Yes         Yes            No            No           No             Yes            FruitCitrus         No             0.51       0.55       0.6
    No         No          Yes         No             No            No           No             No             FruitCitrus         No             0.69       0.73      0.78
    Yes        Yes         Yes         Yes           Yes            Yes          No             Yes               Cola             Yes            0.35       0.36      0.37
    Yes        Yes         Yes         No            Yes            Yes          No             No                Cola             Yes            0.42       0.44      0.46
    Yes        No          Yes         Yes           Yes            No           No             Yes               Cola             Yes             0.4       0.42      0.43
    Yes        No          Yes         No            Yes            No           No             No                Cola             Yes            0.49       0.52      0.56
    No         Yes         Yes         Yes            No            Yes          No             Yes               Cola             Yes            0.41       0.42      0.43
    No         Yes         Yes         No             No            Yes          No             No                Cola             Yes            0.51       0.55      0.59
    No         No          Yes         Yes            No            No           No             Yes               Cola             Yes            0.48       0.49      0.52
    No         No          Yes         No             No            No           No             No                Cola             Yes            0.66         0.7     0.75
    Yes        Yes         Yes         Yes           Yes            Yes          No             Yes               Cola             No             0.42       0.43      0.44
    Yes        Yes         Yes         No            Yes            Yes          No             No                Cola             No              0.5       0.54      0.57
    Yes        No          Yes         Yes           Yes            No           No             Yes               Cola             No              0.5       0.52      0.56
    Yes        No          Yes         No            Yes            No           No             No                Cola             No             0.67       0.71      0.76



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APPROXIMATE 95% CONFIDENCE INTERVALS FOR ESTIMATES FROM MARKET SIMULATIONS

                                                                                                                                                  APPROXIMATE 95% CI
                                             PRODUCT ATTRIBUTES IN MARKET SIMULATION                                                                   FOR $2.49
                                                   But-For        But-For                     But-For                                         LOWER      POINT     UPPER
 Rehydrate    Hydrate      Ideal      Safe                                  But-For Ideal                       Flavor         Long Lasting
                                                  Rehdrate       Hydrate                    ScenarioSafe                                      BOUND    ESTIMATE    BOUND
    No         Yes         Yes         Yes            No            Yes          No             Yes               Cola             No              0.5       0.53      0.57
    No         Yes         Yes         No             No            Yes          No             No                Cola             No              0.7       0.74      0.79
    No         No          Yes         Yes            No            No           No             Yes               Cola             No             0.64       0.68      0.72
    No         No          Yes         No             No            No           No             No                Cola             No             0.79       0.83      0.89
    Yes        Yes         Yes         Yes           Yes            Yes          No             Yes          CoffeeMocha           Yes            0.34       0.35      0.36
    Yes        Yes         Yes         No            Yes            Yes          No             No           CoffeeMocha           Yes            0.42       0.43      0.45
    Yes        No          Yes         Yes           Yes            No           No             Yes          CoffeeMocha           Yes            0.39         0.4     0.42
    Yes        No          Yes         No            Yes            No           No             No           CoffeeMocha           Yes            0.46       0.48      0.51
    No         Yes         Yes         Yes            No            Yes          No             Yes          CoffeeMocha           Yes            0.39         0.4     0.42
    No         Yes         Yes         No             No            Yes          No             No           CoffeeMocha           Yes            0.48       0.49      0.53
    No         No          Yes         Yes            No            No           No             Yes          CoffeeMocha           Yes            0.45       0.46      0.48
    No         No          Yes         No             No            No           No             No           CoffeeMocha           Yes            0.59       0.62      0.67
    Yes        Yes         Yes         Yes           Yes            Yes          No             Yes          CoffeeMocha           No             0.39         0.4     0.42
    Yes        Yes         Yes         No            Yes            Yes          No             No           CoffeeMocha           No             0.46       0.48       0.5
    Yes        No          Yes         Yes           Yes            No           No             Yes          CoffeeMocha           No             0.46       0.47      0.49
    Yes        No          Yes         No            Yes            No           No             No           CoffeeMocha           No             0.56       0.59      0.64
    No         Yes         Yes         Yes            No            Yes          No             Yes          CoffeeMocha           No             0.46       0.47      0.49
    No         Yes         Yes         No             No            Yes          No             No           CoffeeMocha           No             0.58       0.61      0.66
    No         No          Yes         Yes            No            No           No             Yes          CoffeeMocha           No             0.55       0.59      0.63
    No         No          Yes         No             No            No           No             No           CoffeeMocha           No             0.75       0.79      0.85
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No         OriginalSweetSour       Yes            1.52       1.57      1.62
    Yes        Yes         No          Yes           Yes            Yes          No             No         OriginalSweetSour       Yes            1.57       1.62      1.66
    Yes        No          Yes         Yes           Yes            No          Yes             No         OriginalSweetSour       Yes            1.54       1.59      1.63
    Yes        No          No          Yes           Yes            No           No             No         OriginalSweetSour       Yes            1.59       1.64      1.68
    No         Yes         Yes         Yes            No            Yes         Yes             No         OriginalSweetSour       Yes            1.57       1.61      1.65
    No         Yes         No          Yes            No            Yes          No             No         OriginalSweetSour       Yes             1.6       1.65      1.69
    No         No          Yes         Yes            No            No          Yes             No         OriginalSweetSour       Yes            1.59       1.64      1.68
    No         No          No          Yes            No            No           No             No         OriginalSweetSour       Yes            1.64       1.69      1.73
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No         OriginalSweetSour       No             1.58       1.63      1.67
    Yes        Yes         No          Yes           Yes            Yes          No             No         OriginalSweetSour       No             1.62       1.66       1.7
    Yes        No          Yes         Yes           Yes            No          Yes             No         OriginalSweetSour       No             1.61       1.66       1.7
    Yes        No          No          Yes           Yes            No           No             No         OriginalSweetSour       No             1.66       1.71      1.75
    No         Yes         Yes         Yes            No            Yes         Yes             No         OriginalSweetSour       No             1.62       1.67      1.71
    No         Yes         No          Yes            No            Yes          No             No         OriginalSweetSour       No             1.67       1.71      1.76
    No         No          Yes         Yes            No            No          Yes             No         OriginalSweetSour       No             1.67       1.72      1.77
    No         No          No          Yes            No            No           No             No         OriginalSweetSour       No             1.73       1.78      1.83
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No             FruitCitrus         Yes             1.4       1.44      1.48
    Yes        Yes         No          Yes           Yes            Yes          No             No             FruitCitrus         Yes            1.47       1.51      1.55
    Yes        No          Yes         Yes           Yes            No          Yes             No             FruitCitrus         Yes            1.42       1.45      1.49
    Yes        No          No          Yes           Yes            No           No             No             FruitCitrus         Yes            1.49       1.53      1.57
    No         Yes         Yes         Yes            No            Yes         Yes             No             FruitCitrus         Yes            1.41       1.45      1.49
    No         Yes         No          Yes            No            Yes          No             No             FruitCitrus         Yes            1.48       1.53      1.56
    No         No          Yes         Yes            No            No          Yes             No             FruitCitrus         Yes            1.44       1.47      1.51



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APPROXIMATE 95% CONFIDENCE INTERVALS FOR ESTIMATES FROM MARKET SIMULATIONS

                                                                                                                                             APPROXIMATE 95% CI
                                             PRODUCT ATTRIBUTES IN MARKET SIMULATION                                                              FOR $2.49
                                                   But-For        But-For                     But-For                                    LOWER      POINT     UPPER
 Rehydrate    Hydrate      Ideal      Safe                                  But-For Ideal                     Flavor      Long Lasting
                                                  Rehdrate       Hydrate                    ScenarioSafe                                 BOUND    ESTIMATE    BOUND
    No         No          No          Yes            No            No           No             No          FruitCitrus       Yes            1.52       1.56       1.6
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No          FruitCitrus       No             1.41       1.45      1.49
    Yes        Yes         No          Yes           Yes            Yes          No             No          FruitCitrus       No             1.47       1.51      1.55
    Yes        No          Yes         Yes           Yes            No          Yes             No          FruitCitrus       No             1.43       1.47      1.51
    Yes        No          No          Yes           Yes            No           No             No          FruitCitrus       No             1.51       1.55      1.59
    No         Yes         Yes         Yes            No            Yes         Yes             No          FruitCitrus       No             1.43       1.47      1.51
    No         Yes         No          Yes            No            Yes          No             No          FruitCitrus       No              1.5       1.54      1.58
    No         No          Yes         Yes            No            No          Yes             No          FruitCitrus       No             1.47       1.51      1.54
    No         No          No          Yes            No            No           No             No          FruitCitrus       No             1.56       1.61      1.65
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No             Cola           Yes            1.52       1.57       1.6
    Yes        Yes         No          Yes           Yes            Yes          No             No             Cola           Yes            1.59       1.63      1.67
    Yes        No          Yes         Yes           Yes            No          Yes             No             Cola           Yes            1.57       1.61      1.65
    Yes        No          No          Yes           Yes            No           No             No             Cola           Yes            1.65         1.7     1.74
    No         Yes         Yes         Yes            No            Yes         Yes             No             Cola           Yes            1.57       1.61      1.64
    No         Yes         No          Yes            No            Yes          No             No             Cola           Yes            1.65       1.71      1.74
    No         No          Yes         Yes            No            No          Yes             No             Cola           Yes            1.65       1.69      1.72
    No         No          No          Yes            No            No           No             No             Cola           Yes            1.74       1.79      1.83
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No             Cola           No             1.57       1.62      1.65
    Yes        Yes         No          Yes           Yes            Yes          No             No             Cola           No             1.65       1.71      1.74
    Yes        No          Yes         Yes           Yes            No          Yes             No             Cola           No             1.65         1.7     1.74
    Yes        No          No          Yes           Yes            No           No             No             Cola           No             1.75       1.81      1.85
    No         Yes         Yes         Yes            No            Yes         Yes             No             Cola           No             1.66       1.71      1.75
    No         Yes         No          Yes            No            Yes          No             No             Cola           No             1.76       1.81      1.86
    No         No          Yes         Yes            No            No          Yes             No             Cola           No             1.75         1.8     1.84
    No         No          No          Yes            No            No           No             No             Cola           No             1.83       1.89      1.94
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No         CoffeeMocha        Yes             1.5       1.55      1.59
    Yes        Yes         No          Yes           Yes            Yes          No             No         CoffeeMocha        Yes            1.57       1.61      1.65
    Yes        No          Yes         Yes           Yes            No          Yes             No         CoffeeMocha        Yes            1.52       1.57      1.61
    Yes        No          No          Yes           Yes            No           No             No         CoffeeMocha        Yes            1.58       1.62      1.66
    No         Yes         Yes         Yes            No            Yes         Yes             No         CoffeeMocha        Yes            1.52       1.56       1.6
    No         Yes         No          Yes            No            Yes          No             No         CoffeeMocha        Yes            1.56         1.6     1.64
    No         No          Yes         Yes            No            No          Yes             No         CoffeeMocha        Yes            1.53       1.58      1.61
    No         No          No          Yes            No            No           No             No         CoffeeMocha        Yes            1.58       1.62      1.66
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No         CoffeeMocha        No             1.53       1.58      1.62
    Yes        Yes         No          Yes           Yes            Yes          No             No         CoffeeMocha        No             1.57       1.62      1.66
    Yes        No          Yes         Yes           Yes            No          Yes             No         CoffeeMocha        No             1.55         1.6     1.64
    Yes        No          No          Yes           Yes            No           No             No         CoffeeMocha        No             1.59       1.63      1.68
    No         Yes         Yes         Yes            No            Yes         Yes             No         CoffeeMocha        No             1.54       1.59      1.63
    No         Yes         No          Yes            No            Yes          No             No         CoffeeMocha        No             1.57       1.62      1.66
    No         No          Yes         Yes            No            No          Yes             No         CoffeeMocha        No             1.56       1.61      1.64
    No         No          No          Yes            No            No           No             No         CoffeeMocha        No             1.63       1.67      1.72




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APPROXIMATE 95% CONFIDENCE INTERVALS FOR ESTIMATES FROM MARKET SIMULATIONS

                                                                                                                                                  APPROXIMATE 95% CI
                                             PRODUCT ATTRIBUTES IN MARKET SIMULATION                                                                   FOR $2.99
                                                   But-For        But-For                     But-For                                         LOWER      POINT     UPPER
 Rehydrate    Hydrate      Ideal      Safe                                  But-For Ideal                       Flavor         Long Lasting
                                                  Rehdrate       Hydrate                    ScenarioSafe                                      BOUND    ESTIMATE    BOUND
    Yes        Yes         Yes         Yes            No            Yes         Yes             Yes        OriginalSweetSour       Yes            0.66       0.67      0.68
    Yes        Yes         Yes         No             No            Yes         Yes             No         OriginalSweetSour       Yes            0.71       0.73      0.74
    Yes        Yes         No          Yes            No            Yes          No             Yes        OriginalSweetSour       Yes             0.7       0.71      0.73
    Yes        Yes         No          No             No            Yes          No             No         OriginalSweetSour       Yes            0.77       0.78       0.8
    Yes        No          Yes         Yes            No            No          Yes             Yes        OriginalSweetSour       Yes             0.7       0.72      0.73
    Yes        No          Yes         No             No            No          Yes             No         OriginalSweetSour       Yes            0.76       0.78      0.79
    Yes        No          No          Yes            No            No           No             Yes        OriginalSweetSour       Yes            0.76       0.78      0.79
    Yes        No          No          No             No            No           No             No         OriginalSweetSour       Yes            0.83       0.85      0.87
    Yes        Yes         Yes         Yes            No            Yes         Yes             Yes        OriginalSweetSour       No             0.71       0.72      0.73
    Yes        Yes         Yes         No             No            Yes         Yes             No         OriginalSweetSour       No             0.77       0.79       0.8
    Yes        Yes         No          Yes            No            Yes          No             Yes        OriginalSweetSour       No             0.77       0.79       0.8
    Yes        Yes         No          No             No            Yes          No             No         OriginalSweetSour       No             0.86       0.88      0.89
    Yes        No          Yes         Yes            No            No          Yes             Yes        OriginalSweetSour       No             0.77       0.79       0.8
    Yes        No          Yes         No             No            No          Yes             No         OriginalSweetSour       No             0.85       0.87      0.88
    Yes        No          No          Yes            No            No           No             Yes        OriginalSweetSour       No             0.85       0.86      0.88
    Yes        No          No          No             No            No           No             No         OriginalSweetSour       No             0.91       0.94      0.96
    Yes        Yes         Yes         Yes            No            Yes         Yes             Yes            FruitCitrus         Yes            0.63       0.64      0.65
    Yes        Yes         Yes         No             No            Yes         Yes             No             FruitCitrus         Yes            0.66       0.67      0.68
    Yes        Yes         No          Yes            No            Yes          No             Yes            FruitCitrus         Yes            0.66       0.68      0.69
    Yes        Yes         No          No             No            Yes          No             No             FruitCitrus         Yes             0.7       0.72      0.73
    Yes        No          Yes         Yes            No            No          Yes             Yes            FruitCitrus         Yes            0.66       0.67      0.68
    Yes        No          Yes         No             No            No          Yes             No             FruitCitrus         Yes            0.69         0.7     0.72
    Yes        No          No          Yes            No            No           No             Yes            FruitCitrus         Yes            0.71       0.72      0.73
    Yes        No          No          No             No            No           No             No             FruitCitrus         Yes            0.76       0.77      0.79
    Yes        Yes         Yes         Yes            No            Yes         Yes             Yes            FruitCitrus         No             0.66       0.67      0.69
    Yes        Yes         Yes         No             No            Yes         Yes             No             FruitCitrus         No             0.69       0.71      0.72
    Yes        Yes         No          Yes            No            Yes          No             Yes            FruitCitrus         No             0.71       0.73      0.74
    Yes        Yes         No          No             No            Yes          No             No             FruitCitrus         No             0.77       0.78       0.8
    Yes        No          Yes         Yes            No            No          Yes             Yes            FruitCitrus         No             0.71       0.72      0.73
    Yes        No          Yes         No             No            No          Yes             No             FruitCitrus         No             0.75       0.76      0.78
    Yes        No          No          Yes            No            No           No             Yes            FruitCitrus         No             0.78       0.79      0.81
    Yes        No          No          No             No            No           No             No             FruitCitrus         No             0.84       0.86      0.87
    Yes        Yes         Yes         Yes            No            Yes         Yes             Yes               Cola             Yes            0.65       0.66      0.67
    Yes        Yes         Yes         No             No            Yes         Yes             No                Cola             Yes             0.7       0.72      0.73
    Yes        Yes         No          Yes            No            Yes          No             Yes               Cola             Yes             0.7       0.71      0.72
    Yes        Yes         No          No             No            Yes          No             No                Cola             Yes            0.76       0.78       0.8
    Yes        No          Yes         Yes            No            No          Yes             Yes               Cola             Yes             0.7       0.71      0.72
    Yes        No          Yes         No             No            No          Yes             No                Cola             Yes            0.76       0.78      0.79
    Yes        No          No          Yes            No            No           No             Yes               Cola             Yes            0.75       0.77      0.78
    Yes        No          No          No             No            No           No             No                Cola             Yes            0.83       0.85      0.87
    Yes        Yes         Yes         Yes            No            Yes         Yes             Yes               Cola             No             0.71       0.72      0.73
    Yes        Yes         Yes         No             No            Yes         Yes             No                Cola             No             0.77       0.79       0.8
    Yes        Yes         No          Yes            No            Yes          No             Yes               Cola             No             0.77       0.79       0.8



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APPROXIMATE 95% CONFIDENCE INTERVALS FOR ESTIMATES FROM MARKET SIMULATIONS

                                                                                                                                                  APPROXIMATE 95% CI
                                             PRODUCT ATTRIBUTES IN MARKET SIMULATION                                                                   FOR $2.99
                                                   But-For        But-For                     But-For                                         LOWER      POINT     UPPER
 Rehydrate    Hydrate      Ideal      Safe                                  But-For Ideal                       Flavor         Long Lasting
                                                  Rehdrate       Hydrate                    ScenarioSafe                                      BOUND    ESTIMATE    BOUND
    Yes        Yes         No          No             No            Yes          No             No                Cola             No             0.85       0.87      0.89
    Yes        No          Yes         Yes            No            No          Yes             Yes               Cola             No             0.77       0.78       0.8
    Yes        No          Yes         No             No            No          Yes             No                Cola             No             0.85       0.87      0.88
    Yes        No          No          Yes            No            No           No             Yes               Cola             No             0.83       0.85      0.86
    Yes        No          No          No             No            No           No             No                Cola             No             0.88       0.91      0.93
    Yes        Yes         Yes         Yes            No            Yes         Yes             Yes          CoffeeMocha           Yes            0.64       0.65      0.66
    Yes        Yes         Yes         No             No            Yes         Yes             No           CoffeeMocha           Yes            0.68       0.69       0.7
    Yes        Yes         No          Yes            No            Yes          No             Yes          CoffeeMocha           Yes            0.68       0.69       0.7
    Yes        Yes         No          No             No            Yes          No             No           CoffeeMocha           Yes            0.72       0.74      0.75
    Yes        No          Yes         Yes            No            No          Yes             Yes          CoffeeMocha           Yes            0.67       0.69       0.7
    Yes        No          Yes         No             No            No          Yes             No           CoffeeMocha           Yes            0.71       0.73      0.74
    Yes        No          No          Yes            No            No           No             Yes          CoffeeMocha           Yes            0.73       0.74      0.75
    Yes        No          No          No             No            No           No             No           CoffeeMocha           Yes            0.78         0.8     0.81
    Yes        Yes         Yes         Yes            No            Yes         Yes             Yes          CoffeeMocha           No             0.67       0.68      0.69
    Yes        Yes         Yes         No             No            Yes         Yes             No           CoffeeMocha           No             0.72       0.73      0.75
    Yes        Yes         No          Yes            No            Yes          No             Yes          CoffeeMocha           No             0.73       0.74      0.76
    Yes        Yes         No          No             No            Yes          No             No           CoffeeMocha           No             0.79       0.81      0.82
    Yes        No          Yes         Yes            No            No          Yes             Yes          CoffeeMocha           No             0.73       0.74      0.75
    Yes        No          Yes         No             No            No          Yes             No           CoffeeMocha           No             0.77       0.79       0.8
    Yes        No          No          Yes            No            No           No             Yes          CoffeeMocha           No             0.78         0.8     0.81
    Yes        No          No          No             No            No           No             No           CoffeeMocha           No             0.86       0.88       0.9
    Yes        Yes         Yes         Yes           Yes            No          Yes             Yes        OriginalSweetSour       Yes            0.44       0.45      0.47
    Yes        Yes         Yes         No            Yes            No          Yes             No         OriginalSweetSour       Yes            0.51       0.52      0.54
    Yes        Yes         No          Yes           Yes            No           No             Yes        OriginalSweetSour       Yes            0.51       0.52      0.53
    Yes        Yes         No          No            Yes            No           No             No         OriginalSweetSour       Yes            0.58       0.59       0.6
    No         Yes         Yes         Yes            No            No          Yes             Yes        OriginalSweetSour       Yes            0.51       0.52      0.53
    No         Yes         Yes         No             No            No          Yes             No         OriginalSweetSour       Yes            0.57       0.58       0.6
    No         Yes         No          Yes            No            No           No             Yes        OriginalSweetSour       Yes            0.57       0.58      0.59
    No         Yes         No          No             No            No           No             No         OriginalSweetSour       Yes            0.64       0.66      0.67
    Yes        Yes         Yes         Yes           Yes            No          Yes             Yes        OriginalSweetSour       No             0.51       0.52      0.53
    Yes        Yes         Yes         No            Yes            No          Yes             No         OriginalSweetSour       No             0.58       0.59       0.6
    Yes        Yes         No          Yes           Yes            No           No             Yes        OriginalSweetSour       No             0.58       0.59       0.6
    Yes        Yes         No          No            Yes            No           No             No         OriginalSweetSour       No             0.66       0.67      0.69
    No         Yes         Yes         Yes            No            No          Yes             Yes        OriginalSweetSour       No             0.57       0.58       0.6
    No         Yes         Yes         No             No            No          Yes             No         OriginalSweetSour       No             0.66       0.67      0.69
    No         Yes         No          Yes            No            No           No             Yes        OriginalSweetSour       No             0.65       0.66      0.68
    No         Yes         No          No             No            No           No             No         OriginalSweetSour       No             0.72       0.73      0.75
    Yes        Yes         Yes         Yes           Yes            No          Yes             Yes            FruitCitrus         Yes            0.36       0.37      0.38
    Yes        Yes         Yes         No            Yes            No          Yes             No             FruitCitrus         Yes            0.44       0.45      0.47
    Yes        Yes         No          Yes           Yes            No           No             Yes            FruitCitrus         Yes            0.44       0.45      0.46
    Yes        Yes         No          No            Yes            No           No             No             FruitCitrus         Yes            0.52       0.53      0.53
    No         Yes         Yes         Yes            No            No          Yes             Yes            FruitCitrus         Yes            0.42       0.43      0.44
    No         Yes         Yes         No             No            No          Yes             No             FruitCitrus         Yes             0.5       0.51      0.52



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APPROXIMATE 95% CONFIDENCE INTERVALS FOR ESTIMATES FROM MARKET SIMULATIONS

                                                                                                                                                  APPROXIMATE 95% CI
                                             PRODUCT ATTRIBUTES IN MARKET SIMULATION                                                                   FOR $2.99
                                                   But-For        But-For                     But-For                                         LOWER      POINT     UPPER
 Rehydrate    Hydrate      Ideal      Safe                                  But-For Ideal                       Flavor         Long Lasting
                                                  Rehdrate       Hydrate                    ScenarioSafe                                      BOUND    ESTIMATE    BOUND
    No         Yes         No          Yes            No            No           No             Yes            FruitCitrus         Yes             0.5       0.51      0.52
    No         Yes         No          No             No            No           No             No             FruitCitrus         Yes            0.57       0.58      0.59
    Yes        Yes         Yes         Yes           Yes            No          Yes             Yes            FruitCitrus         No             0.43       0.44      0.45
    Yes        Yes         Yes         No            Yes            No          Yes             No             FruitCitrus         No             0.51       0.52      0.53
    Yes        Yes         No          Yes           Yes            No           No             Yes            FruitCitrus         No             0.51       0.52      0.53
    Yes        Yes         No          No            Yes            No           No             No             FruitCitrus         No             0.58       0.59       0.6
    No         Yes         Yes         Yes            No            No          Yes             Yes            FruitCitrus         No              0.5       0.51      0.52
    No         Yes         Yes         No             No            No          Yes             No             FruitCitrus         No             0.56       0.58      0.59
    No         Yes         No          Yes            No            No           No             Yes            FruitCitrus         No             0.57       0.58      0.59
    No         Yes         No          No             No            No           No             No             FruitCitrus         No             0.64       0.66      0.67
    Yes        Yes         Yes         Yes           Yes            No          Yes             Yes               Cola             Yes            0.46       0.47      0.49
    Yes        Yes         Yes         No            Yes            No          Yes             No                Cola             Yes            0.54       0.55      0.56
    Yes        Yes         No          Yes           Yes            No           No             Yes               Cola             Yes            0.52       0.53      0.54
    Yes        Yes         No          No            Yes            No           No             No                Cola             Yes            0.59         0.6     0.61
    No         Yes         Yes         Yes            No            No          Yes             Yes               Cola             Yes            0.52       0.53      0.54
    No         Yes         Yes         No             No            No          Yes             No                Cola             Yes            0.59         0.6     0.61
    No         Yes         No          Yes            No            No           No             Yes               Cola             Yes            0.57       0.58       0.6
    No         Yes         No          No             No            No           No             No                Cola             Yes            0.65       0.67      0.69
    Yes        Yes         Yes         Yes           Yes            No          Yes             Yes               Cola             No             0.53       0.54      0.54
    Yes        Yes         Yes         No            Yes            No          Yes             No                Cola             No              0.6       0.61      0.62
    Yes        Yes         No          Yes           Yes            No           No             Yes               Cola             No             0.59         0.6     0.61
    Yes        Yes         No          No            Yes            No           No             No                Cola             No             0.67       0.68       0.7
    No         Yes         Yes         Yes            No            No          Yes             Yes               Cola             No             0.59         0.6     0.61
    No         Yes         Yes         No             No            No          Yes             No                Cola             No             0.66       0.68       0.7
    No         Yes         No          Yes            No            No           No             Yes               Cola             No             0.64       0.66      0.68
    No         Yes         No          No             No            No           No             No                Cola             No              0.7       0.72      0.74
    Yes        Yes         Yes         Yes           Yes            No          Yes             Yes          CoffeeMocha           Yes            0.41       0.42      0.44
    Yes        Yes         Yes         No            Yes            No          Yes             No           CoffeeMocha           Yes            0.49         0.5     0.51
    Yes        Yes         No          Yes           Yes            No           No             Yes          CoffeeMocha           Yes            0.48         0.5     0.51
    Yes        Yes         No          No            Yes            No           No             No           CoffeeMocha           Yes            0.53       0.54      0.55
    No         Yes         Yes         Yes            No            No          Yes             Yes          CoffeeMocha           Yes            0.47       0.49      0.51
    No         Yes         Yes         No             No            No          Yes             No           CoffeeMocha           Yes            0.53       0.54      0.55
    No         Yes         No          Yes            No            No           No             Yes          CoffeeMocha           Yes            0.53       0.54      0.56
    No         Yes         No          No             No            No           No             No           CoffeeMocha           Yes            0.58         0.6     0.61
    Yes        Yes         Yes         Yes           Yes            No          Yes             Yes          CoffeeMocha           No             0.47       0.48       0.5
    Yes        Yes         Yes         No            Yes            No          Yes             No           CoffeeMocha           No             0.53       0.54      0.55
    Yes        Yes         No          Yes           Yes            No           No             Yes          CoffeeMocha           No             0.54       0.55      0.56
    Yes        Yes         No          No            Yes            No           No             No           CoffeeMocha           No             0.59         0.6     0.62
    No         Yes         Yes         Yes            No            No          Yes             Yes          CoffeeMocha           No             0.54       0.55      0.56
    No         Yes         Yes         No             No            No          Yes             No           CoffeeMocha           No             0.58       0.59      0.61
    No         Yes         No          Yes            No            No           No             Yes          CoffeeMocha           No             0.59         0.6     0.62
    No         Yes         No          No             No            No           No             No           CoffeeMocha           No             0.65       0.67      0.69
    Yes        Yes         Yes         Yes           Yes            Yes          No             Yes        OriginalSweetSour       Yes            0.59         0.6     0.62



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APPROXIMATE 95% CONFIDENCE INTERVALS FOR ESTIMATES FROM MARKET SIMULATIONS

                                                                                                                                                  APPROXIMATE 95% CI
                                             PRODUCT ATTRIBUTES IN MARKET SIMULATION                                                                   FOR $2.99
                                                   But-For        But-For                     But-For                                         LOWER      POINT     UPPER
 Rehydrate    Hydrate      Ideal      Safe                                  But-For Ideal                       Flavor         Long Lasting
                                                  Rehdrate       Hydrate                    ScenarioSafe                                      BOUND    ESTIMATE    BOUND
    Yes        Yes         Yes         No            Yes            Yes          No             No         OriginalSweetSour       Yes            0.64       0.66      0.67
    Yes        No          Yes         Yes           Yes            No           No             Yes        OriginalSweetSour       Yes            0.65       0.66      0.67
    Yes        No          Yes         No            Yes            No           No             No         OriginalSweetSour       Yes            0.69       0.71      0.73
    No         Yes         Yes         Yes            No            Yes          No             Yes        OriginalSweetSour       Yes            0.64       0.65      0.67
    No         Yes         Yes         No             No            Yes          No             No         OriginalSweetSour       Yes             0.7       0.71      0.73
    No         No          Yes         Yes            No            No           No             Yes        OriginalSweetSour       Yes            0.71       0.72      0.73
    No         No          Yes         No             No            No           No             No         OriginalSweetSour       Yes            0.76       0.78       0.8
    Yes        Yes         Yes         Yes           Yes            Yes          No             Yes        OriginalSweetSour       No             0.65       0.66      0.68
    Yes        Yes         Yes         No            Yes            Yes          No             No         OriginalSweetSour       No             0.71       0.72      0.74
    Yes        No          Yes         Yes           Yes            No           No             Yes        OriginalSweetSour       No             0.72       0.74      0.75
    Yes        No          Yes         No            Yes            No           No             No         OriginalSweetSour       No             0.77       0.79      0.81
    No         Yes         Yes         Yes            No            Yes          No             Yes        OriginalSweetSour       No             0.71       0.73      0.74
    No         Yes         Yes         No             No            Yes          No             No         OriginalSweetSour       No             0.78         0.8     0.83
    No         No          Yes         Yes            No            No           No             Yes        OriginalSweetSour       No             0.79       0.81      0.83
    No         No          Yes         No             No            No           No             No         OriginalSweetSour       No             0.84       0.86      0.88
    Yes        Yes         Yes         Yes           Yes            Yes          No             Yes            FruitCitrus         Yes            0.54       0.55      0.57
    Yes        Yes         Yes         No            Yes            Yes          No             No             FruitCitrus         Yes             0.6       0.62      0.63
    Yes        No          Yes         Yes           Yes            No           No             Yes            FruitCitrus         Yes            0.58         0.6     0.61
    Yes        No          Yes         No            Yes            No           No             No             FruitCitrus         Yes            0.64       0.66      0.67
    No         Yes         Yes         Yes            No            Yes          No             Yes            FruitCitrus         Yes            0.58       0.59       0.6
    No         Yes         Yes         No             No            Yes          No             No             FruitCitrus         Yes            0.64       0.65      0.67
    No         No          Yes         Yes            No            No           No             Yes            FruitCitrus         Yes            0.63       0.65      0.66
    No         No          Yes         No             No            No           No             No             FruitCitrus         Yes             0.7       0.72      0.74
    Yes        Yes         Yes         Yes           Yes            Yes          No             Yes            FruitCitrus         No             0.59         0.6     0.61
    Yes        Yes         Yes         No            Yes            Yes          No             No             FruitCitrus         No             0.63       0.65      0.66
    Yes        No          Yes         Yes           Yes            No           No             Yes            FruitCitrus         No             0.64       0.66      0.67
    Yes        No          Yes         No            Yes            No           No             No             FruitCitrus         No              0.7       0.72      0.73
    No         Yes         Yes         Yes            No            Yes          No             Yes            FruitCitrus         No             0.64       0.65      0.66
    No         Yes         Yes         No             No            Yes          No             No             FruitCitrus         No              0.7       0.72      0.73
    No         No          Yes         Yes            No            No           No             Yes            FruitCitrus         No             0.71       0.73      0.74
    No         No          Yes         No             No            No           No             No             FruitCitrus         No             0.77       0.79      0.82
    Yes        Yes         Yes         Yes           Yes            Yes          No             Yes               Cola             Yes            0.58       0.59       0.6
    Yes        Yes         Yes         No            Yes            Yes          No             No                Cola             Yes            0.63       0.65      0.66
    Yes        No          Yes         Yes           Yes            No           No             Yes               Cola             Yes            0.62       0.64      0.65
    Yes        No          Yes         No            Yes            No           No             No                Cola             Yes            0.69       0.71      0.73
    No         Yes         Yes         Yes            No            Yes          No             Yes               Cola             Yes            0.62       0.63      0.64
    No         Yes         Yes         No             No            Yes          No             No                Cola             Yes            0.69       0.71      0.73
    No         No          Yes         Yes            No            No           No             Yes               Cola             Yes            0.68       0.69      0.71
    No         No          Yes         No             No            No           No             No                Cola             Yes            0.75       0.77       0.8
    Yes        Yes         Yes         Yes           Yes            Yes          No             Yes               Cola             No             0.64       0.65      0.66
    Yes        Yes         Yes         No            Yes            Yes          No             No                Cola             No             0.69       0.71      0.73
    Yes        No          Yes         Yes           Yes            No           No             Yes               Cola             No              0.7       0.72      0.73
    Yes        No          Yes         No            Yes            No           No             No                Cola             No             0.77       0.79      0.81



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APPROXIMATE 95% CONFIDENCE INTERVALS FOR ESTIMATES FROM MARKET SIMULATIONS

                                                                                                                                                  APPROXIMATE 95% CI
                                             PRODUCT ATTRIBUTES IN MARKET SIMULATION                                                                   FOR $2.99
                                                   But-For        But-For                     But-For                                         LOWER      POINT     UPPER
 Rehydrate    Hydrate      Ideal      Safe                                  But-For Ideal                       Flavor         Long Lasting
                                                  Rehdrate       Hydrate                    ScenarioSafe                                      BOUND    ESTIMATE    BOUND
    No         Yes         Yes         Yes            No            Yes          No             Yes               Cola             No              0.7       0.71      0.73
    No         Yes         Yes         No             No            Yes          No             No                Cola             No             0.77       0.79      0.81
    No         No          Yes         Yes            No            No           No             Yes               Cola             No             0.75       0.77      0.79
    No         No          Yes         No             No            No           No             No                Cola             No              0.8       0.82      0.85
    Yes        Yes         Yes         Yes           Yes            Yes          No             Yes          CoffeeMocha           Yes            0.56       0.57      0.58
    Yes        Yes         Yes         No            Yes            Yes          No             No           CoffeeMocha           Yes            0.62       0.63      0.65
    Yes        No          Yes         Yes           Yes            No           No             Yes          CoffeeMocha           Yes             0.6       0.61      0.63
    Yes        No          Yes         No            Yes            No           No             No           CoffeeMocha           Yes            0.65       0.67      0.69
    No         Yes         Yes         Yes            No            Yes          No             Yes          CoffeeMocha           Yes             0.6       0.61      0.63
    No         Yes         Yes         No             No            Yes          No             No           CoffeeMocha           Yes            0.65       0.67       0.7
    No         No          Yes         Yes            No            No           No             Yes          CoffeeMocha           Yes            0.64       0.66      0.68
    No         No          Yes         No             No            No           No             No           CoffeeMocha           Yes            0.72       0.73      0.76
    Yes        Yes         Yes         Yes           Yes            Yes          No             Yes          CoffeeMocha           No              0.6       0.62      0.63
    Yes        Yes         Yes         No            Yes            Yes          No             No           CoffeeMocha           No             0.65       0.67      0.68
    Yes        No          Yes         Yes           Yes            No           No             Yes          CoffeeMocha           No             0.66       0.68      0.69
    Yes        No          Yes         No            Yes            No           No             No           CoffeeMocha           No             0.71       0.73      0.75
    No         Yes         Yes         Yes            No            Yes          No             Yes          CoffeeMocha           No             0.66       0.67      0.69
    No         Yes         Yes         No             No            Yes          No             No           CoffeeMocha           No             0.72       0.73      0.76
    No         No          Yes         Yes            No            No           No             Yes          CoffeeMocha           No             0.71       0.73      0.75
    No         No          Yes         No             No            No           No             No           CoffeeMocha           No              0.8       0.82      0.85
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No         OriginalSweetSour       Yes            1.71       1.76      1.81
    Yes        Yes         No          Yes           Yes            Yes          No             No         OriginalSweetSour       Yes            1.72       1.77      1.81
    Yes        No          Yes         Yes           Yes            No          Yes             No         OriginalSweetSour       Yes            1.71       1.76       1.8
    Yes        No          No          Yes           Yes            No           No             No         OriginalSweetSour       Yes            1.73       1.78      1.83
    No         Yes         Yes         Yes            No            Yes         Yes             No         OriginalSweetSour       Yes            1.71       1.76      1.81
    No         Yes         No          Yes            No            Yes          No             No         OriginalSweetSour       Yes            1.73       1.78      1.82
    No         No          Yes         Yes            No            No          Yes             No         OriginalSweetSour       Yes            1.73       1.78      1.83
    No         No          No          Yes            No            No           No             No         OriginalSweetSour       Yes            1.76       1.81      1.85
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No         OriginalSweetSour       No             1.74       1.79      1.83
    Yes        Yes         No          Yes           Yes            Yes          No             No         OriginalSweetSour       No             1.75         1.8     1.84
    Yes        No          Yes         Yes           Yes            No          Yes             No         OriginalSweetSour       No             1.76       1.81      1.85
    Yes        No          No          Yes           Yes            No           No             No         OriginalSweetSour       No             1.79       1.83      1.88
    No         Yes         Yes         Yes            No            Yes         Yes             No         OriginalSweetSour       No             1.75         1.8     1.85
    No         Yes         No          Yes            No            Yes          No             No         OriginalSweetSour       No             1.77       1.82      1.87
    No         No          Yes         Yes            No            No          Yes             No         OriginalSweetSour       No             1.79       1.84      1.89
    No         No          No          Yes            No            No           No             No         OriginalSweetSour       No             1.81       1.86      1.91
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No             FruitCitrus         Yes            1.65       1.69      1.73
    Yes        Yes         No          Yes           Yes            Yes          No             No             FruitCitrus         Yes            1.68       1.72      1.76
    Yes        No          Yes         Yes           Yes            No          Yes             No             FruitCitrus         Yes            1.65       1.68      1.72
    Yes        No          No          Yes           Yes            No           No             No             FruitCitrus         Yes            1.69       1.73      1.77
    No         Yes         Yes         Yes            No            Yes         Yes             No             FruitCitrus         Yes            1.63       1.66       1.7
    No         Yes         No          Yes            No            Yes          No             No             FruitCitrus         Yes            1.67       1.71      1.75
    No         No          Yes         Yes            No            No          Yes             No             FruitCitrus         Yes            1.64       1.67      1.71



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APPROXIMATE 95% CONFIDENCE INTERVALS FOR ESTIMATES FROM MARKET SIMULATIONS

                                                                                                                                             APPROXIMATE 95% CI
                                             PRODUCT ATTRIBUTES IN MARKET SIMULATION                                                              FOR $2.99
                                                   But-For        But-For                     But-For                                    LOWER      POINT     UPPER
 Rehydrate    Hydrate      Ideal      Safe                                  But-For Ideal                     Flavor      Long Lasting
                                                  Rehdrate       Hydrate                    ScenarioSafe                                 BOUND    ESTIMATE    BOUND
    No         No          No          Yes            No            No           No             No          FruitCitrus       Yes            1.69       1.73      1.77
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No          FruitCitrus       No             1.63       1.67      1.71
    Yes        Yes         No          Yes           Yes            Yes          No             No          FruitCitrus       No             1.66       1.71      1.74
    Yes        No          Yes         Yes           Yes            No          Yes             No          FruitCitrus       No             1.64       1.68      1.71
    Yes        No          No          Yes           Yes            No           No             No          FruitCitrus       No             1.69       1.73      1.77
    No         Yes         Yes         Yes            No            Yes         Yes             No          FruitCitrus       No             1.62       1.66       1.7
    No         Yes         No          Yes            No            Yes          No             No          FruitCitrus       No             1.67       1.71      1.75
    No         No          Yes         Yes            No            No          Yes             No          FruitCitrus       No             1.65       1.69      1.72
    No         No          No          Yes            No            No           No             No          FruitCitrus       No             1.71       1.75      1.79
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No             Cola           Yes            1.71       1.75      1.79
    Yes        Yes         No          Yes           Yes            Yes          No             No             Cola           Yes            1.74       1.79      1.82
    Yes        No          Yes         Yes           Yes            No          Yes             No             Cola           Yes            1.74       1.78      1.82
    Yes        No          No          Yes           Yes            No           No             No             Cola           Yes            1.79       1.84      1.88
    No         Yes         Yes         Yes            No            Yes         Yes             No             Cola           Yes            1.72       1.76       1.8
    No         Yes         No          Yes            No            Yes          No             No             Cola           Yes            1.77       1.83      1.87
    No         No          Yes         Yes            No            No          Yes             No             Cola           Yes            1.78       1.82      1.86
    No         No          No          Yes            No            No           No             No             Cola           Yes            1.84       1.89      1.94
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No             Cola           No             1.74       1.78      1.82
    Yes        Yes         No          Yes           Yes            Yes          No             No             Cola           No             1.78       1.83      1.87
    Yes        No          Yes         Yes           Yes            No          Yes             No             Cola           No             1.79       1.84      1.87
    Yes        No          No          Yes           Yes            No           No             No             Cola           No             1.85       1.91      1.95
    No         Yes         Yes         Yes            No            Yes         Yes             No             Cola           No             1.78       1.83      1.87
    No         Yes         No          Yes            No            Yes          No             No             Cola           No             1.84         1.9     1.95
    No         No          Yes         Yes            No            No          Yes             No             Cola           No             1.84         1.9     1.94
    No         No          No          Yes            No            No           No             No             Cola           No             1.89       1.95         2
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No         CoffeeMocha        Yes            1.66       1.71      1.75
    Yes        Yes         No          Yes           Yes            Yes          No             No         CoffeeMocha        Yes             1.7       1.74      1.78
    Yes        No          Yes         Yes           Yes            No          Yes             No         CoffeeMocha        Yes            1.66       1.71      1.74
    Yes        No          No          Yes           Yes            No           No             No         CoffeeMocha        Yes             1.7       1.75      1.78
    No         Yes         Yes         Yes            No            Yes         Yes             No         CoffeeMocha        Yes            1.65       1.69      1.73
    No         Yes         No          Yes            No            Yes          No             No         CoffeeMocha        Yes            1.67       1.72      1.77
    No         No          Yes         Yes            No            No          Yes             No         CoffeeMocha        Yes            1.66         1.7     1.74
    No         No          No          Yes            No            No           No             No         CoffeeMocha        Yes             1.7       1.74      1.79
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No         CoffeeMocha        No             1.67       1.72      1.76
    Yes        Yes         No          Yes           Yes            Yes          No             No         CoffeeMocha        No             1.68       1.73      1.77
    Yes        No          Yes         Yes           Yes            No          Yes             No         CoffeeMocha        No             1.67       1.72      1.76
    Yes        No          No          Yes           Yes            No           No             No         CoffeeMocha        No             1.69       1.74      1.79
    No         Yes         Yes         Yes            No            Yes         Yes             No         CoffeeMocha        No             1.65         1.7     1.75
    No         Yes         No          Yes            No            Yes          No             No         CoffeeMocha        No             1.67       1.72      1.77
    No         No          Yes         Yes            No            No          Yes             No         CoffeeMocha        No             1.66       1.71      1.76
    No         No          No          Yes            No            No           No             No         CoffeeMocha        No             1.72       1.76      1.82




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APPROXIMATE 95% CONFIDENCE INTERVALS FOR ESTIMATES FROM MARKET SIMULATIONS

                                                                                                                                                  APPROXIMATE 95% CI
                                             PRODUCT ATTRIBUTES IN MARKET SIMULATION                                                                   FOR $3.49
                                                   But-For        But-For                     But-For                                         LOWER      POINT     UPPER
 Rehydrate    Hydrate      Ideal      Safe                                  But-For Ideal                       Flavor         Long Lasting
                                                  Rehdrate       Hydrate                    ScenarioSafe                                      BOUND    ESTIMATE    BOUND
    Yes        Yes         Yes         Yes            No            Yes         Yes             Yes        OriginalSweetSour       Yes            0.28       0.29       0.3
    Yes        Yes         Yes         No             No            Yes         Yes             No         OriginalSweetSour       Yes            0.34       0.35      0.36
    Yes        Yes         No          Yes            No            Yes          No             Yes        OriginalSweetSour       Yes            0.31       0.32      0.32
    Yes        Yes         No          No             No            Yes          No             No         OriginalSweetSour       Yes            0.38       0.39       0.4
    Yes        No          Yes         Yes            No            No          Yes             Yes        OriginalSweetSour       Yes            0.31       0.32      0.32
    Yes        No          Yes         No             No            No          Yes             No         OriginalSweetSour       Yes            0.37       0.38      0.39
    Yes        No          No          Yes            No            No           No             Yes        OriginalSweetSour       Yes            0.34       0.35      0.35
    Yes        No          No          No             No            No           No             No         OriginalSweetSour       Yes            0.42       0.43      0.44
    Yes        Yes         Yes         Yes            No            Yes         Yes             Yes        OriginalSweetSour       No             0.31       0.32      0.33
    Yes        Yes         Yes         No             No            Yes         Yes             No         OriginalSweetSour       No             0.38       0.39       0.4
    Yes        Yes         No          Yes            No            Yes          No             Yes        OriginalSweetSour       No             0.36       0.36      0.37
    Yes        Yes         No          No             No            Yes          No             No         OriginalSweetSour       No             0.43       0.45      0.46
    Yes        No          Yes         Yes            No            No          Yes             Yes        OriginalSweetSour       No             0.34       0.35      0.36
    Yes        No          Yes         No             No            No          Yes             No         OriginalSweetSour       No             0.43       0.44      0.45
    Yes        No          No          Yes            No            No           No             Yes        OriginalSweetSour       No             0.39         0.4     0.41
    Yes        No          No          No             No            No           No             No         OriginalSweetSour       No             0.47       0.49       0.5
    Yes        Yes         Yes         Yes            No            Yes         Yes             Yes            FruitCitrus         Yes            0.26       0.26      0.26
    Yes        Yes         Yes         No             No            Yes         Yes             No             FruitCitrus         Yes            0.29         0.3      0.3
    Yes        Yes         No          Yes            No            Yes          No             Yes            FruitCitrus         Yes            0.28       0.29      0.29
    Yes        Yes         No          No             No            Yes          No             No             FruitCitrus         Yes            0.33       0.33      0.34
    Yes        No          Yes         Yes            No            No          Yes             Yes            FruitCitrus         Yes            0.27       0.28      0.28
    Yes        No          Yes         No             No            No          Yes             No             FruitCitrus         Yes            0.32       0.33      0.33
    Yes        No          No          Yes            No            No           No             Yes            FruitCitrus         Yes            0.31       0.31      0.32
    Yes        No          No          No             No            No           No             No             FruitCitrus         Yes            0.36       0.36      0.37
    Yes        Yes         Yes         Yes            No            Yes         Yes             Yes            FruitCitrus         No             0.28       0.28      0.29
    Yes        Yes         Yes         No             No            Yes         Yes             No             FruitCitrus         No             0.32       0.33      0.33
    Yes        Yes         No          Yes            No            Yes          No             Yes            FruitCitrus         No             0.31       0.32      0.33
    Yes        Yes         No          No             No            Yes          No             No             FruitCitrus         No             0.36       0.37      0.38
    Yes        No          Yes         Yes            No            No          Yes             Yes            FruitCitrus         No             0.31       0.31      0.32
    Yes        No          Yes         No             No            No          Yes             No             FruitCitrus         No             0.36       0.36      0.37
    Yes        No          No          Yes            No            No           No             Yes            FruitCitrus         No             0.34       0.35      0.36
    Yes        No          No          No             No            No           No             No             FruitCitrus         No             0.39         0.4     0.41
    Yes        Yes         Yes         Yes            No            Yes         Yes             Yes               Cola             Yes            0.28       0.29      0.29
    Yes        Yes         Yes         No             No            Yes         Yes             No                Cola             Yes            0.34       0.35      0.35
    Yes        Yes         No          Yes            No            Yes          No             Yes               Cola             Yes            0.31       0.32      0.32
    Yes        Yes         No          No             No            Yes          No             No                Cola             Yes            0.38       0.39       0.4
    Yes        No          Yes         Yes            No            No          Yes             Yes               Cola             Yes             0.3       0.31      0.32
    Yes        No          Yes         No             No            No          Yes             No                Cola             Yes            0.38       0.39       0.4
    Yes        No          No          Yes            No            No           No             Yes               Cola             Yes            0.34       0.34      0.35
    Yes        No          No          No             No            No           No             No                Cola             Yes            0.42       0.43      0.44
    Yes        Yes         Yes         Yes            No            Yes         Yes             Yes               Cola             No             0.31       0.32      0.32
    Yes        Yes         Yes         No             No            Yes         Yes             No                Cola             No             0.39         0.4     0.41
    Yes        Yes         No          Yes            No            Yes          No             Yes               Cola             No             0.34       0.35      0.36



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APPROXIMATE 95% CONFIDENCE INTERVALS FOR ESTIMATES FROM MARKET SIMULATIONS

                                                                                                                                                  APPROXIMATE 95% CI
                                             PRODUCT ATTRIBUTES IN MARKET SIMULATION                                                                   FOR $3.49
                                                   But-For        But-For                     But-For                                         LOWER      POINT     UPPER
 Rehydrate    Hydrate      Ideal      Safe                                  But-For Ideal                       Flavor         Long Lasting
                                                  Rehdrate       Hydrate                    ScenarioSafe                                      BOUND    ESTIMATE    BOUND
    Yes        Yes         No          No             No            Yes          No             No                Cola             No             0.45       0.46      0.47
    Yes        No          Yes         Yes            No            No          Yes             Yes               Cola             No             0.34       0.35      0.36
    Yes        No          Yes         No             No            No          Yes             No                Cola             No             0.44       0.45      0.46
    Yes        No          No          Yes            No            No           No             Yes               Cola             No             0.38       0.38      0.39
    Yes        No          No          No             No            No           No             No                Cola             No             0.47       0.49       0.5
    Yes        Yes         Yes         Yes            No            Yes         Yes             Yes          CoffeeMocha           Yes            0.27       0.27      0.28
    Yes        Yes         Yes         No             No            Yes         Yes             No           CoffeeMocha           Yes            0.32       0.33      0.34
    Yes        Yes         No          Yes            No            Yes          No             Yes          CoffeeMocha           Yes             0.3       0.31      0.31
    Yes        Yes         No          No             No            Yes          No             No           CoffeeMocha           Yes            0.36       0.37      0.38
    Yes        No          Yes         Yes            No            No          Yes             Yes          CoffeeMocha           Yes            0.29         0.3      0.3
    Yes        No          Yes         No             No            No          Yes             No           CoffeeMocha           Yes            0.36       0.37      0.38
    Yes        No          No          Yes            No            No           No             Yes          CoffeeMocha           Yes            0.33       0.34      0.34
    Yes        No          No          No             No            No           No             No           CoffeeMocha           Yes             0.4       0.41      0.42
    Yes        Yes         Yes         Yes            No            Yes         Yes             Yes          CoffeeMocha           No              0.3       0.31      0.31
    Yes        Yes         Yes         No             No            Yes         Yes             No           CoffeeMocha           No             0.36       0.37      0.38
    Yes        Yes         No          Yes            No            Yes          No             Yes          CoffeeMocha           No             0.34       0.35      0.36
    Yes        Yes         No          No             No            Yes          No             No           CoffeeMocha           No              0.4       0.41      0.43
    Yes        No          Yes         Yes            No            No          Yes             Yes          CoffeeMocha           No             0.33       0.34      0.35
    Yes        No          Yes         No             No            No          Yes             No           CoffeeMocha           No             0.39       0.41      0.42
    Yes        No          No          Yes            No            No           No             Yes          CoffeeMocha           No             0.37       0.38      0.39
    Yes        No          No          No             No            No           No             No           CoffeeMocha           No             0.44       0.45      0.47
    Yes        Yes         Yes         Yes           Yes            No          Yes             Yes        OriginalSweetSour       Yes            0.17       0.18      0.18
    Yes        Yes         Yes         No            Yes            No          Yes             No         OriginalSweetSour       Yes            0.22       0.23      0.23
    Yes        Yes         No          Yes           Yes            No           No             Yes        OriginalSweetSour       Yes             0.2       0.21      0.21
    Yes        Yes         No          No            Yes            No           No             No         OriginalSweetSour       Yes            0.26       0.27      0.27
    No         Yes         Yes         Yes            No            No          Yes             Yes        OriginalSweetSour       Yes             0.2       0.21      0.21
    No         Yes         Yes         No             No            No          Yes             No         OriginalSweetSour       Yes            0.27       0.27      0.28
    No         Yes         No          Yes            No            No           No             Yes        OriginalSweetSour       Yes            0.24       0.24      0.25
    No         Yes         No          No             No            No           No             No         OriginalSweetSour       Yes            0.31       0.32      0.33
    Yes        Yes         Yes         Yes           Yes            No          Yes             Yes        OriginalSweetSour       No              0.2       0.21      0.21
    Yes        Yes         Yes         No            Yes            No          Yes             No         OriginalSweetSour       No             0.27       0.27      0.28
    Yes        Yes         No          Yes           Yes            No           No             Yes        OriginalSweetSour       No             0.24       0.25      0.26
    Yes        Yes         No          No            Yes            No           No             No         OriginalSweetSour       No             0.31       0.32      0.33
    No         Yes         Yes         Yes            No            No          Yes             Yes        OriginalSweetSour       No             0.24       0.25      0.26
    No         Yes         Yes         No             No            No          Yes             No         OriginalSweetSour       No             0.32       0.33      0.34
    No         Yes         No          Yes            No            No           No             Yes        OriginalSweetSour       No             0.29       0.29       0.3
    No         Yes         No          No             No            No           No             No         OriginalSweetSour       No             0.36       0.37      0.38
    Yes        Yes         Yes         Yes           Yes            No          Yes             Yes            FruitCitrus         Yes            0.14       0.14      0.14
    Yes        Yes         Yes         No            Yes            No          Yes             No             FruitCitrus         Yes            0.18       0.18      0.18
    Yes        Yes         No          Yes           Yes            No           No             Yes            FruitCitrus         Yes            0.16       0.17      0.17
    Yes        Yes         No          No            Yes            No           No             No             FruitCitrus         Yes            0.21       0.22      0.22
    No         Yes         Yes         Yes            No            No          Yes             Yes            FruitCitrus         Yes            0.16       0.16      0.17
    No         Yes         Yes         No             No            No          Yes             No             FruitCitrus         Yes            0.21       0.22      0.22



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APPROXIMATE 95% CONFIDENCE INTERVALS FOR ESTIMATES FROM MARKET SIMULATIONS

                                                                                                                                                  APPROXIMATE 95% CI
                                             PRODUCT ATTRIBUTES IN MARKET SIMULATION                                                                   FOR $3.49
                                                   But-For        But-For                     But-For                                         LOWER      POINT     UPPER
 Rehydrate    Hydrate      Ideal      Safe                                  But-For Ideal                       Flavor         Long Lasting
                                                  Rehdrate       Hydrate                    ScenarioSafe                                      BOUND    ESTIMATE    BOUND
    No         Yes         No          Yes            No            No           No             Yes            FruitCitrus         Yes             0.2         0.2     0.21
    No         Yes         No          No             No            No           No             No             FruitCitrus         Yes            0.25       0.25      0.26
    Yes        Yes         Yes         Yes           Yes            No          Yes             Yes            FruitCitrus         No             0.16       0.16      0.17
    Yes        Yes         Yes         No            Yes            No          Yes             No             FruitCitrus         No             0.21       0.21      0.22
    Yes        Yes         No          Yes           Yes            No           No             Yes            FruitCitrus         No              0.2         0.2     0.21
    Yes        Yes         No          No            Yes            No           No             No             FruitCitrus         No             0.25       0.26      0.26
    No         Yes         Yes         Yes            No            No          Yes             Yes            FruitCitrus         No              0.2         0.2      0.2
    No         Yes         Yes         No             No            No          Yes             No             FruitCitrus         No             0.25       0.26      0.26
    No         Yes         No          Yes            No            No           No             Yes            FruitCitrus         No             0.23       0.24      0.24
    No         Yes         No          No             No            No           No             No             FruitCitrus         No             0.29       0.29       0.3
    Yes        Yes         Yes         Yes           Yes            No          Yes             Yes               Cola             Yes            0.18       0.18      0.19
    Yes        Yes         Yes         No            Yes            No          Yes             No                Cola             Yes            0.23       0.23      0.24
    Yes        Yes         No          Yes           Yes            No           No             Yes               Cola             Yes            0.21       0.21      0.22
    Yes        Yes         No          No            Yes            No           No             No                Cola             Yes            0.27       0.28      0.29
    No         Yes         Yes         Yes            No            No          Yes             Yes               Cola             Yes            0.21       0.22      0.22
    No         Yes         Yes         No             No            No          Yes             No                Cola             Yes            0.28       0.29       0.3
    No         Yes         No          Yes            No            No           No             Yes               Cola             Yes            0.24       0.25      0.26
    No         Yes         No          No             No            No           No             No                Cola             Yes            0.32       0.33      0.34
    Yes        Yes         Yes         Yes           Yes            No          Yes             Yes               Cola             No             0.21       0.21      0.22
    Yes        Yes         Yes         No            Yes            No          Yes             No                Cola             No             0.28       0.29      0.29
    Yes        Yes         No          Yes           Yes            No           No             Yes               Cola             No             0.24       0.25      0.25
    Yes        Yes         No          No            Yes            No           No             No                Cola             No             0.33       0.34      0.35
    No         Yes         Yes         Yes            No            No          Yes             Yes               Cola             No             0.25       0.25      0.26
    No         Yes         Yes         No             No            No          Yes             No                Cola             No             0.34       0.35      0.36
    No         Yes         No          Yes            No            No           No             Yes               Cola             No             0.28       0.28      0.29
    No         Yes         No          No             No            No           No             No                Cola             No             0.36       0.37      0.38
    Yes        Yes         Yes         Yes           Yes            No          Yes             Yes          CoffeeMocha           Yes            0.16       0.16      0.17
    Yes        Yes         Yes         No            Yes            No          Yes             No           CoffeeMocha           Yes             0.2       0.21      0.21
    Yes        Yes         No          Yes           Yes            No           No             Yes          CoffeeMocha           Yes            0.19       0.19       0.2
    Yes        Yes         No          No            Yes            No           No             No           CoffeeMocha           Yes            0.24       0.25      0.25
    No         Yes         Yes         Yes            No            No          Yes             Yes          CoffeeMocha           Yes            0.19       0.19       0.2
    No         Yes         Yes         No             No            No          Yes             No           CoffeeMocha           Yes            0.24       0.25      0.26
    No         Yes         No          Yes            No            No           No             Yes          CoffeeMocha           Yes            0.22       0.23      0.23
    No         Yes         No          No             No            No           No             No           CoffeeMocha           Yes            0.28       0.29       0.3
    Yes        Yes         Yes         Yes           Yes            No          Yes             Yes          CoffeeMocha           No             0.19       0.19       0.2
    Yes        Yes         Yes         No            Yes            No          Yes             No           CoffeeMocha           No             0.23       0.24      0.25
    Yes        Yes         No          Yes           Yes            No           No             Yes          CoffeeMocha           No             0.22       0.23      0.24
    Yes        Yes         No          No            Yes            No           No             No           CoffeeMocha           No             0.27       0.28      0.29
    No         Yes         Yes         Yes            No            No          Yes             Yes          CoffeeMocha           No             0.23       0.23      0.24
    No         Yes         Yes         No             No            No          Yes             No           CoffeeMocha           No             0.28       0.29      0.29
    No         Yes         No          Yes            No            No           No             Yes          CoffeeMocha           No             0.26       0.27      0.27
    No         Yes         No          No             No            No           No             No           CoffeeMocha           No             0.32       0.33      0.34
    Yes        Yes         Yes         Yes           Yes            Yes          No             Yes        OriginalSweetSour       Yes            0.25       0.26      0.26



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APPROXIMATE 95% CONFIDENCE INTERVALS FOR ESTIMATES FROM MARKET SIMULATIONS

                                                                                                                                                  APPROXIMATE 95% CI
                                             PRODUCT ATTRIBUTES IN MARKET SIMULATION                                                                   FOR $3.49
                                                   But-For        But-For                     But-For                                         LOWER      POINT     UPPER
 Rehydrate    Hydrate      Ideal      Safe                                  But-For Ideal                       Flavor         Long Lasting
                                                  Rehdrate       Hydrate                    ScenarioSafe                                      BOUND    ESTIMATE    BOUND
    Yes        Yes         Yes         No            Yes            Yes          No             No         OriginalSweetSour       Yes             0.3       0.31      0.32
    Yes        No          Yes         Yes           Yes            No           No             Yes        OriginalSweetSour       Yes            0.27       0.28      0.29
    Yes        No          Yes         No            Yes            No           No             No         OriginalSweetSour       Yes            0.33       0.34      0.35
    No         Yes         Yes         Yes            No            Yes          No             Yes        OriginalSweetSour       Yes            0.28       0.29      0.29
    No         Yes         Yes         No             No            Yes          No             No         OriginalSweetSour       Yes            0.35       0.35      0.36
    No         No          Yes         Yes            No            No           No             Yes        OriginalSweetSour       Yes            0.31       0.32      0.33
    No         No          Yes         No             No            No           No             No         OriginalSweetSour       Yes            0.39         0.4     0.41
    Yes        Yes         Yes         Yes           Yes            Yes          No             Yes        OriginalSweetSour       No             0.28       0.29      0.29
    Yes        Yes         Yes         No            Yes            Yes          No             No         OriginalSweetSour       No             0.34       0.35      0.36
    Yes        No          Yes         Yes           Yes            No           No             Yes        OriginalSweetSour       No             0.31       0.32      0.33
    Yes        No          Yes         No            Yes            No           No             No         OriginalSweetSour       No             0.38       0.39       0.4
    No         Yes         Yes         Yes            No            Yes          No             Yes        OriginalSweetSour       No             0.33       0.33      0.34
    No         Yes         Yes         No             No            Yes          No             No         OriginalSweetSour       No              0.4       0.41      0.42
    No         No          Yes         Yes            No            No           No             Yes        OriginalSweetSour       No             0.36       0.37      0.38
    No         No          Yes         No             No            No           No             No         OriginalSweetSour       No             0.43       0.44      0.46
    Yes        Yes         Yes         Yes           Yes            Yes          No             Yes            FruitCitrus         Yes             0.2       0.21      0.22
    Yes        Yes         Yes         No            Yes            Yes          No             No             FruitCitrus         Yes            0.25       0.26      0.27
    Yes        No          Yes         Yes           Yes            No           No             Yes            FruitCitrus         Yes            0.23       0.24      0.24
    Yes        No          Yes         No            Yes            No           No             No             FruitCitrus         Yes            0.28       0.29       0.3
    No         Yes         Yes         Yes            No            Yes          No             Yes            FruitCitrus         Yes            0.23       0.24      0.24
    No         Yes         Yes         No             No            Yes          No             No             FruitCitrus         Yes            0.29         0.3      0.3
    No         No          Yes         Yes            No            No           No             Yes            FruitCitrus         Yes            0.26       0.27      0.28
    No         No          Yes         No             No            No           No             No             FruitCitrus         Yes            0.32       0.33      0.34
    Yes        Yes         Yes         Yes           Yes            Yes          No             Yes            FruitCitrus         No             0.23       0.24      0.25
    Yes        Yes         Yes         No            Yes            Yes          No             No             FruitCitrus         No             0.28       0.29      0.29
    Yes        No          Yes         Yes           Yes            No           No             Yes            FruitCitrus         No             0.27       0.27      0.28
    Yes        No          Yes         No            Yes            No           No             No             FruitCitrus         No             0.32       0.33      0.33
    No         Yes         Yes         Yes            No            Yes          No             Yes            FruitCitrus         No             0.27       0.28      0.28
    No         Yes         Yes         No             No            Yes          No             No             FruitCitrus         No             0.32       0.33      0.34
    No         No          Yes         Yes            No            No           No             Yes            FruitCitrus         No              0.3       0.31      0.32
    No         No          Yes         No             No            No           No             No             FruitCitrus         No             0.36       0.37      0.38
    Yes        Yes         Yes         Yes           Yes            Yes          No             Yes               Cola             Yes            0.24       0.24      0.25
    Yes        Yes         Yes         No            Yes            Yes          No             No                Cola             Yes            0.29         0.3     0.31
    Yes        No          Yes         Yes           Yes            No           No             Yes               Cola             Yes            0.26       0.27      0.28
    Yes        No          Yes         No            Yes            No           No             No                Cola             Yes            0.33       0.34      0.35
    No         Yes         Yes         Yes            No            Yes          No             Yes               Cola             Yes            0.27       0.28      0.28
    No         Yes         Yes         No             No            Yes          No             No                Cola             Yes            0.34       0.35      0.36
    No         No          Yes         Yes            No            No           No             Yes               Cola             Yes             0.3         0.3     0.31
    No         No          Yes         No             No            No           No             No                Cola             Yes            0.38       0.39       0.4
    Yes        Yes         Yes         Yes           Yes            Yes          No             Yes               Cola             No             0.27       0.27      0.28
    Yes        Yes         Yes         No            Yes            Yes          No             No                Cola             No             0.34       0.35      0.36
    Yes        No          Yes         Yes           Yes            No           No             Yes               Cola             No              0.3         0.3     0.31
    Yes        No          Yes         No            Yes            No           No             No                Cola             No             0.38         0.4     0.41



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APPROXIMATE 95% CONFIDENCE INTERVALS FOR ESTIMATES FROM MARKET SIMULATIONS

                                                                                                                                                  APPROXIMATE 95% CI
                                             PRODUCT ATTRIBUTES IN MARKET SIMULATION                                                                   FOR $3.49
                                                   But-For        But-For                     But-For                                         LOWER      POINT     UPPER
 Rehydrate    Hydrate      Ideal      Safe                                  But-For Ideal                       Flavor         Long Lasting
                                                  Rehdrate       Hydrate                    ScenarioSafe                                      BOUND    ESTIMATE    BOUND
    No         Yes         Yes         Yes            No            Yes          No             Yes               Cola             No             0.31       0.32      0.33
    No         Yes         Yes         No             No            Yes          No             No                Cola             No              0.4       0.41      0.42
    No         No          Yes         Yes            No            No           No             Yes               Cola             No             0.34       0.34      0.36
    No         No          Yes         No             No            No           No             No                Cola             No             0.42       0.43      0.44
    Yes        Yes         Yes         Yes           Yes            Yes          No             Yes          CoffeeMocha           Yes            0.22       0.23      0.23
    Yes        Yes         Yes         No            Yes            Yes          No             No           CoffeeMocha           Yes            0.28       0.29       0.3
    Yes        No          Yes         Yes           Yes            No           No             Yes          CoffeeMocha           Yes            0.25       0.25      0.26
    Yes        No          Yes         No            Yes            No           No             No           CoffeeMocha           Yes            0.32       0.33      0.34
    No         Yes         Yes         Yes            No            Yes          No             Yes          CoffeeMocha           Yes            0.26       0.27      0.27
    No         Yes         Yes         No             No            Yes          No             No           CoffeeMocha           Yes            0.33       0.34      0.35
    No         No          Yes         Yes            No            No           No             Yes          CoffeeMocha           Yes            0.29         0.3     0.31
    No         No          Yes         No             No            No           No             No           CoffeeMocha           Yes            0.36       0.37      0.38
    Yes        Yes         Yes         Yes           Yes            Yes          No             Yes          CoffeeMocha           No             0.26       0.26      0.27
    Yes        Yes         Yes         No            Yes            Yes          No             No           CoffeeMocha           No             0.31       0.33      0.33
    Yes        No          Yes         Yes           Yes            No           No             Yes          CoffeeMocha           No             0.29         0.3      0.3
    Yes        No          Yes         No            Yes            No           No             No           CoffeeMocha           No             0.35       0.37      0.38
    No         Yes         Yes         Yes            No            Yes          No             Yes          CoffeeMocha           No              0.3       0.31      0.32
    No         Yes         Yes         No             No            Yes          No             No           CoffeeMocha           No             0.36       0.37      0.39
    No         No          Yes         Yes            No            No           No             Yes          CoffeeMocha           No             0.33       0.34      0.34
    No         No          Yes         No             No            No           No             No           CoffeeMocha           No              0.4       0.41      0.42
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No         OriginalSweetSour       Yes            1.07         1.1     1.13
    Yes        Yes         No          Yes           Yes            Yes          No             No         OriginalSweetSour       Yes            1.04       1.08      1.11
    Yes        No          Yes         Yes           Yes            No          Yes             No         OriginalSweetSour       Yes            1.05       1.09      1.12
    Yes        No          No          Yes           Yes            No           No             No         OriginalSweetSour       Yes            1.03       1.07      1.11
    No         Yes         Yes         Yes            No            Yes         Yes             No         OriginalSweetSour       Yes            1.05       1.09      1.12
    No         Yes         No          Yes            No            Yes          No             No         OriginalSweetSour       Yes            1.04       1.08      1.11
    No         No          Yes         Yes            No            No          Yes             No         OriginalSweetSour       Yes            1.05       1.09      1.12
    No         No          No          Yes            No            No           No             No         OriginalSweetSour       Yes            1.04       1.09      1.13
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No         OriginalSweetSour       No             1.07       1.11      1.14
    Yes        Yes         No          Yes           Yes            Yes          No             No         OriginalSweetSour       No             1.05       1.09      1.13
    Yes        No          Yes         Yes           Yes            No          Yes             No         OriginalSweetSour       No             1.06         1.1     1.14
    Yes        No          No          Yes           Yes            No           No             No         OriginalSweetSour       No             1.05         1.1     1.13
    No         Yes         Yes         Yes            No            Yes         Yes             No         OriginalSweetSour       No             1.07       1.11      1.14
    No         Yes         No          Yes            No            Yes          No             No         OriginalSweetSour       No             1.06       1.11      1.14
    No         No          Yes         Yes            No            No          Yes             No         OriginalSweetSour       No             1.08       1.12      1.15
    No         No          No          Yes            No            No           No             No         OriginalSweetSour       No             1.09       1.14      1.17
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No             FruitCitrus         Yes            1.01       1.05      1.08
    Yes        Yes         No          Yes           Yes            Yes          No             No             FruitCitrus         Yes            1.03       1.06       1.1
    Yes        No          Yes         Yes           Yes            No          Yes             No             FruitCitrus         Yes            1.01       1.04      1.08
    Yes        No          No          Yes           Yes            No           No             No             FruitCitrus         Yes            1.03       1.07       1.1
    No         Yes         Yes         Yes            No            Yes         Yes             No             FruitCitrus         Yes               1       1.03      1.07
    No         Yes         No          Yes            No            Yes          No             No             FruitCitrus         Yes               1       1.04      1.08
    No         No          Yes         Yes            No            No          Yes             No             FruitCitrus         Yes            0.99       1.03      1.07



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APPROXIMATE 95% CONFIDENCE INTERVALS FOR ESTIMATES FROM MARKET SIMULATIONS

                                                                                                                                             APPROXIMATE 95% CI
                                             PRODUCT ATTRIBUTES IN MARKET SIMULATION                                                              FOR $3.49
                                                   But-For        But-For                     But-For                                    LOWER      POINT     UPPER
 Rehydrate    Hydrate      Ideal      Safe                                  But-For Ideal                     Flavor      Long Lasting
                                                  Rehdrate       Hydrate                    ScenarioSafe                                 BOUND    ESTIMATE   BOUND
    No         No          No          Yes            No            No           No             No          FruitCitrus       Yes            1.01       1.05      1.09
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No          FruitCitrus       No                1       1.04      1.07
    Yes        Yes         No          Yes           Yes            Yes          No             No          FruitCitrus       No                1       1.04      1.07
    Yes        No          Yes         Yes           Yes            No          Yes             No          FruitCitrus       No             1.01       1.04      1.07
    Yes        No          No          Yes           Yes            No           No             No          FruitCitrus       No             1.01       1.05      1.08
    No         Yes         Yes         Yes            No            Yes         Yes             No          FruitCitrus       No             0.97       1.02      1.06
    No         Yes         No          Yes            No            Yes          No             No          FruitCitrus       No             0.98       1.02      1.06
    No         No          Yes         Yes            No            No          Yes             No          FruitCitrus       No             0.98       1.03      1.06
    No         No          No          Yes            No            No           No             No          FruitCitrus       No             1.02       1.06      1.09
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No             Cola           Yes            1.08       1.11      1.14
    Yes        Yes         No          Yes           Yes            Yes          No             No             Cola           Yes            1.08       1.12      1.15
    Yes        No          Yes         Yes           Yes            No          Yes             No             Cola           Yes            1.08       1.12      1.15
    Yes        No          No          Yes           Yes            No           No             No             Cola           Yes             1.1       1.14      1.17
    No         Yes         Yes         Yes            No            Yes         Yes             No             Cola           Yes            1.08       1.12      1.15
    No         Yes         No          Yes            No            Yes          No             No             Cola           Yes             1.1       1.14      1.17
    No         No          Yes         Yes            No            No          Yes             No             Cola           Yes             1.1       1.14      1.17
    No         No          No          Yes            No            No           No             No             Cola           Yes            1.13       1.17       1.2
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No             Cola           No             1.08       1.12      1.15
    Yes        Yes         No          Yes           Yes            Yes          No             No             Cola           No             1.09       1.13      1.16
    Yes        No          Yes         Yes           Yes            No          Yes             No             Cola           No              1.1       1.14      1.16
    Yes        No          No          Yes           Yes            No           No             No             Cola           No             1.13       1.17       1.2
    No         Yes         Yes         Yes            No            Yes         Yes             No             Cola           No             1.11       1.14      1.17
    No         Yes         No          Yes            No            Yes          No             No             Cola           No             1.14       1.18      1.22
    No         No          Yes         Yes            No            No          Yes             No             Cola           No             1.14       1.18      1.21
    No         No          No          Yes            No            No           No             No             Cola           No             1.17       1.21      1.25
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No         CoffeeMocha        Yes            0.99       1.03      1.06
    Yes        Yes         No          Yes           Yes            Yes          No             No         CoffeeMocha        Yes            1.01       1.05      1.08
    Yes        No          Yes         Yes           Yes            No          Yes             No         CoffeeMocha        Yes               1       1.03      1.06
    Yes        No          No          Yes           Yes            No           No             No         CoffeeMocha        Yes            1.02       1.05      1.08
    No         Yes         Yes         Yes            No            Yes         Yes             No         CoffeeMocha        Yes               1       1.04      1.07
    No         Yes         No          Yes            No            Yes          No             No         CoffeeMocha        Yes            1.01       1.05      1.08
    No         No          Yes         Yes            No            No          Yes             No         CoffeeMocha        Yes            1.01       1.04      1.07
    No         No          No          Yes            No            No           No             No         CoffeeMocha        Yes            1.02       1.06      1.09
    Yes        Yes         Yes         Yes           Yes            Yes         Yes             No         CoffeeMocha        No             1.02       1.06      1.09
    Yes        Yes         No          Yes           Yes            Yes          No             No         CoffeeMocha        No             1.03       1.07       1.1
    Yes        No          Yes         Yes           Yes            No          Yes             No         CoffeeMocha        No             1.02       1.05      1.09
    Yes        No          No          Yes           Yes            No           No             No         CoffeeMocha        No             1.03       1.06       1.1
    No         Yes         Yes         Yes            No            Yes         Yes             No         CoffeeMocha        No             1.02       1.06      1.09
    No         Yes         No          Yes            No            Yes          No             No         CoffeeMocha        No             1.04       1.07       1.1
    No         No          Yes         Yes            No            No          Yes             No         CoffeeMocha        No             1.02       1.05      1.09
    No         No          No          Yes            No            No           No             No         CoffeeMocha        No             1.06       1.11      1.14




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